Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                22-712Filed
                                         Filed
                                             07/25/22
                                               03/09/20Page
                                                         Page
                                                            1 of8149
                                                                 of 22
                                                                     PageID #: 4482




 or parts of the business.3 Following a short evaluation period, KKR declined to make a new money

 investment in Art Van pursuant to any recapitalization transaction. The most likely and promising

 alternative that emerged was an out-of-court recapitalization transaction involving a consortium

 of investors that included a new-money investment from THL, the Van Elslander family, and three

 important suppliers to the Art Van business (the “Consortium”). The transaction contemplated the

 Consortium investing significant new capital into the Company and refinancing the existing ABL

 facility.4 The Consortium also sought and received support for the transaction from the Company’s

 five largest lessors (the “Master Lessors”), in which the Master Lessors agreed to reduce rent

 obligations on the company and allow Art Van to close certain underperforming locations. The

 Consortium submitted a letter of intent to the Company outlining the details of its proposal on

 February 20, 2020, followed by a further letter of intent on February 26, 2020, discussing the

 Consortium’s progress in arranging the transaction. Unfortunately, the Consortium ultimately

 failed to secure the necessary capital commitments due to a variety of circumstances, including,

 but not limited to, the significant equity market impact of the coronavirus during the week of

 February 24, 2020, and the resulting deleterious effect on Consortium investors’ willingness to

 contribute capital. Over the weekend of March 1, 2020, the Company, its Board, and the

 Company’s advisors worked with JLL and the Master Lessors to attempt to replace the deficit in

 the Consortium investment with a new money investment from the Master Lessors in the form of

 a lease incentive investment, but on Monday, March 2, 2020, certain Master Lessors declined to

 participate in the proposed transaction as revised.



 3   Immediately prior to the Petition Date, KKR assigned the claims and obligations under the term loan to HGB
     AVF Lending, LLC, which is an affiliate of Hilco Merchant Resources, LLC.
 4   KKR also agreed to participate in the Consortium Bid by exchanging its term loan into a percentage of the pro
     forma equity and new debt pari passu with the Consortium investment.



                                                        8
                                                                                                               AB_0001086
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                22-712Filed
                                         Filed
                                             07/25/22
                                               03/09/20Page
                                                         Page
                                                            2 of9149
                                                                 of 22
                                                                     PageID #: 4483




         16.      After the Company’s forbearance with Wells Fargo expired on February 28, 2020,

 the Company went into default under its credit facilities and focused its attention on launching a

 going-out-of-business process to preserve value. Based on the expected timing for commencing

 the liquidation process, any delay in a launch of the going-out-of-business sales could have caused

 the process to continue into May and, therefore, necessitate the payment of May rent at locations

 still active in the liquidation at that time. The Company also had not received substantial shipments

 of new product since early February given it was no longer making payments to vendors, and, as

 such, sales were decreasing and weekly cash burn was increasing.

         17.      With no actionable alternatives, and given the urgency with which Wells Fargo was

 pressing the Company and its advisors to proceed, the Company began executing on plans for an

 orderly wind-down of the Company’s operations and a liquidation of its inventory (the “Wind

 Down”). The Company and its advisors negotiated extensively with the Company’s secured

 lenders to ensure that customer deposits, credits, and/or refunds, as well as payment of certain

 administrative costs, were contemplated by the agreed budget for the Wind Down process. In

 particular, as a result of these negotiations, the Company has implemented a process for addressing

 customer deposits whereby customers can elect to: (a) receive the merchandise they purchased if

 such merchandise is present in the Art Van warehouses; (b) receive a credit in an amount equal to

 their deposits that can be used to purchase alternative merchandise at discounted prices during the

 Wind-Down, if the originally purchased merchandise is not available; or (c) cancel their order and

 submit a request to refund their deposit, which request would be processed as soon as practicable

 depending on the volume of refund requests, required processing times, and the timing and

 availability of cash proceeds generated by the Wind Down.5


 5   The relief requested with respect to the customer deposits, credits and/or refunds is set forth in the Debtors’
     Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to Maintain and Administer Certain


                                                         9
                                                                                                                 AB_0001087
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                         DocumentDoc
                                  22-7
                                     12 Filed
                                          Filed
                                              07/25/22
                                                03/09/20Page
                                                          Page
                                                             3 of
                                                               10149
                                                                  of 22
                                                                      PageID #: 4484




         18.      To facilitate the Wind Down, the Company and its advisors solicited bids from

 potential liquidators to conduct store closing sales, and received bids from various parties,

 including a proposal from certain parties to acquire certain of the Company’s intellectual property

 and other assets. After discussions with several firms that specialize in store closings and inventory

 dispositions, and with input from its secured lenders, the Company entered into a consulting

 agreement with a contractual joint venture (as amended and restated, the “Consultant Agreement”)

 of Hilco Merchant Resources, LLC and Gordon Brothers Retail Partners, LLC (together,

 “Consultant”) to conduct the store closing sales. The Consultant Agreement is an expense-based

 arrangement in which the Consultant will provide reimbursement of all supervisor costs,

 reasonable and documented travel expenses, and general legal fees subject to the caps set forth in

 the Consultant Agreement. The Debtors expect to move swiftly through these chapter 11 cases to

 minimize costs, with an expected timeline for completing the store closing sales of approximately

 six to eight weeks. To maximize recoveries and minimize administrative expenses, the Company

 announced and initiated a soft launch of the store closing sales on March 5, 2020, 6 and seeks to

 expedite the remaining store closure sales in order to complete them within six to eight weeks.

         19.      In parallel with preparations for the Wind-Down, the Company continued to engage

 with interested parties regarding alternative transactions, which ultimately resulted in a proposal

 to preserve the Levin business segment and a portion of the Wolf business segment as a going-


     Customer Programs and Honor Certain Prepetition Obligations Related Thereto and (II) Granting Related
     Relief, filed contemporaneously herewith, and remains subject to approval by the Bankruptcy Court.
 6   Upon commencement of the store closing sales, Bank of America, N.A., Banc of America Merchant Services,
     LLC (“BAMS”), one of the company’s credit card processors, immediately issued notice of its intent to hold 100
     percent of all sale proceeds as a reserve. The filing of petitions on March 8, 2020, initiated an automatic stay
     against any action to control property of these estates and the Debtors reserve all rights and causes of action
     against BAMS, including with respect to potential preference claims. In addition, on March 6, 2020, Broadstone
     AVF Illinois, LLC, and Broadstone AVF Michigan, LLC (collectively, “Broadstone”), two of the Company’s
     Master Lessors, initiated a lawsuit against the Company in Illinois federal court, alleging, among other things,
     various defaults under their respective leases related to the commencement the store closing sales.



                                                         10
                                                                                                                  AB_0001088
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                         DocumentDoc
                                  22-7
                                     12 Filed
                                          Filed
                                              07/25/22
                                                03/09/20Page
                                                          Page
                                                             4 of
                                                               11149
                                                                  of 22
                                                                      PageID #: 4485




 concern. In the days leading up to the Petition Date, the Company, with the assistance of its

 advisors, extensively negotiated and reached an agreement-in-principle with Robert Levin, the

 former owner of Levin Furniture, regarding a going-concern sale of certain of the assets of Sam

 Levin, Inc. and LF Trucking, Inc. (the “Levin-Wolf Sale”). The key terms of the Levin-Wolf Sale

 are set forth in a letter of intent, dated as of March 4, 2020, a copy of which is attached hereto as

 Exhibit B (the “Levin-Wolf LOI”). As set forth in the Levin-Wolf LOI, the Levin-Wolf Sale will:

               provide for cash and non-cash consideration, including the
                assumption of liabilities related to customer deposits, employee
                obligations, specified cure costs, and potential claims under section
                503(b)(9) of the Bankruptcy Code;

               preserve nearly 1,000 jobs; and

               provide for the continued operation of approximately 44 retail store
                locations under the Wolf and Levin store banners and two related
                distribution centers.

        20.     The Company expects to move forward with definitive documentation for, and

 approval of, the Levin-Wolf Sale on an expedited basis. The Company believes effectuating the

 Levin-Wolf Sale on an expedited basis is critical to avoiding employee attrition and other potential

 value leakage related to the simultaneous Wind Down of the Company’s other operations. The

 Levin-Wolf Sale is supported by the Company’s secured lenders.

        21.     To familiarize the Court with the Debtors, their business, the circumstances leading

 to these chapter 11 cases, and the relief the Debtors are seeking in the First Day Motions (defined

 below and filed contemporaneously herewith) this Declaration is organized as follows:

               Part I provides a general overview of the Debtors’ corporate history
                and business operations;

               Part II provides an overview of the Debtors’ prepetition capital
                structure;




                                                  11
                                                                                                   AB_0001089
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                         DocumentDoc
                                  22-7
                                     12 Filed
                                          Filed
                                              07/25/22
                                                03/09/20Page
                                                          Page
                                                             5 of
                                                               12149
                                                                  of 22
                                                                      PageID #: 4486




              Part III provides a discussion of the circumstances leading to these
               chapter 11 cases and the Debtors efforts to pursue alternate
               restructuring options; and

              Part IV sets forth the evidentiary basis in support of the relief
               requested in each of the First Day Motions.

 I.     The Company’s Corporate History and Business Operations.

               Corporate History

        22.    Mr. Art Van Elslander founded Art Van Furniture in 1959 with the first location on

 Gratiot Avenue and 10 Mile Road in East Detroit, Michigan. From 1959 through the 1970s, Mr.

 Van Elslander focused on building the foundation for his furniture store footprint. During this

 time he opened additional stores and acquired the current corporate headquarters and distribution

 center in Warren, Michigan. From 1980 to 2000, Art Van Furniture focused on its expansion in

 the state of Michigan and introduced the first Art Van credit card, the clearance center concept,

 and ArtVan.com. By 1997, following growth in the early to mid-1990s, the Company had

 increased in size to a total of twenty-six stores with over 2,600 employees. Further, in the

 following decade the Company would open seven more stores for a total of 33 stores in 2009. In

 this most recent decade, the Company experienced its most intense growth phase under former

 CEO Kim Yost, who led the business from 2009 until his departure in 2018. In 2010, the Company

 began to execute on its freestanding PureSleep mattress store thesis. From 2011–2015, the

 Company acquired 27 Mattress World stores, began franchising, and entered the Chicago market.

 Upon Art Van Elslander’s sale of the Company in 2017, the enterprise had 113 stores, more than

 triple the amount of stores than it did in 2009. Around this time, the Company was ranked as

 number nineteen on Furniture Today’s “Top 100 list.”

        23.    In 2016, founder and sole owner Art Van Elslander decided to explore exit

 opportunities and engaged in a transaction to sell the Company and its owned real estate to THL



                                                12
                                                                                               AB_0001090
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                         DocumentDoc
                                  22-7
                                     12 Filed
                                          Filed
                                              07/25/22
                                                03/09/20Page
                                                          Page
                                                             6 of
                                                               13149
                                                                  of 22
                                                                      PageID #: 4487




 for $612.5 million, which transaction closed in March 2017 (the “2017 Transaction”). At the

 closing of the 2017 Transaction, THL acquired the operating assets of the business and certain real

 estate investment trusts acquired the owned real estate portfolio. The proceeds from the sale-

 leaseback transaction were used to fund the purchase price paid to the selling shareholders. Later

 in 2017, the Company acquired two Pennsylvania-based furniture companies: Levin, with

 operations in greater Pittsburgh and Cleveland, and Wolf, with operations in eastern Pennsylvania,

 Maryland, and Virginia. The Company continued its growth strategy through further geographic

 expansion and new store openings, and it also invested in e-commerce capabilities to bolster the

 brand and improve consumer experiences. As of the Petition Date, the Company has 92 total

 furniture showrooms and 77 freestanding mattress and specialty locations.

                The Company’s Products.

        24.     Since its founding, Art Van Furniture has focused on retailing high-quality, made-

 to-last furniture that is available to customers across all price points. Art Van Furniture delivers

 an array of merchandise and uses a “Good-Better-Best” approach to pricing, which allows the

 Company to play up and down the value spectrum. The Debtors’ store locations feature a

 seasonally refreshed assortment that has both exclusive and national brands, traditional and

 fashion-forward merchandise, and an optimal mix to maximize sales per square foot performance.

 To support the customer experience, Art Van Furniture has a financing program to offer customers

 flexibility in purchasing larger and more expensive items. Key comparable companies in the

 industry include Ashley Furniture, Raymour & Flanigan, Haverty’s, Mattress Firm, and Rooms

 To Go. Other relevant companies in the industry include Bob’s Discount Furniture, IKEA, Ethan

 Allen, Restoration Hardware, and Gardner White.




                                                 13
                                                                                                  AB_0001091
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                         DocumentDoc
                                  22-7
                                     12 Filed
                                          Filed
                                              07/25/22
                                                03/09/20Page
                                                          Page
                                                             7 of
                                                               14149
                                                                  of 22
                                                                      PageID #: 4488




               The Company’s Brands.

        25.    The Company operates stores under five primary retail nameplates: Art Van®, Art

 Van PureSleep®, Scott Shuptrine Interiors, Levin, and Wolf. The respective stores operate as

 follows:



                              Art Van features high-quality, made-to-last furniture featuring deals
                              on furniture for every room in your home.



                              Pure Sleep features top brand mattress and other sleep and bedding
                              related goods and products at accessible prices.



                              Scott Shuptrine is primarily a store-within-a-store format offering
                              exclusive and custom designed home furniture and furnishings



                              Levin Furniture, including the Levin Mattress nameplate, features
                              a wide selection of modern and stylish living room, dining room,
                              and bedroom furniture, including mattresses, with operations in the
                              greater Pittsburgh and Cleveland area.

                              Wolf Furniture features a wide selection of eclectic furniture from
                              around the country, including Amish made furniture, with
                              operations in Pennsylvania, Maryland and Virginia.

 The Art Van and Art Van PureSleep nameplates have their own standalone stores and operate

 under the website artvan.com.     Both Levin Furniture (including Levin Mattress) and Wolf

 Furniture nameplates operate their own standalone stores and operate under the websites

 levinfurniture.com and wolffurniture.com, respectively.

               The Company’s Business Operations.

        26.    The Company markets and sells its merchandise through a variety of different

 channels, including stand-alone stores, franchised locations, and their e-commerce platforms.



                                                14
                                                                                                 AB_0001092
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                         DocumentDoc
                                  22-7
                                     12 Filed
                                          Filed
                                              07/25/22
                                                03/09/20Page
                                                          Page
                                                             8 of
                                                               15149
                                                                  of 22
                                                                      PageID #: 4489




                        Brick-and-Mortar Presence.

        27.     Stand-Alone Stores.      The Company maintains a

 substantial domestic presence. Currently, the Company operates

 169 stores across 9 states. Of these, 92 are showroom and 77 are

 freestanding sleep and specialty stores. Certain furniture showroom

 locations have attached Clearance Center & Outlet stores to sell

 discounted products and merchandise.

        28.     Franchise Stores. The Company also has arrangements with franchisees (each, a

 “Franchise Store”). There currently are 20 Franchise Stores across the United States. The

 Franchise Stores are subject to franchise agreements with the Company, pursuant to which the

 Company supplies franchisees with product and receives a royalty on sales.

                        E-Commerce Platform.

        29.     In addition to its physical footprint, the Company maintains a user-friendly and

 well-curated e-commerce platform with the goal of facilitating a complete, omnichannel customer

 experience to help educate them before they arrive at a showroom. Customers can seek out the

 latest home furnishing trends, explore different options for an array of different furniture styles,

 and purchase furniture online. In 2019, e-commerce accounted for approximately 2% of sales.




                                                 15
                                                                                                  AB_0001093
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                         DocumentDoc
                                  22-7
                                     12 Filed
                                          Filed
                                              07/25/22
                                                03/09/20Page
                                                          Page
                                                             9 of
                                                               16149
                                                                  of 22
                                                                      PageID #: 4490




                        Distribution Centers

        30.     The Company primarily operates from two principal distribution centers, one of

 which is co-located with Art Van’s headquarters in Warren, MI. The second distribution center is

 located in Smithon, PA.

 II.    The Company’s Prepetition Corporate and Capital Structure.

        31.     A summary chart depicting the Debtors’ corporate structure is attached to this

 Declaration as Exhibit A. As of the Petition Date, the Debtors’ capital structure consists of

 outstanding funded-debt obligations under the Prepetition ABL Credit Facility and the Prepetition

 Term Loan (each as defined herein) in the aggregate principal amount of approximately

 $208.5 million. The following table summarizes the Debtors’ outstanding funded-debt obligations

 as of the Petition Date:

                                                            Principal Outstanding
                   Funded Debt             Maturity
                                                            as of the Petition Date
                 Prepetition ABL
                                         March 1, 2022           $33.5 million
                  Credit Facility

                 Prepetition Term
                                         March 1, 2024           $175 million
                      Loan
                            Total Funded Debt                   $208.5 million

                The Prepetition ABL Credit Facility.

        32.     The Debtors are party to that certain amended and restated senior secured revolving

 credit facility, dated as of March 1, 2017 (as amended from time to time the “Prepetition ABL

 Credit Agreement”), by and among AVF Holdings II, LLC, AVF Parent, LLC, as borrower agent,

 certain of its subsidiaries, as subsidiary borrowers, certain of its subsidiaries, as guarantors, and

 Wells Fargo, as administrative agent collateral agent, and issuing bank, and the Lenders party

 thereto. The Prepetition ABL Credit Agreement provides for total revolving credit commitments

 of $82.5 million with a maturity date of March 1, 2022 (the “Prepetition ABL Credit Facility”).



                                                   16
                                                                                                   AB_0001094
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                22-712Filed
                                         Filed
                                             07/25/22
                                               03/09/20Page
                                                         Page
                                                            10 17
                                                               of 149
                                                                   of 22
                                                                       PageID #: 4491




  Approximately $33.5 million is currently outstanding in principal under the Prepetition ABL

  Credit Facility.

         33.     The obligations under the Prepetition ABL Credit Facility are secured by a security

  interest in substantially all of the Debtors’ assets. However, solely with respect to liens on certain

  of the Debtor’s fixed assets, the liens securing the Prepetition ABL Credit Facility on such assets

  are subordinated, to the extent set forth in that certain intercreditor agreement, dated March 1, 2017

  (as amended from time to time, the “Intercreditor Agreement”), to the payment in full of the

  obligations in respect of the Prepetition Term Loan. The Prepetition ABL Credit Agreement

  contains various affirmative and negative covenants, representations, and warranties, including a

  covenant that the Debtors maintain a certain amount of excess availability. Due to the Debtors’

  deteriorating financial performance, Wells Fargo increased certain reserves in the months leading

  up to the Petition Date.

                 The Prepetition Term Loan.

         34.     The Debtors are party to that certain term loan credit agreement (the “Prepetition

  Term Loan Agreement”), by and among AVF Holdings II, LLC, AVF Parent, LLC, as borrower,

  certain of its subsidiaries, as guarantors, Virtus Group, LP (“Virtus”), as administrative agent and

  collateral agent, and the lenders party thereto. The Prepetition Term Loan matures on March 1,

  2024 (the “Prepetition Term Loan”). Approximately $175 million is currently outstanding in

  principal on the Prepetition Term Loan.

         35.     Obligations under the Prepetition Term Loan are secured by a security interest in

  substantially all of each Debtor’s assets. However, solely with respect to liens on the Debtor’s

  trade receivables, inventory, cash intangibles and other assets collectively referred to as ABL

  Priority Collateral in the Intercreditor Agreement, the liens securing the Prepetition Term Loan on




                                                   17
                                                                                                     AB_0001095
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                22-712Filed
                                         Filed
                                             07/25/22
                                               03/09/20Page
                                                         Page
                                                            11 18
                                                               of 149
                                                                   of 22
                                                                       PageID #: 4492




  such assets are subordinated, to the extent set forth in the Intercreditor Agreement, to the payment

  in full of the obligations in respect of the Prepetition ABL Credit Facility.

         36.      The Prepetition Term Loan Agreement was subsequently amended, including on

  February 5, 2020 (the “Term Loan Amendment”). Among other things, pursuant to the Term Loan

  Amendment, Virtus and certain of the Prepetition Term Loan lenders agreed to extend the deadline

  to deliver the 2019 annual financial statements to February 28, 2020.

  III.   Additional Information Regarding the Debtors’ Efforts to Pursue Alternate
         Restructuring Options.

         37.     Recognizing the need to explore strategic alternatives, the Debtors worked closely

  with THL and their advisors to evaluate available solutions to the Debtors’ deteriorating

  circumstances, including efforts to continue the business as a going concern by means of one or

  more out of court transactions.

                         Prepetition Marketing Process.

         38.     The Debtors, with the assistance of their advisors, Evercore and A&M, engaged in

  discussions with various parties considered to be potential investors in the business. Evercore and

  A&M compiled diligence information and responded to a high volume of diligence requests from

  multiple interested parties.

         39.     Prior to the Petition Date, Evercore and members of the Board contacted at least 31

  potentially interested strategic, financial, corporate and individual parties, including at least 19

  parties interested in the whole company and at least 12 parties interested in Levin and/or Wolf.

  Many of these parties entered into confidentiality agreements with the Debtors and received

  various confidential information documents, and thus began the diligence process. As discussed

  above, the Debtors made substantial progress towards consummation of the Consortium Proposal,

  but due to market conditions and the uncertain financial viability of the business, the Debtors were



                                                   18
                                                                                                   AB_0001096
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                22-712Filed
                                         Filed
                                             07/25/22
                                               03/09/20Page
                                                         Page
                                                            12 19
                                                               of 149
                                                                   of 22
                                                                       PageID #: 4493




  unable to secure investments needed for an actionable going-concern reorganization of the entire

  business.

                          The Expedited Levin-Wolf Sale.

         40.      Prior to the Petition Date, Robert Levin, the former owner of the Levin entities,

  submitted a written proposal, and the Debtors worked to finalize the Wolf-Levin LOI, pursuant to

  which Robert Levin will purchase substantially all of the assets of Debtors Sam Levin, Inc. and

  LF Trucking, Inc., excluding inventory located at the eight Maryland and Virginia Wolf locations

  (the “Assets”), as part of an expedited sale process under section 363 of the Bankruptcy Code. The

  purchase price consists of a combination of cash consideration and assumed liabilities, including:

  a cash payment equal to 82.25% of the agreed value of Wolf and Levin’s actual cost of goods and

  freight, the amount of allowed section 503(b)(9) claims related to the Assets, the amount of any

  cure costs for executory contracts or unexpired leases assumed as part of the Levin-Wolf Sale, and

  an incremental payment of $3,650,000. The Levin-Wolf Sale also contemplates the assumption

  of customer deposits and employee obligations related to the Wolf and Levin business.

         41.      After hard-fought negotiations, the Debtors and Robert Levin reached an agreement

  on material terms and are currently moving toward definitive documentation. The Debtors are

  commencing an expedited sale process to close the Levin-Wolf Sale to prevent continued

  diminution of value and mitigate the risk of employee and customer attrition as the Debtors

  contemporaneously pursue the Wind-Down with respect to the Art Van store portfolio. The Levin-

  Wolf Sale contemplates the following timeline:

              the Debtors shall file a motion to approve a private sale of the Assets to Robert Levin
               no later than five (5) days following the Petition Date;

              the buyer and Debtors shall enter into an asset purchase agreement for the sale of the
               Assets no later than ten (10) days following the Petition Date; and




                                                   19
                                                                                                   AB_0001097
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                22-712Filed
                                         Filed
                                             07/25/22
                                               03/09/20Page
                                                         Page
                                                            13 20
                                                               of 149
                                                                   of 22
                                                                       PageID #: 4494




              the Court shall enter an order approving the asset purchase agreement no later than
               twenty-one (21) days following the Petition Date.

         42.      The Debtors expect the Levin-Wolf Sale to maximize recoveries for the Debtors’

  creditors as well as to preserve jobs and the Levin and Wolf brands.

                         Store Closings.

         43.      Due to the challenges discussed above, and at the direction of Wells Fargo, the

  assets not included in the Levin-Wolf Sale will be subject to going-out-of-business sales conducted

  in accordance with the Consultant Agreement. To avoid incurring any unnecessary administrative

  expenses with respect to certain facilities where the Debtors are no longer operating and retain no

  assets of value, the Debtors expect to take a number of steps to reduce their expenses moving

  forward, including filing contract and lease rejection motions, pursuant to which the Debtors will

  seek to reject store leases and contracts that the Debtors and their advisors have determined are no

  longer be necessary to the Debtors’ business operations.

  IV.    Relief Sought in First Day Motions.

         44.      Contemporaneously herewith, the Debtors filed the First Day Motions seeking

  relief that the Debtors believe is necessary to enable them to efficiently administer their estates

  with minimal disruption and loss of value during these chapter 11 cases. The Debtors request that

  the relief requested in each of the first day motions be granted as critical elements in ensuring the

  maximization of value of the Debtors’ estates. A list of the First Day Motions is attached hereto

  as Exhibit C.

         45.      These First Day Motions seek authority to, among other things, obtain the use of

  cash collateral on an interim basis, honor employee-related wages and benefit obligations, and

  ensure the continuation of the Debtors’ cash management systems and other business operations

  without interruption. I believe that the relief requested in the First Day Motions is necessary to



                                                   20
                                                                                                    AB_0001098
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                22-712Filed
                                         Filed
                                             07/25/22
                                               03/09/20Page
                                                         Page
                                                            14 21
                                                               of 149
                                                                   of 22
                                                                       PageID #: 4495




  give the Debtors an opportunity to work towards successful chapter 11 cases that will benefit all

  of the Debtors’ stakeholders.

         46.     Several of these motions request authority to pay certain prepetition claims.

  I understand that Rule 6003 of the Federal Rules of Bankruptcy Procedure provides, in relevant

  part, that the Court shall not consider motions to pay prepetition claims during the first 21 days

  following the filing of a chapter 11 petition, “except to the extent that relief is necessary to avoid

  immediate and irreparable harm.” In light of this requirement, the Debtors have narrowly tailored

  their requests for immediate authority to pay certain prepetition claims to those circumstances

  where the failure to pay such claims would cause immediate and irreparable harm to the Debtors

  and their estates. Other relief will be deferred for consideration at a later hearing.

         47.     I am familiar with the contents and substance of each First Day Motion (including

  the exhibits thereto), and the statements and facts set forth in each of the First Day Motions are

  true and correct to the best of my knowledge. I believe that the relief sought in each First Day

  Motion: (a) is necessary to enable the Debtors to operate in chapter 11 with minimal disruption or

  loss of value; and (b) best serves the interests of the Debtors’ stakeholders.

         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

  statements are true and correct.

                               [Remainder of Page Intentionally Blank]




                                                    21
                                                                                                     AB_0001099
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                22-712Filed
                                         Filed
                                             07/25/22
                                               03/09/20Page
                                                         Page
                                                            15 22
                                                               of 149
                                                                   of 22
                                                                       PageID #: 4496




   Dated: March 8, 2020             /s/ David Ladd
   Wilmington, Delaware             Name: David Ladd
                                    Title: Executive Vice President and Chief Financial
                                           Officer




                                                                                          AB_0001100
Case 1:22-cv-00450-CFC
              Case 20-10553-CSS
                         Document Doc
                                  22-712-1
                                        FiledFiled
                                              07/25/22
                                                   03/09/20
                                                        Page Page
                                                             16 of 1149
                                                                     of 2PageID #: 4497




                                       Exhibit A

                            Corporate and Capital Structure




                                                                                   AB_0001101
                    Case 1:22-cv-00450-CFC
                                  Case 20-10553-CSS
                                             Document Doc
                                                      22-712-1
                                                            FiledFiled
                                                                  07/25/22
                                                                       03/09/20
                                                                            Page Page
                                                                                 17 of 2149
                                                                                         of 2PageID #: 4498

                                  AVF Holding
                                 Company, Inc.



                                 AVF Holdings
                                    I, LLC



                                 AVF Holdings
                                    II, LLC



                                  AVF Parent,
                                     LLC




 Levin Parent,                                              Art Van                                       Comfort
      LLC                                                Furniture, LLC                                  Mattress, LLC




Sam Levin, Inc.
                                      AVF                AV Pure Sleep                                     Art Van
                                  Franchising,            Franchising,             AVCE, LLC             Furniture of
                                      LLC                     LLC                                        Canada, LLC
LF Trucking, Inc.

                                                                              Art Van International
                                                                               Consulting Services
                                                                              (Shenzhen) Company
                                                                                                                 AB_0001102
                                                                                    Limited
Case 1:22-cv-00450-CFC
              Case 20-10553-CSS
                         Document Doc
                                  22-712-2
                                        FiledFiled
                                              07/25/22
                                                   03/09/20
                                                        Page Page
                                                             18 of 1149
                                                                     of 6PageID #: 4499




                                       Exhibit B

                                    Levin-Wolf LOI




                                                                                   AB_0001103
Case 1:22-cv-00450-CFC
              Case 20-10553-CSS
                         Document Doc
                                  22-712-2
                                        FiledFiled
                                              07/25/22
                                                   03/09/20
                                                        Page Page
                                                             19 of 2149
                                                                     of 6PageID #: 4500




                                                                                   AB_0001104
Case 1:22-cv-00450-CFC
              Case 20-10553-CSS
                         Document Doc
                                  22-712-2
                                        FiledFiled
                                              07/25/22
                                                   03/09/20
                                                        Page Page
                                                             20 of 3149
                                                                     of 6PageID #: 4501




                                                                                   AB_0001105
Case 1:22-cv-00450-CFC
              Case 20-10553-CSS
                         Document Doc
                                  22-712-2
                                        FiledFiled
                                              07/25/22
                                                   03/09/20
                                                        Page Page
                                                             21 of 4149
                                                                     of 6PageID #: 4502




                                                                                   AB_0001106
Case 1:22-cv-00450-CFC
              Case 20-10553-CSS
                         Document Doc
                                  22-712-2
                                        FiledFiled
                                              07/25/22
                                                   03/09/20
                                                        Page Page
                                                             22 of 5149
                                                                     of 6PageID #: 4503




                                                                                   AB_0001107
Case 1:22-cv-00450-CFC
              Case 20-10553-CSS
                         Document Doc
                                  22-712-2
                                        FiledFiled
                                              07/25/22
                                                   03/09/20
                                                        Page Page
                                                             23 of 6149
                                                                     of 6PageID #: 4504




                                                                                   AB_0001108
Case 1:22-cv-00450-CFC
              Case 20-10553-CSS
                         Document Doc
                                  22-712-3
                                        FiledFiled
                                              07/25/22
                                                   03/09/20
                                                        Page Page
                                                             24 of 1149
                                                                     of 2PageID #: 4505




                                           Exhibit C

                                      First Day Motions

             Debtors’ Motion for Entry of an Order (I) Directing Joint Administration of
              Chapter 11 Cases, and (II) Granting Related Relief;

             Debtors’ Application for Entry of an Order Appointing Kurtzman Carson
              Consultants LLC as Claims and Noticing Agent Nunc Pro Tunc to the Petition
              Date;

             Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors
              to (A) Continue to Operate Their Cash Management System, (B) Honor Certain
              Prepetition Obligations Related Thereto, and (C) Maintain Existing Business
              Forms and (II) Granting Related Relief;

             Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors
              to Maintain and Administer Certain Customer Programs and Honor Certain
              Prepetition Obligations Related Thereto and (II) Granting Related Relief;

             Debtors’ Motion Seeking Entry of Interim and Final Orders (I) Authorizing Use of
              Cash Collateral and Affording Adequate Protection; (II) Modifying the Automatic
              Stay; (III) Scheduling a Final Hearing; and (IV) Granting Related Relief;

             Debtors’ Motion Seeking Entry of an Order (A) Authorizing the Debtors to File a
              (I) Consolidated List of Creditors in Lieu of Submitting a Separate Mailing Matrix
              for Each Debtor, (II) File a Consolidated List of the Debtors’ Thirty Largest
              Unsecured Creditors, and (III) Redact Certain Personally Identifiable Information
              for Individual Creditors and Interest Holders and (B) Granting Related Relief;

             Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Payment
              of Certain Prepetition Taxes and Fees and (II) Granting Related Relief;

             Debtors’ Motion for Entry of Interim and Final Orders (I) Determining Adequate
              Assurance of Payment for Future Utility Services, (II) Prohibiting Utility Providers
              from Altering, Refusing, or Discontinuing Utility Services, (III) Establishing
              Procedures for Determining Adequate Assurance of Payment, (IV) Requiring
              Utility Providers to Return Deposits for Utility Services No Longer in Use, and
              (V) Granting Related Relief;

             Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors
              to (A) Pay Prepetition Employee Wages, Salaries, Other Compensation, and
              Reimbursable Employee Expenses and (B) Continue Employee Benefits Programs
              and (II) Granting Related Relief;




                                                                                               AB_0001109
Case 1:22-cv-00450-CFC
              Case 20-10553-CSS
                         Document Doc
                                  22-712-3
                                        FiledFiled
                                              07/25/22
                                                   03/09/20
                                                        Page Page
                                                             25 of 2149
                                                                     of 2PageID #: 4506




             Debtors’ Motion for Entry of Interim and Final Orders (I) Approving Notification
              and Hearing Procedures for Certain Transfers of and Declarations of
              Worthlessness With Respect to Common Stock and (II) Granting Related Relief;

             Debtors’ Motion for Entry of Interim and Final Orders (I) Approving Procedures
              for Store Closing Sales, (II) Authorizing Customary Bonuses to Employees of
              Closing Stores, (III) Authorizing Assumption of the Consulting Agreement, and
              (IV) Granting Related Relief; and

             Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing Debtors to
              Pay Certain Prepetition Specified Lienholder Claims and (II) Granting Related
              Relief.




                                                                                           AB_0001110
Case 1:22-cv-00450-CFC
              Case 20-10553-CSS
                         Document Doc
                                  22-752Filed
                                            Filed
                                               07/25/22
                                                  03/09/20
                                                         Page
                                                            Page
                                                              26 of
                                                                 1 of
                                                                    149
                                                                      37PageID #: 4507




                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                                       )
      In re:                                                           ) Chapter 11
                                                                       )
      ART VAN FURNITURE, LLC, et al.,1                                 ) Case No. 20-10553 (CSS)
                                                                       )
                                         Debtors.                      ) (Joint Administration Requested)
                                                                       )

                 DEBTORS’ EMERGENCY MOTION FOR ENTRY OF INTERIM AND
                    FINAL ORDERS (I) APPROVING PROCEDURES FOR STORE
                  CLOSING SALES, (II) AUTHORIZING CUSTOMARY BONUSES TO
               EMPLOYEES OF CLOSING STORES, (III) AUTHORIZING ASSUMPTION
                OF THE CONSULTING AGREEMENT UNDER §§ 363 AND 365 OF THE
               BANKRUPTCY CODE, (IV) AUTHORIZING THE DEBTORS TO RETAIN
                CERTAIN CONSULTANT ENTITIES AS SPECIAL ASSET DISPOSITION
                   ADVISORS TO THE DEBTORS PURSUANT TO §327(A) OF THE
                   BANKRUPTCY CODE AND (V) GRANTING RELATED RELIEF

               The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

  respectfully state as follows in support of this motion (this “Motion”):2

                                                    Relief Requested

               1.    The Debtors seek entry of interim and final orders, substantially in the forms

  attached hereto as Exhibit A and Exhibit B (respectively, the “Interim Order” and the “Final

  Order”): (a) authorizing and approving, on an interim and final basis, store closing or similar


  1
        The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
        number, include: Art Van Furniture, LLC (9205); AVF Holding Company, Inc. (0291); AVCE, LLC (2509);
        AVF Holdings I, LLC (2537); AVF Holdings II, LLC (7472); AVF Parent, LLC (3451); Levin Parent, LLC
        (8052); Art Van Furniture of Canada, LLC (9491); AV Pure Sleep Franchising, LLC (8968); AVF Franchising,
        LLC (6325); LF Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort Mattress LLC (4463). The location
        of the Debtors’ service address in these chapter 11 cases is: 6500 East 14 Mile Road, Warren Michigan 48092.

  2
        A detailed description of the Debtors and their business, and the facts and circumstances supporting the Debtors’
        chapter 11 cases, are set forth in greater detail in the Declaration of David Ladd, Executive Vice President and
        Chief Financial Officer of Art Van Furniture, LLC, in Support of Chapter 11 Petitions and First Day Motions
        (D.I. 12) (the “First Day Declaration”) filed contemporaneously with the Debtors’ voluntary petitions for relief
        filed under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) on March 8, 2020 (the
        “Petition Date”). Capitalized terms used but not otherwise defined in this Motion shall have the meanings given
        to them in the First Day Declaration.



  13172884 v1
                                                                                                                 A000110
                                                                                                                      AB_0001111
Case 1:22-cv-00450-CFC
              Case 20-10553-CSS
                         Document Doc
                                  22-752Filed
                                            Filed
                                               07/25/22
                                                  03/09/20
                                                         Page
                                                            Page
                                                              27 of
                                                                 2 of
                                                                    149
                                                                      37PageID #: 4508




  themed sales (“Store Closings”) in accordance with the terms of the store closing sale procedures

  (the “Store Closing Procedures,” attached as Exhibit 1 to Exhibit A hereto), with such sales to be

  free and clear of all liens, claims, and encumbrances; (b) authorizing the Debtors to pay customary

  bonuses to employees of the stores listed on Exhibit 2 to Exhibit B attached hereto (collectively,

  the “Closing Stores”); (c) in accordance with sections 363 and 365 of the Bankruptcy Code,

  authorizing the Debtors to assume that certain Consulting and Marketing Services Agreement,

  dated as of March 5, 2020 (the “Consulting Agreement”), by and between Debtor AVF Holding

  Company, Inc. and the following entities: Hilco Merchant Resources, LLC (“HMR”), Hilco IP

  Services, LLC, d/b/a Hilco Streambank, Hilco Real Estate, LLC, Hilco Receivables, LLC (such

  entities collectively, the “Hilco Consulting Entities”), Gordon Brothers Retail Partners, LLC

  (“GBRP”), DJM Realty Services, LLC, d/b/a Gordon Brothers Real Estate, Gordon Brothers

  Commercial & Industrial, LLC, Gordon Brothers Brands, LLC (such entities collectively the “GB

  Consulting Entities”, and together with the Hilco Consulting Entities the “Consultant”), a copy of

  which is attached as Exhibit 3 to Exhibit A hereto; (d) authorizing the Debtors to retain certain of

  the entities comprising the Consultant that will be providing receivables collection (at the Debtors’

  option) and intellectual property disposition services as special asset disposition advisors and

  consultants to the Debtors, pursuant to Section 327(a) of the Bankruptcy Code3; and (e) granting

  related relief. In addition, the Debtors request that the Court schedule a final hearing within

  approximately 25 days of the commencement of these chapter 11 cases to consider entry of the

  Final Order with respect to the relief sought in the Motion.




  3
      The Consultant affiliated entities that will provide these specific asset disposition services are: Hilco IP Services,
      LLC, d/b/a Hilco Streambank, Hilco Receivables, LLC, Gordon Brothers Commercial & Industrial, LLC, Gordon
      Brothers Brands, LLC


                                                             2
  13172884 v1
                                                                                                                   A000111
                                                                                                                        AB_0001112
Case 1:22-cv-00450-CFC
              Case 20-10553-CSS
                         Document Doc
                                  22-752Filed
                                            Filed
                                               07/25/22
                                                  03/09/20
                                                         Page
                                                            Page
                                                              28 of
                                                                 3 of
                                                                    149
                                                                      37PageID #: 4509




                                         Jurisdiction and Venue

          2.      The United States Bankruptcy Court for the District of Delaware (the “Court”) has

  jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

  Order of Reference from the United States District Court for the District of Delaware, dated

  February 29, 2012. The Debtors confirm their consent, pursuant to rule 7008 of the Federal Rules

  of Bankruptcy Procedure (the “Bankruptcy Rules”) and rule 9013-1(f) of the Local Rules of

  Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

  Delaware (the “Bankruptcy Local Rules”), to the entry of a final order by the Court in connection

  with this Motion to the extent that it is later determined that the Court, absent consent of the parties,

  cannot enter final orders or judgments in connection herewith consistent with Article III of the

  United States Constitution.

          3.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

          4.      The statutory bases for the relief requested herein are sections 105(a), 363, 365 and

  554(a) of title 11 of the United States Code (the “Bankruptcy Code”), Bankruptcy Rules 2002,

  6003, and 6004, and Bankruptcy Local Rule 9013-1(m).

                                           The Store Closings

  I.      The Store Closing Decisions and the Consulting Agreement

          5.      As described more fully in the First Day Declaration, in the wake of extreme market

  conditions and faced with limited liquidity, the Debtors have commenced these chapter 11 cases

  to effectuate a going-concern sale of approximately 44 stores and two distribution centers

  operating under the Wolf and Levin banners and to wind down their remaining store locations and

  other operations through a going-out-of-business sales process. Given continuously declining

  profitability and operational challenges over the past three years, and despite the best efforts of the

  Company and its advisors to secure the capital necessary to preserve the entire business as a going

                                                     3
  13172884 v1
                                                                                                   A000112
                                                                                                        AB_0001113
Case 1:22-cv-00450-CFC
              Case 20-10553-CSS
                         Document Doc
                                  22-752Filed
                                            Filed
                                               07/25/22
                                                  03/09/20
                                                         Page
                                                            Page
                                                              29 of
                                                                 4 of
                                                                    149
                                                                      37PageID #: 4510




  concern, the Company is simply unable to meet its financial obligations. The Company has worked

  in concert with its secured lenders to develop a budget for the use of cash collateral to facilitate an

  expedited sale and orderly wind-down process that will maximize value and recoveries for

  stakeholders in these cases.

          6.       In connection with the aforementioned wind-down process, prior to the Petition

  Date the Debtors conducted a competitive process to engage an exclusive consultant(s) to provide

  a wide range of asset disposition consulting and related services to assist in and facilitate the

  Debtors’ planned wind-down efforts. During the course of that same proposal solicitation process,

  Hilco and Gordon Brothers were engaged in parallel discussions with the Debtors’ prepetition term

  loan lenders, FS KKR Capital Corp. and FS KKR Capital Corp. II (collectively, “KKR”)

  concerning the status of the prepetition term loan debt (the “Term Loans”), and the prospects for

  development of a creative consulting structure such that the Debtors’ estates and their various

  stakeholders could be spared the burden of having to pay the types of consulting fees that are

  customary for the types of asset disposition services required by the Debtors.

          7.       After arm’s-length and extensive negotiations, these discussions ultimately yielded

  a series of agreements under which (a) the Debtors determined to engage the Consultant to provide

  the full range of asset disposition consulting services required by the Debtors in respect of

  merchandise inventories, fixed assets, receivables (subject to a Debtors’ option), and intellectual

  property4, (b) HGB AVF Lending, LLC (“HGB”), an entity controlled by affiliates of Hilco and

  Gordon Brothers, entered into an agreement with KKR under which HGB acquired KKR’s




  4
      The Consulting Agreement presently provides that in addition to the consulting services described herein, the
      Debtors were to engage the Consultant to market and sell Debtors’ real estate holdings. Subsequent to execution
      of the Consulting Agreement, the Debtors and the Consultant agreed to exclude the real estate services from the
      scope of Consultant’s engagement.


                                                          4
  13172884 v1
                                                                                                             A000113
                                                                                                                  AB_0001114
Case 1:22-cv-00450-CFC
              Case 20-10553-CSS
                         Document Doc
                                  22-752Filed
                                            Filed
                                               07/25/22
                                                  03/09/20
                                                         Page
                                                            Page
                                                              30 of
                                                                 5 of
                                                                    149
                                                                      37PageID #: 4511




  interests in the Term Loans (and as part of such transaction GBH agreed to share a portion of any

  recovery, if any, it may later receive on account of the Term Loans), and (c) the Consultant

  simultaneously agreed with the Debtors that the Consultant would NOT earn or be paid any

  consulting or other fee or compensation from the Debtors or their estates, other than reimbursement

  of certain out-of-pocket expenses incurred in connection with the conduct of the Store Closing

  Sales, any such reimbursement being strictly in accordance with a budget agreed to by the Debtors

  and the Debtors’ secured lenders.

          8.     Through this approach - whereby the Consultant’s only opportunity to realize any

  compensation on account of the consulting services being provided under the Consulting

  Agreement is through a recovery realized by its affiliates on account of the Term Loans (a portion

  of which recovery, if any, will be shared with KKR) - the Debtors, in consultation with their

  professionals and key stakeholders, determined that the above-described arrangement provided the

  best framework for accomplishing the Debtors’ paramount goal of an orderly and efficient

  liquidation of all assets. At the same time, this arrangement fully aligned the estates’ interests with

  those of the Term Lender in achieving maximum realizable value for Debtors’ assets during the

  wind-down process.

          9.     Based on an evaluation of the circumstances, the economic structure of the

  Consulting Agreement, and the Consultant’s experience in conducting Store Closings on similar

  timelines, the Debtors’ management, in consultation with the Debtors’ advisors, determined that

  the Consultant provided the best and most competitive proposal.

          10.    Accordingly, by this Motion, the Debtors seek relief in two essential parts; first,

  consistent with well-established precedent in this District, the Debtors seek – on an interim basis

  –to assume the Consulting Agreement under sections 363 and 365 of the Bankruptcy Code, so that



                                                    5
  13172884 v1
                                                                                                 A000114
                                                                                                      AB_0001115
Case 1:22-cv-00450-CFC
              Case 20-10553-CSS
                         Document Doc
                                  22-752Filed
                                            Filed
                                               07/25/22
                                                  03/09/20
                                                         Page
                                                            Page
                                                              31 of
                                                                 6 of
                                                                    149
                                                                      37PageID #: 4512




  the HMR and GBRP, the Consultant-constituent entities that are providing the inventory and fixed

  asset disposition consulting services under the Consulting Agreement, may continue their role as

  the Debtors’ consultant in connection with the conduct of the Store Closings on a post-petition

  basis without interruption; second, the Debtors seek to retain the remaining Consultant-constituent

  entities that are providing the receivables, and intellectual property-related disposition consulting

  services, pursuant to section 327 of the Bankruptcy Code. In connection with the foregoing, the

  Debtors have determined, in the exercise of their business judgment, that (a) the continuation of

  services by the Consultant is necessary for efficient large-scale execution of the Store Closings,

  and the marketing and sale of the other Assets to maximize the value of the Assets being sold and

  (b) any change or elimination of the engagement with the Consultant would significantly disrupt

  the Debtors’ reorganization efforts and impair the value of the Assets.5 Further, the Store Closings

  and the marketing and sale of the Assets are a critical component of the Debtors’ ability to

  maximize value for all stakeholders, and assumption of the Consulting Agreement will allow the

  Debtors to continue to conduct the Store Closings in an efficient, controlled manner that will

  maximize value for the Debtors’ estates.

          11.      For the convenience of the Court and interested parties, a summary of the salient

  terms of the Consulting Agreement is set forth below:6


  5
      By this Motion, the Debtors’ seek approval of the conduct of the Sales at the Stores and the associated disposition
      of the Merchandise and the owned M&E in a manner consistent with customary practices in this jurisdiction and
      in jurisdictions throughout the country in connection with Store Closings. However, nothing in this Motion seeks
      approval of the Debtors’ assumption and assignment of any of their non-residential real property leases or
      executory contracts. To the extent that the Debtors’, through the services of the Consultant, find one or more
      buyers of the Real Estate Assets and/or the IP Assets, the Debtors’ would file one or more separate motions
      seeking approval of such asset sales on as expedited a basis as the circumstances and/or economics of such sale
      dictate.

  6
      The following summary chart is for the convenience of the Court and parties in interest. To the extent there is
      any conflict between this summary and the Consulting Agreement, the Consulting Agreement shall govern in all
      respects. Any capitalized terms used in the summary chart but not defined therein are used as defined in the
      Consulting Agreement.


                                                            6
  13172884 v1
                                                                                                                A000115
                                                                                                                     AB_0001116
Case 1:22-cv-00450-CFC
              Case 20-10553-CSS
                         Document Doc
                                  22-752Filed
                                            Filed
                                               07/25/22
                                                  03/09/20
                                                         Page
                                                            Page
                                                              32 of
                                                                 7 of
                                                                    149
                                                                      37PageID #: 4513



                Term                                         Consultant Agreement

   Services Provided by   Services to be provided by Consultant include, among other things:
   Consultant
                             Provision of qualified Supervisors to supervise and assist the Debtors in its
                              conduct of the Sale;

                             Provision of oversight, supervision, and guidance with respect to the conduct of
                              the Sale and the liquidation and disposal of the Merchandise and the M&E;

                             Recommendation and implementation of appropriate point of purchase, point of
                              sale, and external advertising to effectively sell the Merchandise during the Sale
                              Term;

                             Advice regarding appropriate discounting of Merchandise, staffing levels for the
                              Stores, and appropriate deferred compensation and incentive programs for Store
                              Employees;

                             Other advice regarding and during the Sale;

                             Development of an advertising and marketing plan for the sale, auction, or other
                              disposition of the M&E;

                             Implementation of advertising and marketing as deemed necessary to maximize
                              the net recovery on the M&E;

                             Preparation for the sale of the M&E;

                             Developing a Strategic Plan with the Debtors for disposition of the Properties;

                             Subject to the Debtors’ exercise of the election under the Consulting Agreement,
                              collecting, settling, and otherwise resolving the Receivables on the Debtors’
                              behalf;

                             Collecting and securing available information regarding the Intellectual
                              Property;

                             Preparing marketing materials designed to advertise the availability of the
                              Intellectual Property for sale, assignment, license, or other disposition; and

                             Assisting the Debtors in connection with the transfer of the Intellectual Property
                              to the acquirer(s) who offer the highest or otherwise best consideration for the
                              Intellectual Property.

                             To the extent that the Consultant locates a purchaser of the Assets, other that the
                              Merchandise and the M&E, the Debtors (in consultation with the Secured
                              Lenders) shall file one or motion seeking approval of such underlying
                              transaction(s) on such notice (or Court approved shortened notice) as the terms
                              and the economics of such transactions dictate.

   Sale Term              The Store Closing began on March 6, 2020, and are to continue to no later than May
                          31, 2020; provided, however, absent the prior consent of the Debtors, the Sale shall
                          conclude in the Stores no later than April 30, 2020.



                                                    7
  13172884 v1
                                                                                                          A000116
                                                                                                               AB_0001117
Case 1:22-cv-00450-CFC
              Case 20-10553-CSS
                         Document Doc
                                  22-752Filed
                                            Filed
                                               07/25/22
                                                  03/09/20
                                                         Page
                                                            Page
                                                              33 of
                                                                 8 of
                                                                    149
                                                                      37PageID #: 4514



   Asset Marketing Period    The period commencing on the Sale Commencement Date through the earlier of (i)
                             the applicable Sale Termination Date for each of the Stores (or, with respect to any
                             Distribution Center(s), the last day of available occupancy for each such center, as
                             may be mutually agreed by the Debtors and the Consultant (in consultation with the
                             Secured Lenders); (ii) April 30, 2020; or (iii) such other earlier or extended date as
                             may be mutually agreed upon by the Debtors (in consultation with the Secured
                             Lenders) and the Consultant

   Sale Expenses             The Debtors shall be responsible for all Sale Expenses (including without limitation,
                             the Consultant Incurred Expenses). The Debtors, Consultant and Secured Lenders
                             have agreed on a pro forma budget relating to the Sale describing in reasonable detail
                             the projected Sale Expenses (the “Budget”) in the form and content annexed hereto
                             and made a part hereof as Exhibit B. The Budget may only be modified by mutual
                             agreement of the Debtors, the Consultant and the Secured Lenders. In connection
                             with the Sale and subject to the limitations set forth in the Budget as to the Consultant
                             Incurred Expenses, the Debtors shall be responsible for the payment of all expenses
                             incurred in connection with the Sale, including, without limitation, all Sale Expenses
                             (and Consultant shall not be responsible for any such expenses or Sale Expenses
                             except as expressly provided for in Section 11 below). Consultant Incurred Expenses
                             shall not exceed the aggregate line item amount of Consultant Incurred Expenses set
                             forth in the Budget without the prior written consent of the Debtors and Secured
                             Lenders, which consent shall not be unreasonably withheld, delayed or conditioned.
                             Subject to the limitations of the Sale Budget, the Debtors shall reimburse Consultant
                             for any reasonable and documented Consultant Incurred Expense on a weekly basis
                             in connection with the weekly Sale reconciliation provided for in Section 4 hereof
                             upon presentation of invoices and statements for such expenses. In addition, to the
                             extent that the Consultant anticipates that it, or the Debtors will incur any additional
                             out of pocket expenses in connection with the Services being provided by the
                             Consultant in relating to its provision of Services in connection with the marketing
                             and disposition of the other Assets, such expenses shall be subject to Supplemental
                             Expense Budget to be agreed to between the Debtors (in consultation with the
                             Secured Lenders) and the Consultant prior to such expenses being incurred.

   Consultant’s              In consideration of the Consultant providing the consulting, marketing and asset
   Compensation              disposition-related Services provided for herein, the Consultant shall not earn any
                             fee or other compensation from the Debtors, other than reimbursement of all
                             Consultant Incurred Expenses and such other Sale Expenses as may be advanced by
                             Consultant from time to time in the course of performing Services hereunder, in each
                             case limited to the amounts set forth in the Budget and at the times provided herein.
                             Any fees payable to Consultant shall be paid to Consultant by the Term Loan Lenders
                             from their recovery on account of their secured claim.

   Tracking of Proceeds of   The Debtors shall keep (i) a strict count of gross register receipts less applicable sales
   the Sales                 taxes, and (ii) cash reports of sales within each Store. Register receipts shall show
                             for each item sold the retail price (as reflected on Debtors’ books and records) for
                             such item, and the markdown or other discount granted by Consultant in connection
                             with such sale. The Debtors shall make all such records and reports available to
                             Consultant and the Secured Lenders during regular business hours upon reasonable
                             notice.

   Expenses Deposit          The Interim Approval Order and the Final Approval Order shall include approval on
                             the part of the Debtors to fund, and the Debtors shall thereafter promptly fund, to
                             Consultant $3,353,912 (the “Expense Deposit’). The Debtors shall be entitled to
                             apply the Expense Deposit to, or otherwise offset any portion of the Expense Deposit
                             against, any weekly reimbursement or other amount owing to Consultant under this


                                                        8
  13172884 v1
                                                                                                               A000117
                                                                                                                    AB_0001118
Case 1:22-cv-00450-CFC
              Case 20-10553-CSS
                         Document Doc
                                  22-752Filed
                                            Filed
                                               07/25/22
                                                  03/09/20
                                                         Page
                                                            Page
                                                              34 of
                                                                 9 of
                                                                    149
                                                                      37PageID #: 4515



                             Agreement prior to the Final Settlement; provided, however, at no time prior to the
                             Final Settlement shall the Expense Deposit be reduced below $1,000,000. Without
                             limiting any of Consultant’s other rights, Consultant may apply the Expense Deposit
                             to any unpaid obligation owing by the Debtors to Consultant under this Agreement.
                             Any portion of the Expense Deposit not used to pay amounts contemplated by this
                             Agreement shall be returned to Debtors (or their designee) within three (3) business
                             days following the Final Settlement.

   Debtors’ Employees        The Debtors and the Consultant shall cooperate to retain the employees of the
                             Debtors (including the Store Employees) to be utilized to conduct the Sale at the
                             Stores during the Sale Term, as such employees may be designated from time to time
                             by Consultant, in its discretion. Such employees shall remain employees of the
                             Debtors, and Consultant shall have no liability to such employees (including, without
                             limitation, all the Store Employees and any of Debtors’ other current or former
                             employees) of any kind or nature whatsoever, including, without limitation, with
                             respect to severance pay, termination pay, vacation pay, pay in lieu of reasonable
                             notice of termination, Worker Adjustment and Retraining Notification Act (“WARN
                             Act”) payments, or any other costs, expenses, obligations, or liabilities arising from
                             the Debtors’ employment or termination of such employees prior to, during, and
                             subsequent to the Sale Term. Other than advising Debtors that Consultant no longer
                             desires to utilize the services of any employee in connection with the sale or other
                             disposition of the Assets, including as part of the Sale, Consultant shall not have the
                             right to change the terms of employment of any employee(s).

   Fulfillment of Pre-Sale   Consistent with the relief sought in the Debtors’ companion Customer Programs
   Customer Orders           Motion, in addition to providing the forgoing Services in connection with the Sale,
                             the Consultant shall use commercially reasonable efforts to assist the Debtors in
                             fulfilling certain pre-Sale Commencement Date orders for which the Debtors has
                             received customer deposits (collectively, the “Pre-SCD Orders”).

                                     On-Hand Fulfillment Orders. Consultant shall assist the Debtors in
                                      fulfilling certain Pre-SCD Orders having an aggregate retail value of
                                      approximately $22 Million (collectively, the “On-Hand Fulfillment
                                      Orders”), on account of which orders (i) the Debtors has received customer
                                      deposits in the aggregate amount of $18 Million (collectively, the “On-
                                      Hand Customer Deposits”) and (ii) with respect to which all of the goods
                                      necessary to fulfill such orders are on-hand either at the Debtors’
                                      Distribution Centers or the Stores (collectively, the “On-Hand Fulfillment
                                      Merchandise”). As soon as reasonably practicable after the Sale
                                      Commencement Date, the Consultant shall assist the Debtors in earmarking
                                      the On-Hand Fulfillment Merchandise (and, to the extent necessary
                                      segregated by the Debtors) in order to fulfill and complete the On-Hand
                                      Fulfillment Orders. Consultant shall advise the Debtors in the development
                                      of efficient methods aimed at fulfilling the On-Hand Fulfillment Orders,
                                      and the Debtors and the Consultant shall use commercially reasonable
                                      efforts to deliver the On-Hand Fulfillment Merchandise as promptly as
                                      practicable, giving due consideration to the Debtors’ existing
                                      distribution/fulfillment capabilities. Any usual and customary costs and
                                      expenses incurred in connection with the fulfillment of any On-Hand
                                      Fulfillment Orders, including, but not limited to, labor, sales commissions
                                      and delivery (collectively, the “On-Hand Fulfillment Processing
                                      Expenses”), shall be borne exclusively by the Debtors, and the Consultant
                                      shall not be responsible for any such costs or expenses. Any funds received
                                      from customers on account of the On-Hand Fulfillment Orders, whether
                                      received prior to or after the Sale Commencement Date (including, without


                                                        9
  13172884 v1
                                                                                                             A000118
                                                                                                                  AB_0001119
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                22-752Filed
                                         Filed
                                             07/25/22
                                               03/09/20Page
                                                         Page
                                                            35 10
                                                               of 149
                                                                   of 37
                                                                       PageID #: 4516



                               limitation, any On-Hand Customer Deposits), shall be retained by and/or
                               remitted to the Debtors. To the extent any such funds are received from the
                               customer in connection with the delivery of such On-Hand Fulfillment
                               Goods, those funds shall be delivered by the Consultant to the Debtors on a
                               weekly basis as part of the weekly reconciliation contemplated by Section
                               4.2 hereunder. Subject to Section 7.5 hereof, the On-Hand Fulfillment
                               Merchandise shall be excluded from the definition of Merchandise
                               hereunder; provided, that any proceeds realized by the Debtors upon
                               fulfillment and completion of an On-Hand Fulfillment Order(s) in excess of
                               the applicable On-Hand Customer Deposit shall constitute Gross Proceeds
                               hereunder.

                              Back-Order Fulfillment Orders. Following the Sale Commencement Date,
                               Consultant shall also assist the Debtors in evaluating the status certain Pre-
                               SCD Orders (collectively, the “Back-Order Fulfillment Orders”), on
                               account of which orders (i) the Debtors has received customer deposits
                               (collectively, the “Back-Order Customer Deposits”) and (ii) with respect to
                               which the goods necessary to fulfill such orders are not on-hand either at
                               the Debtors’ Distribution Centers or the Stores (collectively, the “Back-
                               Order Fulfillment Merchandise”). To the extent that a Back-Order
                               Fulfillment Order(s) can be filled by the Debtors within a reasonable time
                               after the Sale Commencement Date, the Debtors and the Consultant shall
                               work together to implement a protocol for fulfillment of such order(s). To
                               the extent that the Debtors is unable to fulfill a Back-Order Fulfillment,
                               such Back-Order Fulfillment Order shall be cancelled by the Debtors, and
                               the Debtors and the Consultant shall offer the affected customer the option
                               of either (i) a merchandise credit in the amount of such customer’s
                               respective Back-Order Customer Deposit (the “Cancelled Back-Order
                               Merchandise Credit”), which Cancelled Back-Order Merchandise Credit
                               must be used by the affected customer no later than April 15, 2020; or (ii)
                               filing a claim in the Debtors’ bankruptcy case for the full amount of such
                               customer’s Back-Order Customer Deposit.

                              If a customer cancels a Pre-SCD Order, or refuses to accept
                               completion/delivery of either On-Hand Fulfillment Merchandise or a Back-
                               Order Fulfillment Order (where the goods become available), the subject
                               the On-Hand Fulfillment Merchandise, Back-Order Fulfillment
                               Merchandise, as the case may be, attributable to such cancelled Pre-SCD
                               Orders, shall thereupon constitute Merchandise and be included in the Sale,
                               and the affected customer can file a claim in the bankruptcy case for the full
                               amount of such customer’s deposit.

                              During the Sale Term, the Debtors shall provide, and continue to provide
                               through the Sale Term, Consultant with all reports reasonably requested by
                               Consultant with respect to the status of all Pre-SCD Orders.

   Additional Consultant      In connection with the Sale, and subject to compliance with applicable law
   Goods                       (or if and when applicable, the Approval Orders), Consultant shall have the
                               right, at Consultant’s sole cost and expense, to supplement the Merchandise
                               in the Sale with additional goods procured by Consultant which are of like
                               kind, and no lesser quality to the Merchandise (“Additional Consultant
                               Goods”). The Additional Consultant Goods shall be purchased by
                               Consultant as part of the Sale, and delivered to the Stores (or direct shipped
                               to customers) at Consultant’s sole cost and expense (including, without
                               limitation, all acquisition costs, sales commissions, credit card processing


                                               10
  13172884 v1
                                                                                                      A000119
                                                                                                           AB_0001120
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                22-752Filed
                                         Filed
                                             07/25/22
                                               03/09/20Page
                                                         Page
                                                            36 11
                                                               of 149
                                                                   of 37
                                                                       PageID #: 4517



                               fees, labor, freight and insurance relative to shipping and/or delivery of such
                               Additional Consultant Goods). Sales of Additional Consultant Goods shall
                               be run through Debtors’ point-of-sale systems; provided, however, that
                               Consultant shall mark the Additional Consultant Goods using either a
                               “dummy” SKU or department number, or in such other manner so as to
                               distinguish the sale of Additional Consultant Goods from the sale of
                               Merchandise. Consultant and Debtors shall also cooperate so as to ensure
                               that the Additional Consultant Goods are marked in such a way that a
                               reasonable consumer could identify the Additional Consultant Goods as
                               non-Debtors goods. Additionally, Consultant shall provide signage in the
                               Stores notifying customers that the Additional Consultant Goods have been
                               included in the Sale. Absent the Debtors’ written consent and subject to
                               Consultant’s agreement to reimburse Debtors for any associated expenses,
                               Consultant shall not use Debtors’ distribution centers for any Additional
                               Consultant Goods.

                              Consultant shall pay to the Debtors an amount equal to seven and one-half
                               percent (7.5%) of the aggregate Gross Proceeds, net only of sales taxes
                               collected in respect thereof, realized by Consultant from the sale of
                               Additional Consultant Goods (the “Additional Consultant Goods Fee”).
                               Consultant shall pay the Debtors any earned and accrued Additional
                               Consultant Goods Fee on a weekly basis as part of each weekly sale
                               reconciliation. Except for sales taxes associated with the sale of Additional
                               Consultant Goods and Debtors’ Additional Consultant Goods Fee, all
                               proceeds from the sale of Additional Consultant Goods shall be for the sole
                               and exclusive account of Consultant, and shall be remitted to Consultant in
                               connection with each weekly sale reconciliation. Consultant shall be
                               responsible for collecting and remitting sales taxes to the applicable taxing
                               authorities on account of sales of Additional Consultant Goods.

                              The Consultant, the Debtors, and the Secured Lenders intend that the
                               transactions relating to the Additional Consultant Goods are, and shall be
                               construed as, a true consignment from Consultant to Debtors in all respects
                               and not a consignment for security purposes. Subject solely to Consultant’s
                               obligations to pay to Debtors the Additional Consultant Goods Fee, at all
                               times and for all purposes the Additional Consultant Goods and their
                               proceeds shall be the exclusive property of Consultant, and no other person
                               or entity, including, without limitation, the Lenders and Secured Lenders,
                               shall have any claim against any of the Additional Consultant Goods or their
                               proceeds. The Additional Consultant Goods shall at all times remain subject
                               to the exclusive control of Consultant. In furtherance of the foregoing, the
                               Debtors acknowledge that the Additional Consultant Goods shall be
                               consigned to Debtors as a true consignment under Article 9 of the Uniform
                               Commercial Code (the “UCC”). The Consultant is hereby granted a first
                               priority security interest in and lien upon (i) the Additional Consultant
                               Goods and (ii) the Additional Consultant Goods proceeds (less any
                               Additional Consultant Goods Fee), and Consultant is hereby authorized to
                               file UCC financing statements and provide notifications to any prior
                               secured parties, including, but not limited to, the Secured Lenders.


                              The Debtors shall, at Consultant’s sole cost and expense, insure the
                               Additional Consultant Goods and, if required, promptly file any proofs of
                               loss with regard to same with the Debtors’ insurers. Consultant shall be
                               responsible for payment of any deductible (but only in relation to the


                                                11
  13172884 v1
                                                                                                       A000120
                                                                                                            AB_0001121
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                22-752Filed
                                         Filed
                                             07/25/22
                                               03/09/20Page
                                                         Page
                                                            37 12
                                                               of 149
                                                                   of 37
                                                                       PageID #: 4518



                                       Additional Consultant Goods) under any such insurance in the event of any
                                       casualty affecting the Additional Consultant Goods.

   Debtors’ Indemnification   The Debtors shall indemnify and hold the Consultant and its affiliates, and their
   Obligations                respective officers, directors, employees, agents and independent contractors
                              (collectively, “Consultant Indemnified Parties”), harmless from and against all
                              claims, demands, penalties, losses, liability or damage, including, without limitation,
                              reasonable attorneys' fees and expenses, directly or indirectly asserted against,
                              resulting from, or related to:

                                                (a)     Debtors’ material breach or material failure of or failure
                                       to comply with any of its agreements, covenants, representations or
                                       warranties contained herein or in any written agreement entered into in
                                       connection herewith;

                                                 (b)      any failure of Debtors to pay to its employees any wages,
                                       salaries or benefits due to such employees during the Sale Term;

                                                 (c)     any consumer warranty or products liability claims
                                       relating to any Merchandise;

                                                (d)      any liability or other claims asserted by customers, any of
                                       Debtors’ employees, or any other person against any Consultant
                                       Indemnified Party (including, without limitation, claims by employees
                                       arising under collective bargaining agreements, worker's compensation or
                                       under the “WARN Act”); except where due to the negligence or willful
                                       misconduct of Consultant or from a breach of the terms hereof by
                                       Consultant;

                                                 (e)     any harassment or any other unlawful, tortious or
                                       otherwise actionable treatment of any employees, agents, or representatives
                                       of Consultant (including, without limitation, any Supervisors) by Debtors
                                       or any of Debtors’ employees, agents, or representatives (including, without
                                       limitation, any Debtors employees); and

                                                 (f)       the negligence or willful misconduct of Debtors or any of
                                       its officers, directors, employees, agents or representatives.

   Consultant                 The Consultant shall indemnify and hold Debtors and its affiliates, and their
   Indemnification            respective officers, directors, employees, agents, lenders and independent
   Obligations                contractors (collectively, “Debtors Indemnified Parties”), harmless from and against
                              all claims, demands, penalties, losses, liability or damage, including, without
                              limitation, reasonable attorneys’ fees and expenses, directly or indirectly asserted
                              against, resulting from, or related to:

                                                 (a)     Consultant’s material breach or material failure of or
                                       failure to comply with any of its agreements, covenants, representations or
                                       warranties contained herein or in any written agreement entered into in
                                       connection herewith;

                                                (b)      any harassment or any other unlawful, tortious or
                                       otherwise actionable treatment of any employees or agents of Debtors
                                       (including, without limitation, any Store Employees) by Consultant or any




                                                        12
  13172884 v1
                                                                                                              A000121
                                                                                                                   AB_0001122
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                22-752Filed
                                         Filed
                                             07/25/22
                                               03/09/20Page
                                                         Page
                                                            38 13
                                                               of 149
                                                                   of 37
                                                                       PageID #: 4519



                                     of Consultant’s representatives (including, without limitation, any
                                     Supervisor);

                                             (c)       any claims by any party engaged by Consultant as an
                                     employee or independent contractor (including, without limitation, any
                                     Supervisor) arising out of such employment or engagement; except where
                                     due to the negligence or willful misconduct of Debtors or Debtors
                                     Indemnified Parties or from a breach of the terms hereof by Debtors; and

                                              (d)      the negligence or willful misconduct of Consultant or any
                                     of its officers, directors, employees, agents or representatives, or any
                                     Supervisor.




  II.     Store Closing Procedures.

          12.    In connection with and in facilitation of the ongoing conduct of the store closing

  sales, the Debtors further seek approval of the Store Closing Procedures, the form and substance

  of which are consistent with the procedures utilized by debtors in this and many other jurisdictions

  in connection with the similar such store closing processes.

          13.    As is customary, the Store Closing Procedures provide, among other things,

  that: (a) all sales of Store Assets will be deemed free and clear of all liens, claims, interests, and

  other encumbrances; (b) the Merchandise and the M&E (as each term is defined in the Consulting

  Agreement) will be sold with the benefit of various marketing techniques and price markdowns to

  promote efficient liquidation; and (c) certain unsold M&E and other Store assets that cannot be

  promptly liquidated may be abandoned if and when the Debtors determine, in their business

  judgment, that retaining, storing, or removing such assets would result in unnecessary expense

  with little or no benefit to the estates. The Debtors seek approval of the Store Closing Procedures

  to, among other things, provide local regulatory authorities and media in which the Store Closings

  may be advertised with knowledge that the Debtors are conducting the Store Closings in

  compliance with the Court’s order.




                                                     13
  13172884 v1
                                                                                                         A000122
                                                                                                              AB_0001123
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                22-752Filed
                                         Filed
                                             07/25/22
                                               03/09/20Page
                                                         Page
                                                            39 14
                                                               of 149
                                                                   of 37
                                                                       PageID #: 4520




          14.    The Debtors also respectfully request a waiver of any contractual restrictions that

  could otherwise inhibit or prevent the Debtors from maximizing value for creditors through the

  Store Closings. In certain cases, the contemplated Store Closings may be inconsistent with various

  provisions of leases, subleases, or other documents with respect to the premises in which the

  Debtors operate, including, without limitation, reciprocal easement agreements, agreements

  containing covenants, conditions, and restrictions (including, without limitation, “go dark”

  provisions and landlord recapture rights), or other similar documents or provisions.             Such

  restrictions, unless waived, would hamper the Debtors’ ability to maximize value in selling their

  inventory.

          15.    As set forth in the Store Closing Procedures, the Debtors also request that no entity,

  including, without limitation, utilities, landlords, shopping center managers and personnel,

  creditors, and all persons acting for or on the behalf of the foregoing parties shall interfere with or

  otherwise impede the conduct of the Store Closings, nor institute any action against the Debtors in

  any court (other than this Court) or before any administrative body that in any way directly or

  indirectly interferes with, obstructs, or otherwise impedes the conduct of the Store Closings or the

  advertising and promotion (including through the posting of signs) of the Store Closings.

          16.    The Debtors have determined, in the exercise of their business judgment and in

  consultation with their advisors, that the Store Closing Procedures will provide the best, most

  efficient, and most organized means of selling the Merchandise and the M&E to maximize the

  value of the Debtors’ estates. The Debtors intend to facilitate the Store Closings using current

  personnel at no increased cost (except as set forth herein), and estimate that, with perhaps a few

  exceptions, the Stores Closings will be completed by no later than April 30, 2020, with May 31,

  2020 being the outside Sale Termination Date at locations that the Debtors (in consultation with



                                                    14
  13172884 v1
                                                                                                 A000123
                                                                                                      AB_0001124
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                22-752Filed
                                         Filed
                                             07/25/22
                                               03/09/20Page
                                                         Page
                                                            40 15
                                                               of 149
                                                                   of 37
                                                                       PageID #: 4521




  their secured lenders) and the Consultant agree generate a net positive return by continuing in the

  month of May 2020.

  III.    Liquidation Sale Laws and Dispute Resolution Procedures.

          17.    Certain states in which the Debtors operate stores have or may have licensing or

  other requirements governing the conduct of store closing, liquidation, or other inventory clearance

  sales, including, without limitation, state and local laws, statutes, rules, regulations, and ordinances

  (the “Liquidation Sale Laws”). Liquidation Sale Laws may establish licensing, permitting, or

  bonding requirements, waiting periods, time limits, and bulk sale restrictions and augmentation

  limitations that would otherwise apply to the Store Closings. Such requirements hamper the

  Debtors’ ability to maximize value in selling their inventory. Subject to the Court’s approval, the

  Debtors intend to conduct the Store Closings in accordance with the Store Closing Procedures, and

  to the extent such procedures conflict with the Liquidation Sale Laws, the Store Closing

  Procedures should control.

          18.    To facilitate the orderly resolution of any disputes between the Debtors and any

  Governmental Units (as defined in section 101(27) of the Bankruptcy Code) arising due to the

  Store Closing Procedures and the alleged applicability of any Liquidation Sale Laws, the Debtors

  respectfully request that the Bankruptcy Court authorize the Debtors to implement the following

  dispute resolution procedures (the “Dispute Resolution Procedures”), on an interim and final basis:

                 a.      Provided that the Store Closings are conducted in accordance with the terms
                         of the Interim Order or the Final Order, as applicable, and the Store Closing
                         Procedures, and in light of the provisions in the laws of many Governmental
                         Units (as defined in the Bankruptcy Code) that exempt court-ordered sales
                         from their provisions, the Debtors will be presumed to be in compliance
                         with any Liquidation Sale Laws and are authorized to conduct Store
                         Closings in accordance with the terms of the Interim Order or the Final
                         Order, as applicable, and the Store Closing Procedures without the necessity
                         of further showing compliance with any such Liquidation Sale Laws.



                                                    15
  13172884 v1
                                                                                                  A000124
                                                                                                       AB_0001125
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                22-752Filed
                                         Filed
                                             07/25/22
                                               03/09/20Page
                                                         Page
                                                            41 16
                                                               of 149
                                                                   of 37
                                                                       PageID #: 4522




                b.   Within three business days after entry of the Interim Order, the Debtors will
                     serve by email, facsimile, or first-class mail, copies of the Interim Order,
                     the proposed Final Order and the Store Closing Procedures on the
                     following: (i) the landlords for the Stores; (ii) the Attorney General’s office
                     for each state in which the Store Closings are being held; (iii) the county
                     consumer protection agency or similar agency for each county in which the
                     Store Closings are being held; (iv) the division of consumer protection for
                     each state in which the Store Closings are being held; (v) the chief legal
                     counsel for each local jurisdiction in which the Store Closings are being
                     held (collectively, the “Dispute Notice Parties”).

                c.   With respect to any additional Stores, within three business days after Court
                     authorization to close additional stores (each, an “Additional Closing Store
                     List”), the Debtors will serve by email, facsimile, or first-class mail, copies
                     of the Interim Order or Final Order, as applicable, and the Store Closing
                     Procedures on the Dispute Notice Parties. To the extent that there is a
                     dispute arising from or relating to the Sales, the Interim Order, or the
                     proposed Final Order, as applicable, the Store Closing Procedures, which
                     dispute relates to any Liquidation Sale Laws (a “Reserved Dispute”), the
                     Court shall retain exclusive jurisdiction to resolve the Reserved Dispute.
                     Any time within ten days following entry of the Interim Order or service of
                     any Additional Closing Store List, as applicable, any Governmental Unit
                     may assert that a Reserved Dispute exists by sending a notice (the “Dispute
                     Notice”) explaining the nature of the dispute to: (a) proposed counsel to the
                     Debtors, Benesch, Friedlander, Coplan & Aronoff LLP, 222 Delaware
                     Avenue, Suite 801, Wilmington, Delaware 19801, Attn: Gregory
                     Werkheiser, Michael J. Barrie, Jennifer R. Hoover, Kevin M. Capuzzi, and
                     John C. Gentile; (b) proposed special counsel to the Debtors, Montgomery
                     McCracken Walker & Rhoads LLP, 437 Madison Avenue, New York, NY
                     10022, Attn. Maura I. Russell; (c) the Office of The United States Trustee,
                     844 King Street, Suite 2207, Lockbox 35, Wilmington, Delaware 19801,
                     Attn: Linda Richenderfer; (d) counsel to the administrative agent under the
                     Debtors' ABL loan facilities (i) Morgan, Lewis & Bockius LLP, One
                     Federal Street, Boston, Massachusetts 02110, Attn: Marjorie S. Crider, (ii)
                     Morgan, Lewis & Bockius LLP, 101 Park Avenue, New York, New York
                     10178, Attn: Jennifer Feldsher, and (iii) Burr & Forman LLP, 1201 N.
                     Market Street, Wilmington, Delaware 19801, Attn: J. Cory Falgowski; (e)
                     lead counsel to the Consultant, Riemer & Braunstein LLP, Times Square
                     Tower, Seven Times Square, Suite 2506, New York, New York 10036,
                     Attn: Steven E. Fox; (f) counsel to the Prepetition Term Loan Agent,
                     Greenberg Traurig, LLP, One International Place, Suite 2000, Boston, MA
                     02110, Attn: Jeffrey M. Wolf; and (g) counsel to any statutory committee
                     appointed in these chapter 11 cases. If the Debtors and the Governmental
                     Unit are unable to resolve the Reserved Dispute within 15 days after service
                     of the Dispute Notice, the Governmental Unit may file a motion with the
                     Court requesting that the Bankruptcy Court resolve the Reserved Dispute (a
                     “Dispute Resolution Motion”).

                                               16
  13172884 v1
                                                                                            A000125
                                                                                                 AB_0001126
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                22-752Filed
                                         Filed
                                             07/25/22
                                               03/09/20Page
                                                         Page
                                                            42 17
                                                               of 149
                                                                   of 37
                                                                       PageID #: 4523




                d.      In the event that a Dispute Resolution Motion is filed, nothing in the Interim
                        Order or the Final Order, as applicable, shall preclude the Debtors, a
                        landlord, or any other interested party from asserting (i) that the provisions
                        of any Liquidation Sale Laws are preempted by the Bankruptcy Code, or
                        (ii) that neither the terms of the Interim Order or the Final Order nor the
                        conduct of the Debtors pursuant to the Interim Order or the Final Order
                        violates such Liquidation Sale Laws. Filing a Dispute Resolution Motion
                        as set forth herein shall not be deemed to affect the finality of the Interim
                        Order or the Final Order or to limit or interfere with the Debtors’ ability to
                        conduct or to continue to conduct the Store Closings pursuant to the Interim
                        Order or the Final Order, absent further order of the Court. Upon the entry
                        of the Interim Order or the Final Order, as applicable, the Court grants
                        authority for the Debtors to conduct the Store Closings pursuant to the
                        terms of the Interim Order or the Final Order, as applicable, the Store
                        Closing Procedures and to take all actions reasonably related thereto or
                        arising in connection therewith. The Governmental Unit will be entitled to
                        assert any jurisdictional, procedural, or substantive arguments it wishes
                        with respect to the requirements of its Liquidation Sale Laws or the lack of
                        any preemption of such Liquidation Sale Laws by the Bankruptcy Code.
                        Nothing in the Interim Order or the Final Order will constitute a ruling with
                        respect to any issues to be raised in any Dispute Resolution Motion.

                e.      If, at any time, a dispute arises between the Debtors and a Governmental
                        Unit as to whether a particular law is a Liquidation Sale Law, and subject
                        to any provisions contained in the Interim Order or the Final Order related
                        to the Liquidation Sale Laws, then any party to that dispute may utilize the
                        provisions of subparagraphs (c) and (d) above by serving a notice to the
                        other party and proceeding thereunder in accordance with those
                        subparagraphs. Any determination with respect to whether a particular law
                        is a Liquidation Sale Law shall be made de novo.

  IV.     Fast Pay Laws.

          19.   Many states in which the Debtors operate have laws and regulations that require the

  Debtors to pay an employee contemporaneously with his or her termination (the “Fast Pay Laws”

  and, together with the Liquidation Sale Laws, the “Applicable State Laws”). These laws often

  require payment to occur immediately or within a period of only a few days from the date such

  employee is terminated.

          20.   The nature of the Store Closings contemplated by this Motion will result in a

  substantial number of employees being terminated at or near the end of the Store Closings. To be


                                                 17
  13172884 v1
                                                                                               A000126
                                                                                                    AB_0001127
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                22-752Filed
                                         Filed
                                             07/25/22
                                               03/09/20Page
                                                         Page
                                                            43 18
                                                               of 149
                                                                   of 37
                                                                       PageID #: 4524




  clear, the Debtors intend to pay their terminated employees as expeditiously as possible, under

  normal payment procedures, and pursuant to applicable Court order.7 Moreover, the Debtors’

  approved Cash Collateral Budget expressly contemplates the payment of employee wages in the

  ordinary course during the Store Closings. The Debtors therefore believe that their current systems

  will allow their employees to be paid expeditiously and in accordance with any Applicable State

  Laws. However, given the number of employees who will likely be terminated during the Store

  Closings, the Debtors request a waiver of compliance with the Applicable State Laws to the extent

  that the Debtors’ payroll systems limit their ability to so comply.

  V.       Store Closing Bonus Plan.

           21.      Through this Motion, the Debtors are requesting the authority, but not the

  obligation, to pay bonuses (the “Store Closing Bonuses”) to store-level non-insider employees at

  the Closing Stores who remain in the employ of the Debtors during the Store Closings (the “Store

  Closing Bonus Plan”). The Debtors believe that the Store Closing Bonus Plan will motivate

  employees during the Store Closings and will enable the Debtors to retain those employees

  necessary to successfully complete the Store Closings.

           22.      The amount of the bonuses offered under the Store Closing Bonus Plan will vary

  depending upon a number of factors, including the employee’s position with the Debtors and the

  performance of the Closing Stores in which the relevant employees work.

           23.      The Debtors will set the amounts of the Store Closing Bonuses and eligible

  employees in consultation with the Consultant, who typically utilizes such bonuses to retain




  7
       The Debtors are seeking such relief pursuant to the Debtors’ Motion Seeking Entry of Interim and Final Orders
       (I) Authorizing, but not Directing, the Debtors to (A) Pay Prepetition Employee Wages, Salaries, Other
       Compensation, and Reimbursable Employee Expenses and (B) Continue Employee Benefits Programs and (II)
       Granting Related Relief, (the “Wages Motion”) filed contemporaneously herewith.


                                                         18
  13172884 v1
                                                                                                            A000127
                                                                                                                 AB_0001128
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                22-752Filed
                                         Filed
                                             07/25/22
                                               03/09/20Page
                                                         Page
                                                            44 19
                                                               of 149
                                                                   of 37
                                                                       PageID #: 4525




  employees and incentivize higher recoveries during store closing sales and are well-acquainted

  with optimal methods for designing such bonus plans.8

           24.      The total aggregate cost of the Store Closing Bonus Plan will also vary depending

  on how many Closing Stores are ultimately closed. If the Debtors were to close every Closing

  Store, the aggregate amount of Store Closing Bonuses paid will be not more than approximately

  $600,000, assuming one hundred percent of the performance targets were met during the Store

  Closings at every Closing Store.

           25.      Providing such non-insider bonus benefits is critical to ensuring that key employees

  that will be affected by the reduction in the Debtors’ work force due to the Store Closings will

  continue to provide critical services to the Debtors during the ongoing Store Closing process. For

  the avoidance of doubt, the Debtors do not propose to make any payment on account of Store

  Closing Bonuses to any insiders.

           26.      Accordingly, the Debtors respectfully submit that the Store Closing Bonus Plan is

  in the best interests of their estates and request that the Court authorize the payments under the

  Store Closing Bonus Plan as a sound exercise of their business judgment.


                                                   Basis for Relief

  I.        The Debtors Have a Valid Business Justification for the Store Closings.

           27.      Section 363(b)(1) of the Bankruptcy Code, which governs asset sales outside of a

  debtor’s ordinary course of business, provides that “the trustee, after notice and a hearing, may

  use, sell, or lease, other than in the ordinary course of business, property of the estate.”

  11 U.S.C. § 363(b)(1). When selling assets outside of the ordinary course of business, a debtor



  8
       The final terms of the Store Closing Bonus Plan are still being formulated in consultation with the Consultant.


                                                           19
  13172884 v1
                                                                                                                A000128
                                                                                                                     AB_0001129
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                22-752Filed
                                         Filed
                                             07/25/22
                                               03/09/20Page
                                                         Page
                                                            45 20
                                                               of 149
                                                                   of 37
                                                                       PageID #: 4526




  must articulate a valid business justification to obtain court approval. See, e.g., Myers v. Martin

  (In re Martin), 91 F.3d 389, 395 (3d Cir. 1996) (citation omitted); In re Abbotts Dairies, Inc., 788

  F.2d 143, 147-48 (3d Cir. 1986) (implicitly adopting the “sound business judgment” test of Comm.

  of Equity Sec. Holders v. Lionel Corp. (In re Lionel Corp.), 722 F.2d 1063, 1070-71 (2d Cir.

  1983)); In re Delaware & Hudson Ry, Co., 124 B.R. 169, 175–76 (D. Del. 1991) (concluding that

  the Third Circuit adopted the “sound business judgment” test in the Abbotts Dairies decision).

  When a debtor demonstrates a valid business justification for a decision, a strong presumption

  arises “that in making [the] business decision the directors of a corporation acted on an informed

  basis, in good faith and in the honest belief that the action taken was in the best interests of the

  company.” Official Comm. of Subordinated Bondholders v. Integrated Res., Inc. (In re Integrated

  Res., Inc.), 147 B.R. 650, 656 (S.D.N.Y. 1990) (holding that the Delaware business judgment rule

  has “vitality by analogy” in chapter 11 cases, especially where the debtor is a Delaware

  corporation).

          28.     Store closing or liquidation sales are a routine occurrence in chapter 11 cases

  involving retail debtors. See, e.g., Ames Dept. Stores, 136 B.R. at 359 (noting that liquidation sales

  are an important part of “overriding federal policy requiring [a] Debtor to maximize estate assets”).

  As such, bankruptcy courts in this jurisdiction have approved similar store closing sales. See, e.g.,

  In re Destination Maternity Corporation, No. 19-12256 (BLS) (Bankr. D. Del. Nov. 14, 2019); In

  re Fred’s Inc., No. 19-11984 (CSS) (Bankr. D. Del. Sept. 27, 2019); In re Z Gallerie, LLC,

  No. 19-10488 (LSS) (Bankr. D. Del. Apr. 9, 2019); In re Things Remembered, Inc., No. 19-10234




                                                   20
  13172884 v1
                                                                                                 A000129
                                                                                                      AB_0001130
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                22-752Filed
                                         Filed
                                             07/25/22
                                               03/09/20Page
                                                         Page
                                                            46 21
                                                               of 149
                                                                   of 37
                                                                       PageID #: 4527




  (KG) (Bankr. D. Del. Feb. 28, 2019); In re Charming Charlie Holdings, Inc., No. 17-12906 (CSS)

  (Bankr. D. Del. Jan. 13, 2017).9

          29.      Sufficient business justification exists to approve the proposed Store Closings

  under section 363(b)(1) of the Bankruptcy Code. The Debtors, with the assistance of their

  advisors, have determined that the Store Closings represent the best alternative to maximize

  recoveries to the Debtors’ estates with respect to the Merchandise and the M&E and provide the

  Debtors with much-needed liquidity. There are meaningful amounts of Merchandise, in the

  aggregate, that will be monetized most efficiently and quickly through an orderly process

  conducted in consultation with an experienced liquidation firm. Further, delay in commencing the

  Store Closings would diminish the recovery tied to monetization of the Merchandise and the M&E

  for several important reasons. Many of the Closing Stores fail to generate positive cash flow and

  therefore are a significant drain on liquidity. As such, the Debtors will realize an immediate benefit

  in terms of financial liquidity upon the sale of the Merchandise and the M&E and the termination

  of operations at the Closing Stores. Further, uninterrupted and orderly Store Closings will allow

  the Debtors to timely reject leases associated with the Closing Stores and, therefore, avoid the

  accrual of unnecessary administrative expenses for rent and related costs. Suspension of the Store

  Closings until entry of the Final Order may cause the Debtors to incur claims for rent at many of

  these stores, creating a further drain on the Debtors’ liquidity.

          30.      Courts in this district and courts in other jurisdictions have approved sale guidelines

  in chapter 11 cases on an interim basis. Importantly, a number of courts have granted retail debtors

  first day authority to implement such procedures.                 See, e.g., In re Destination Maternity



  9
      Because of the voluminous nature of the orders cited herein, such orders have not been attached to this Motion.
      Copies of these orders are available upon request to the Debtors’ proposed counsel.


                                                         21
  13172884 v1
                                                                                                             A000130
                                                                                                                  AB_0001131
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                22-752Filed
                                         Filed
                                             07/25/22
                                               03/09/20Page
                                                         Page
                                                            47 22
                                                               of 149
                                                                   of 37
                                                                       PageID #: 4528




  Corporation, No. 19-12256 (BLS) (Bankr. D. Del. Oct. 22, 2019) (approving procedures on an

  interim basis); In re Fred’s, Inc., No. 19-11984 (CSS) (Bankr. D. Del. Sept. 11, 2019) (same); In

  re Z Gallerie, LLC, No. 19-10488 (LSS) (Bankr. D. Del. Mar. 15, 2019) (same); In re Things

  Remembered, Inc., No. 19-10234 (KG) (Bankr. D. Del. Feb. 7, 2019) (same) (In re Payless

  Holdings LLC, No. 17-42267 (E.D. Mo. April 7, 2017) (same).

  II.     The Court Should Approve the Sale of the Merchandise
          and the M&E Free and Clear of all Liens, Encumbrances,
          and Other Interests Under Bankruptcy Code Section 363(f).

          31.    The Debtors request approval to sell the Merchandise and the M&E on a final “as

  is” basis, free and clear of any and all liens, claims, and encumbrances in accordance with

  section 363(f) of the Bankruptcy Code.         A debtor in possession may sell property under

  sections 363(b) and 363(f) “free and clear of any interest in such property of an entity other than

  the estate” if any one of the following conditions is satisfied: (a) applicable non-bankruptcy law

  permits sale of such property free and clear of such interest; (b) such entity consents; (c) such

  interest is a lien and the price at which such property is to be sold is greater than the aggregate

  value of all liens on such property; (d) such interest is in bona fide dispute; or (e) such entity could

  be compelled, in a legal or equitable proceeding, to accept a money satisfaction of such interest.

  11 U.S.C. § 363(f); see also Citicorp Homeowners Servs., Inc. v. Elliot (In re Elliot), 94 B.R. 343,

  345 (E.D. Pa. 1988) (noting that since section 363(f) is written in the disjunctive, the court may

  approve a sale free and clear if any one subsection is met). Moreover, the Third Circuit has

  indicated that a debtor possesses broad authority to sell assets free and clear of liens. See In re

  TWA Inc., 322 F.3d 283, 289 (3d Cir. 2003).

          32.    Although the term “any interest” is not defined in the Bankruptcy Code, the Third

  Circuit has noted that the trend in modern cases is toward “a broader interpretation which includes



                                                    22
  13172884 v1
                                                                                                  A000131
                                                                                                       AB_0001132
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                22-752Filed
                                         Filed
                                             07/25/22
                                               03/09/20Page
                                                         Page
                                                            48 23
                                                               of 149
                                                                   of 37
                                                                       PageID #: 4529




  other obligations that may flow from ownership of the property.” Folger Adam Security, Inc. v.

  DeMatteis/MacGregor, JV, 209 F.3d 252, 258–59 (3d Cir. 2000). As the Fourth Circuit held in In

  re Leckie Smokeless Coal Co., 99 F.3d 573, 581–82 (4th Cir. 1996) (cited with approval by the

  Third Circuit in Folger Adam), the scope of section 363(f) is not limited to in rem interests in a

  debtor’s assets. Thus, a debtor can sell its assets under section 363(f) “free and clear of successor

  liability that otherwise would have arisen under federal statute.” Folger Adam, 209 F.3d at 258.

          33.     With respect to any other party asserting a lien, claim, or encumbrance against the

  Merchandise and the M&E, the Debtors anticipate that they will be able to satisfy one or more of

  the conditions set forth in section 363(f). In connection with the sale of the Merchandise and the

  M&E , the Debtors propose that any liens, claims, and encumbrances asserted against the

  Merchandise and the M&E be transferred to and attach to the amounts earned by the Debtors

  under the Store Closings with the same force, effect, and priority as such liens currently have on

  the Merchandise and the M&E .

  III.    The Court Should Waive Compliance with Applicable
          State Laws and Approve the Dispute Resolution Procedures

          34.     The Debtors’ ability to conduct the Store Closings in accordance with the Store

  Closing Procedures and without strict compliance with all Applicable State Laws is critical to the

  Store Closings’ success. Although the Debtors intend to comply with state and local health and

  safety laws and consumer protection laws in conducting the Store Closings, many Liquidation Sale

  Laws require special and cumbersome licenses, waiting periods, time limits, and other procedures

  for store closing, liquidation, or similar sales.

          35.     To eliminate the time, delay, and expense associated with the administrative

  procedures necessary to comply with the Applicable State Laws, the Debtors propose the Store

  Closing Procedures as a way to streamline the administrative burdens on their estates while still


                                                      23
  13172884 v1
                                                                                                A000132
                                                                                                     AB_0001133
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                22-752Filed
                                         Filed
                                             07/25/22
                                               03/09/20Page
                                                         Page
                                                            49 24
                                                               of 149
                                                                   of 37
                                                                       PageID #: 4530




  adequately protecting the broad and varied interests of both landlords and applicable governmental

  agencies charged with enforcing any Liquidation Sale Laws that may apply to the Store Closings.

  As such, the Debtors believe the Store Closing Procedures mitigate any concerns that their

  landlords or governmental agencies may raise with respect to the Store Closings and, therefore,

  the requested relief is in compliance with any applicable Liquidation Sale Laws.

          36.     The Debtors submit that there is strong support for granting them the authority to

  not comply with the Liquidation Sale Laws. First, it is generally accepted that many state statutes

  and regulations provide that, if a liquidation or bankruptcy sale is court-authorized, a company

  need not comply with the Liquidation Sale Laws. See, e.g., Ark. Code Ann. § 4-74-103 (exempting

  from the provisions of the chapter sales pursuant to any court order); Fla. Stat. Ann. 559.25(2)

  (same); Ga. Code Ann. § 10-1-393(b)(24)(C)(iv) (same); 815 ILCS 350/3 (same); La. Rev. Stat.

  Ann. § 51:43(1) (same); N.Y. Gen. Bus. Law § 584(a) (same); Or. Rev. Stat. Ann.

  § 646A.100(2)(b) (“‘Going out of business sale’ does not include a sale conducted by a bankruptcy

  trustee.”); Tex. Bus. & Com. Code Ann. § 17.91(3) (exempting from subchapter sales conducted

  pursuant to court order). Second, pursuant to section 105(a) of the Bankruptcy Code, the Court

  has the authority to permit the Store Closings to proceed notwithstanding contrary Applicable State

  Laws as it is essential to maximize the value of the Debtors’ business. Third, this Court will be

  able to supervise the Store Closings because the Debtors and their assets are subject to this Court’s

  exclusive jurisdiction. See 28 U.S.C. § 1334. As such, creditors and the public interest are

  adequately protected by notice of this Motion and the ongoing jurisdiction and supervision of the

  Court because the Debtors are only seeking interim relief at the outset of these cases, and parties

  in interest will be able to raise any further issues at the final hearing.




                                                     24
  13172884 v1
                                                                                                A000133
                                                                                                     AB_0001134
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                22-752Filed
                                         Filed
                                             07/25/22
                                               03/09/20Page
                                                         Page
                                                            50 25
                                                               of 149
                                                                   of 37
                                                                       PageID #: 4531




          37.    Further, bankruptcy courts have consistently recognized, with limited exception,

  that federal bankruptcy law preempts state and local laws that contravene the underlying policies

  of the Bankruptcy Code. See Belculfine v. Aloe (In re Shenango Group. Inc.), 186 B.R. 623, 628

  (Bankr. W.D. Pa. 1995) (“Trustees and debtors-in-possession have unique fiduciary and legal

  obligations pursuant to the bankruptcy code. . . . [A] state statute [] cannot place burdens on [a

  debtor] where the result would contradict the priorities established by the federal bankruptcy

  code.”), aff’d, 112 F.3d 633 (3d Cir. 1997).

          38.    Courts in some jurisdictions have found that preemption of state law is not

  appropriate if the laws deal with public health and safety. See Baker & Drake. Inc. v. Pub. Serv.

  Comm’n of Nev. (In re Baker & Drake. Inc.), 35 F.3d 1348, 1353–54 (9th Cir. 1994) (holding that

  Bankruptcy Code did not preempt state law prohibiting taxicab leasing that was promulgated in

  part as public safety measure). However, preemption is appropriate where, as is the case here, the

  only state laws involved concern economic regulation rather than the protection of public health

  and safety. See In re Baker & Drake. Inc., 35 F.3d at 1353 (finding that “federal bankruptcy

  preemption is more likely . . . where a state statute is concerned with economic regulation rather

  than with protecting the public health and safety”).

          39.    Under the circumstances of these chapter 11 cases, enforcing the strict requirements

  of the Liquidation Sale Laws would undermine the fundamental purpose of section 363(b) of the

  Bankruptcy Code by placing constraints on the Debtors’ ability to maximize estate assets for the

  benefit of creditors. Accordingly, authorizing the Store Closings without the delays and burdens

  associated with obtaining various state and local licenses, observing state and local waiting periods

  or time limits, and/or satisfying any additional requirements with respect to advertising and similar

  items is necessary and appropriate. The Debtors do not seek a general waiver of all state and local



                                                   25
  13172884 v1
                                                                                                A000134
                                                                                                     AB_0001135
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                22-752Filed
                                         Filed
                                             07/25/22
                                               03/09/20Page
                                                         Page
                                                            51 26
                                                               of 149
                                                                   of 37
                                                                       PageID #: 4532




  law requirements, but only those that apply specifically to retail liquidation sales. Indeed, the

  requested waiver is narrowly tailored to facilitate the successful consummation of the Store

  Closings. Moreover, the Debtors will comply with applicable state and local public health and

  safety laws, and applicable tax, labor, employment, environmental, and consumer protection laws,

  including consumer laws regulating deceptive practices and false advertising. Finally, the Dispute

  Resolution Procedures provide an ordered means for resolving any disputes arising between the

  Debtors and any Governmental Units with respect to the applicability of any Liquidation Sale

  Laws, and should therefore be approved.

          40.    Further, this Court has recognized that the Bankruptcy Code preempts certain state

  laws and have granted relief similar to that requested herein. See, e.g., In re Coldwater Creek,

  No. 14-10867 (BLS) (Bankr. D. Del. May 7, 2014) (stating that debtors were authorized to conduct

  store closing sales under the terms of the order “without the necessity of further showing

  compliance” with liquidation laws); In re Boscov’s, No. 08-11637 (KG) (Bankr. D. Del. Aug. 15,

  2008) (ordering that “[g]overnmental units shall not fine, assess or otherwise penalize Debtors or

  Agent (or any of the landlords of the Closing Stores) for conducting or advertising the Sales in a

  manner inconsistent with Liquidation Sales Laws, provided that the Sales are conducted and

  advertised in compliance with this Order”); In re Goody’s Family Clothing, Inc., No. 08-11133

  (CSS) (Bankr. D. Del. June 13, 2008) (ordering that the “Store Closing Sales at the Closing Stores

  shall be conducted by the Debtors and the Store Closing Agent without the necessity of compliance

  with any federal, state or local statute or ordinance, lease provision or licensing requirement

  affecting store closing, ‘going out of business’, liquidation or auction sales, or affecting

  advertising, including signs, banners, and posting of signage, other than Safety Laws and General

  Laws”).



                                                 26
  13172884 v1
                                                                                             A000135
                                                                                                  AB_0001136
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                22-752Filed
                                         Filed
                                             07/25/22
                                               03/09/20Page
                                                         Page
                                                            52 27
                                                               of 149
                                                                   of 37
                                                                       PageID #: 4533




  IV.     The Court Should Waive Compliance with any Restriction
          in the Leases and Approve the Store Closing Procedures

          41.    Certain of the Debtors’ leases governing the premises of the stores subject to any

  Store Closings may contain provisions purporting to restrict or prohibit the Debtors from

  conducting store closing, liquidation, or similar sales. Such provisions have been held to be

  unenforceable in chapter 11 cases as they constitute an impermissible restraint on a debtor’s ability

  to properly administer its reorganization case and maximize the value of its assets under

  section 363 of the Bankruptcy Code. See Ames Dep’t Stores, 136 B.R. at 359 (deciding that

  enforcement of such lease restrictions would “contravene overriding federal policy requiring

  debtor to maximize estate assets. . . .”); In re R. H., Macy and Co. Inc., 170 B.R. 69, 73–74 (Bankr.

  S.D.N.Y. 1994) (holding that the lessor could not recover damages for breach of a covenant to

  remain open throughout the lease term, because the debtor had a duty to maximize the value to the

  estate and the debtor fulfilled this obligation by holding a store closing sale and closing the store);

  In re Tobago Bay Trading Co., 112 B.R. 463, 467-68 (Bankr. N.D. Ga., 1990) (finding that a

  debtor’s efforts to reorganize would be significantly impaired to the detriment of creditors if lease

  provisions prohibiting a debtor from liquidating its inventory were enforced); In re Lisbon Shops,

  Inc., 24 B.R. 693, 695 (Bankr. E.D. Mo. 1982) (holding restrictive lease provision unenforceable

  in chapter 11 case where debtor sought to conduct a liquidation sale).

          42.    This Court has long held that restrictive lease provisions affecting store liquidation

  sales in chapter 11 cases are unenforceable. See, e.g., In re Destination Maternity Corporation,

  No. 19-12256 (BLS) (Bankr. D. Del. Oct. 22, 2019) (ordering “the sale of the Store Closure Assets

  shall be conducted by the Debtors and the Consultant notwithstanding any restrictive provision of

  any lease, sublease, license, reciprocal easement agreement, restrictive covenant, or other

  agreement relative to occupancy affecting or purporting to restrict the conduct of the Store


                                                    27
  13172884 v1
                                                                                                 A000136
                                                                                                      AB_0001137
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                22-752Filed
                                         Filed
                                             07/25/22
                                               03/09/20Page
                                                         Page
                                                            53 28
                                                               of 149
                                                                   of 37
                                                                       PageID #: 4534




  Closings or the Sales”); In re Coldwater Creek, Case No. 14-10867 (BLS) (Bankr. D. Del. May 7,

  2014) (ordering that store closing sales be conducted without the further need for compliance with,

  among other things, lease provisions); In re Boscov’s, Case No. 08-11637 (KG) (Bankr. D. Del.

  Aug. 15, 2008) (same); In re Goody’s Family Clothing, Inc., Case No. 08-11133 (CSS) (Bankr. D.

  Del. June 13, 2008) (same); In re Linens Holding Co., Case No. 08-10832 (CSS) (Bankr. D. Del.

  May 30, 2008) (same).

          43.    Thus, to the extent that such provisions or restrictions exist in any of the leases of

  the stores subject to the Store Closings, the Debtors request that the Court authorize the Debtors

  conduct the Store Closings without reference to any such restrictive provisions or interference by

  any landlords or other persons affected, directly or indirectly, by the Store Closings.

  V.      The Court Should Approve the Abandonment of Certain Property
          in Connection with Any Liquidation Sales and Lease Rejections

          44.    After notice and a hearing, a debtor “may abandon any property of the estate that

  is burdensome to the estate or that is of inconsequential value and benefit to the estate.” 11 U.S.C.

  § 554(a); see also Hanover Ins. Co. v. Tyco Indus., Inc., 500 F.2d 654, 657 (3d Cir. 1974) (stating

  that a trustee “may abandon his claim to any asset, including a cause of action, he deems less

  valuable than the cost of asserting that claim”).

          45.    The Debtors are seeking to sell all M&E remaining in the Closing Stores. However,

  the Debtors may determine that the costs associated with holding or selling certain property or

  M&E exceeds the proceeds that will be realized upon its sale or that such property is not sellable

  at all. In such event, the property is of inconsequential value and benefit to the estates and/or may

  be burdensome to retain.

          46.    To maximize the value of the Debtors’ assets and to minimize the costs to the

  estates, the Debtors respectfully request authority to abandon any of their remaining M&E or other


                                                      28
  13172884 v1
                                                                                                A000137
                                                                                                     AB_0001138
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                22-752Filed
                                         Filed
                                             07/25/22
                                               03/09/20Page
                                                         Page
                                                            54 29
                                                               of 149
                                                                   of 37
                                                                       PageID #: 4535




  property located at any of the Closing Stores without incurring liability to any person or entity.

  The Debtors further request that the landlord of each Closing Store with any abandoned M&E or

  other property be authorized to dispose of such property without liability to any third parties.

          47.     Notwithstanding the foregoing, the Debtors will utilize all commercially reasonable

  efforts to remove or cause to be removed any confidential or personal identifying information

  (which means information that, alone or in conjunction with other information, identifies an

  individual, including, but not limited to, an individual’s name, social security number, date of birth,

  government-issued identification number, account number, and credit or debit card number) in any

  of the Debtors’ hardware, software, computers, or cash registers or similar equipment that are to

  be sold or abandoned.

  VI.     The Store Closing Bonus Plan Is a Sound Exercise of the
          Debtors’ Business Judgment and Should Be Approved

          48.     Section 363 of the Bankruptcy Code provides, in relevant part, that “[t]he [debtor],

  after notice and a hearing, may use, sell, or lease, other than in the ordinary course of business,

  property of the estate.” 11 U.S.C. § 363(b)(1). Under this section, a court may authorize a debtor

  to use property of the estate when such use has a “sound business purpose” and when the use of

  the property is proposed in good faith. See In re W.A. Mallory Co., 214 B.R. 834, 836 (Bankr.

  E.D. Va. 1997); In re WBQ P’ship, 189 B.R. 97, 102 (Bankr. E.D. Va. 1995).

          49.     Courts generally require a debtor to demonstrate that a valid business purpose exists

  for the use of estate property in a manner that is outside the ordinary course of business. See, e.g.,

  In re Lionel Corp., 722 F.2d 1063, 1070–71 (2d Cir. 1983). The debtor’s articulation of a valid

  business justification raises a presumption that the debtor’s decision was made on an informed

  basis, in good faith, and with the honest belief that the action is in the best interest of the company.

  See In re Integrated Res., Inc., 147 B.R. 650, 656 (Bankr. S.D.N.Y. 1992). Furthermore, once “the


                                                    29
  13172884 v1
                                                                                                  A000138
                                                                                                       AB_0001139
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                22-752Filed
                                         Filed
                                             07/25/22
                                               03/09/20Page
                                                         Page
                                                            55 30
                                                               of 149
                                                                   of 37
                                                                       PageID #: 4536




  debtor articulates a reasonable basis for its business decisions (as distinct from a decision made

  arbitrarily or capriciously), courts will generally not entertain objections to the debtor’s conduct.”

  In re Johns-Manville Corp., 60 B.R. 612, 616 (Bankr. S.D.N.Y. 1986). The business judgment

  rule shields a debtor’s management from judicial second-guessing. See Integrated Res., 147 B.R.

  at 656; Johns-Manville, 60 B.R. at 615–16 (noting that “the Code favors the continued operation

  of a business by a debtor and a presumption of reasonableness attaches to a debtor’s management

  decisions”). Thus, if a debtor’s actions satisfy the business judgment rule, then the actions in

  question should be approved under section 363(b)(1) of the Bankruptcy Code.

          50.    In this case, the Store Closing Bonus Plan is a sound exercise of the Debtors’

  business judgment and is in the best interests of the Debtors and their estates. The store

  employees—along with their skills, knowledge, and hard work—are more critical now than ever.

  Through their commitment and performance, they can ensure that the Debtors continue to

  maximize stakeholder value in a challenging economic environment and at a time when those

  employees’ positions will soon be terminated.

          51.    Additionally, the total cost of the Store Closing Bonus Plan is reasonable in light

  of competitive market practice and involves compensation structures often used in other

  restructuring situations to incentivize employees to continue optimal performances despite the

  added stress inherent in the chapter 11 process.

          52.    The Store Closing Bonus Plan is comparable to employee incentive plans regularly

  paid as “expenses of sale” by liquidating agents in other “store closing” and similar-themed sales.

  As in those other instances, the specific Store Closing Bonus Plan here was devised with the input

  of the Consultant based on its views of maximizing the sale process and recoveries for creditors.




                                                     30
  13172884 v1
                                                                                                 A000139
                                                                                                      AB_0001140
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                22-752Filed
                                         Filed
                                             07/25/22
                                               03/09/20Page
                                                         Page
                                                            56 31
                                                               of 149
                                                                   of 37
                                                                       PageID #: 4537




  As such, courts have approved incentive payments similar to those contemplated by the Store

  Closing Bonus Plan. See, e.g., In re Destination Maternity Corporation, No. 19-12256 (BLS)

  (Bankr. D. Del. Nov. 14, 2019) (authorizing store closing retention bonus program on a final basis);

  In re Z Gallerie, LLC, No. 19-10488 (LSS) (Bankr. D. Del. Apr. 9, 2019) (same); In re Toys “R”

  Us, Inc., No. 17- (Bankr. E.D. Va. Feb. 6, 2018) (same); In re rue21, Inc., No. 17-22045 (GLT)

  (Bankr. W.D. Pa. June 12, 2017) (same); In re Payless Holdings LLC, No. 17-42267 (KAS)

  (Bankr. E.D. Mo. May 9, 2017) (same).

          53.    The Debtors respectfully submit that the Store Closing Bonus Plan is a sound

  exercise of the Debtors’ business judgment and should be approved pursuant to section 363 of the

  Bankruptcy Code as in the best interests of the Debtors, their estates, and all parties in interest in

  these chapter 11 cases.

  VII.    The Court Should Authorize the Assumption of the Consulting Agreement.

          54.    Section 365(a) of the Bankruptcy Code provides, in pertinent part, that a debtor in

  possession “subject to the court’s approval, may assume or reject any executory contract . . . of the

  debtor.” The standard governing bankruptcy court approval of a debtor’s decision to assume or

  reject an executory contract is whether the debtor’s reasonable business judgment supports such

  assumption or rejection. See, e.g., In re HQ Glob. Holdings, Inc., 290 B.R. 507, 511 (Bankr. D.

  Del. 2003) (finding that debtor’s decision to assume or reject an executory contract is governed by

  the business judgment standard, and that such decision may only be overturned if found to be a

  product of bad faith, whim, or caprice); see also In re Market Square Inn Inc., 978 F.2d 116, 121

  (3d Cir. 1992) (finding that assumption or rejection of lease “will be a matter of business judgment

  by the bankruptcy court”).

          55.    The business judgment test “requires only that the trustee [or debtor in possession]

  demonstrate that [assumption] or rejection of the contract will benefit the estate.”

                                                   31
  13172884 v1
                                                                                                 A000140
                                                                                                      AB_0001141
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                22-752Filed
                                         Filed
                                             07/25/22
                                               03/09/20Page
                                                         Page
                                                            57 32
                                                               of 149
                                                                   of 37
                                                                       PageID #: 4538




  Wheeling-Pittsburgh Steel Corp. v. West Penn Power Co. (In re Wheeling-Pittsburgh Steel Corp.),

  72 B.R. 845, 846 (Bankr. W.D. Pa. 1987).           Any more exacting scrutiny would slow the

  administration of the debtor’s estate and increase costs, interfere with the Bankruptcy Code’s

  provision for private control of administration of the estate, and threaten the court’s ability to

  control a case impartially. See Richmond Leasing Co. v. Capital Bank, 762 F.3d 1301, 1311 (5th

  Cir. 1985).

          56.    Assumption of the Consulting Agreement is beneficial to the Debtors’ estates, and,

  therefore, is a reasonable exercise of the Debtors’ business judgment. In consultation with their

  advisors, the Debtors have determined that the stores to be closed are unduly burdensome, and the

  Merchandise and the M&E should be liquidated for the benefit of the Debtors’ estates and their

  creditors. The Store Closings are already in progress. The Debtors determined that entering into

  the Consulting Agreement, after engaging in extensive negotiations with the Consultant and their

  prepetition lenders, will provide the greatest return to the Debtors’ estates for the Merchandise and

  the M&E. The Debtors believe, in their business judgment, that the terms set forth in the

  Consulting Agreement constitute the best available alternative for the conduct of the Store

  Closings and Sales.

          57.    The Consultant has extensive expertise in conducting liquidation sales and can

  oversee and assist in the management and implementation of the Store Closings in an efficient and

  cost-effective manner. Assumption of the Consulting Agreement will enable the Debtors to utilize

  the skills and resources of the Consultant to effectively and efficiently conduct the Store Closings

  for the benefit of all stakeholders. Given the number of stores and the particular issues in

  administering the Store Closings, the Debtors may not be able to retain a liquidator able to conduct

  the process as efficiently and effectively as the Consultant, who already has significant experience



                                                   32
  13172884 v1
                                                                                                A000141
                                                                                                     AB_0001142
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                22-752Filed
                                         Filed
                                             07/25/22
                                               03/09/20Page
                                                         Page
                                                            58 33
                                                               of 149
                                                                   of 37
                                                                       PageID #: 4539




  with the Debtors’ business operations and outlay of stores. If the Consulting Agreement is not

  approved, operative, and effective on an interim basis, the Store Closings would lose the benefit

  of the Consultant’s oversight and might be delayed or suspended entirely, leading to a loss of

  additional liquidity and increased administrative expenses. Moreover, it is imperative that the

  Consulting Agreement be approved on an interim basis so that the Debtors and the Consultant can

  immediately begin conducting the Store Closings and closing stores in accordance with the Store

  Closing Procedures, which will generate more proceeds for the Debtors and their estates.

  VIII. The Court Should Authorize the Retention of the Consultant
        Pursuant to Section 327(a) in Connection with Assumption
        of the Consulting Agreement.

           58.   The Debtors have selected the Consultant because they believe that the Consultant

  has developed an expertise in such matters that will significantly enhance the value recovered for

  the Assets, whether through the disposition of such through the conduct of strategic store closings

  for the Merchandise and the M&E, or through targeting marketing of the other Assets through their

  various divisions having an expertise in each such asset categories. Each entity comprising the

  Consultant is familiar with retail businesses generally, and the Debtors’ business operations

  specifically, and are well regarded and a leader in the distressed asset acquisition and disposition

  field.

           59.   The Debtors believe the employment of the Consultant as asset disposition

  consultants and advisors is in the best interest of the Debtors and their creditors since the

  Consultant will provide invaluable services as the Debtors attempt to maximize the realizable value

  recovered for its business and assets. The matters for which the Consultant is to be engaged are

  matters in which no other professional employed in this case will render services duplicative of

  the services rendered by the Consultant.



                                                  33
  13172884 v1
                                                                                               A000142
                                                                                                    AB_0001143
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                22-752Filed
                                         Filed
                                             07/25/22
                                               03/09/20Page
                                                         Page
                                                            59 34
                                                               of 149
                                                                   of 37
                                                                       PageID #: 4540




          60.    Based on the information the Consultant has to date provided to the Debtors, the

  Debtors believe that the Consultant does not hold an interest adverse to either the Debtors or their

  estates, and with respect to the subject matter on which the Consultant has been engaged is a

  “disinterested person” pursuant to sections 327(a) and 101(14) of the Bankruptcy Code.

          61.    As is customary in this district, each entity comprising the Consultant will file

  declarations of their connections prior to the final hearing on this Motion (the “Consultant’s

  Declarations”).

          62.    To the best of the Debtors’ knowledge, and except as may be disclosed in the

  respective Consultant Declarations when filed, the Consultant has not provided services to the

  Debtors’ creditors, equity security holders, or any other parties-in-interest, or its respective

  attorneys, in any matter relating to the Debtors or their estates.

          63.    The Debtors respectfully requests that the Consultant be retained in conjunction

  with the Court’s approval of the assumption of the Consulting Agreement, nunc pro tunc to the

  Petition Date. Since the Petition Date, the Consultant has provided valuable services that were

  time sensitive and critical to protection of the interests of the Debtors’ stakeholders.

                    The Requirements of Bankruptcy Rule 6003 Are Satisfied
          64.    Bankruptcy Rule 6003 empowers a court to grant relief within the first 21 days after

  the Petition Date “to the extent that relief is necessary to avoid immediate and irreparable harm.”

  Fed. R. Bankr. P. 6003. For the reasons discussed above, authorizing the Debtors reject certain

  unexpired leases, approving store closing or similar themed sales in accordance with the Store

  Closing Procedures, and granting the other relief requested herein is integral to the Debtors’ ability

  to transition their operations into these chapter 11 cases smoothly. Failure to receive such

  authorization and other relief during the first 21 days of these chapter 11 cases would severely

  disrupt the Debtors’ operations at this critical juncture. For the reasons discussed herein, the relief

                                                    34
  13172884 v1
                                                                                                 A000143
                                                                                                      AB_0001144
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                22-752Filed
                                         Filed
                                             07/25/22
                                               03/09/20Page
                                                         Page
                                                            60 35
                                                               of 149
                                                                   of 37
                                                                       PageID #: 4541




  requested is necessary in order for the Debtors to operate their business in the ordinary course,

  preserve the going concern value of the Debtors’ operations, and maximize the value of their

  estates for the benefit of all stakeholders. Accordingly, the Debtors submit that they have satisfied

  the “immediate and irreparable harm” standard of Bankruptcy Rule 6003 to support granting the

  relief requested herein.

                                         Reservation of Rights

          65.    Nothing contained in this Motion or any actions taken by the Debtors pursuant to

  relief granted in the Interim Order and Final Order is intended or should be construed as: (a) an

  admission as to the validity, priority, or amount of any particular claim against a Debtor entity;

  (b) a waiver of the Debtors’ or any other party-in-interest’s rights to dispute any particular claim

  on any grounds; (c) a promise or requirement to pay any particular claim; (d) an implication or

  admission that any particular claim is of a type specified or defined in this Motion; (e) a request

  or authorization to assume any agreement, contract, or lease pursuant to section 365 of the

  Bankruptcy Code (other than the Consulting Agreement); (f) a waiver or limitation of the Debtors’

  or any other party-in-interest’s rights under the Bankruptcy Code or any other applicable law; or

  (g) a concession by the Debtors or any other party-in-interest that any liens (contractual, common

  law, statutory, or otherwise) satisfied pursuant to this Motion are valid and the Debtors and all

  other parties-in-interest expressly reserve their rights to contest the extent, validity, or perfection,

  or to seek avoidance of all such liens. If the Court grants the relief sought herein, any payment

  made pursuant to the Court’s order is not intended and should not be construed as an admission as

  to the validity, priority, or amount of any particular claim or a waiver of the Debtors’ or any other

  party-in-interest’s rights to subsequently dispute such claim.




                                                    35
  13172884 v1
                                                                                                  A000144
                                                                                                       AB_0001145
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                22-752Filed
                                         Filed
                                             07/25/22
                                               03/09/20Page
                                                         Page
                                                            61 36
                                                               of 149
                                                                   of 37
                                                                       PageID #: 4542




                         Waiver of Bankruptcy Rule 6004(a) and 6004(h)

          66.    To implement the foregoing successfully, the Debtors request that the Court enter

  an order providing that notice of the relief requested herein satisfies Bankruptcy Rule 6004(a) and

  that the Debtors have established cause to exclude such relief from the 14-day stay period under

  Bankruptcy Rule 6004(h).

                                                Notice

          67.    The Debtors will provide notice of this Motion to: (a) the Office of the U.S. Trustee

  for the District of Delaware; (b) the holders of the 30 largest unsecured claims against the Debtors

  (on a consolidated basis); (c) the United States Attorney’s Office for the District of Delaware;

  (d) the Internal Revenue Service; (e) the state attorneys general for all states in which the Debtors

  conduct business; (f) the Dispute Notice Parties; (g) all of the Debtors’ landlords at the locations

  of the Closing Stores, and counsel thereto, if known; and (h) any party that requests service

  pursuant to Bankruptcy Rule 2002. The Debtors submit that, in light of the nature of the relief

  requested, no other or further notice need be given.

                                          No Prior Request

          68.    No prior request for the relief sought in this Motion has been made to this or any

  other court.



                                 [Remainder of page intentionally left blank]




                                                   36
  13172884 v1
                                                                                                A000145
                                                                                                     AB_0001146
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                22-752Filed
                                         Filed
                                             07/25/22
                                               03/09/20Page
                                                         Page
                                                            62 37
                                                               of 149
                                                                   of 37
                                                                       PageID #: 4543




          WHEREFORE, the Debtors respectfully request entry of interim and final orders,

  substantially in the forms attached hereto as Exhibit A and Exhibit B, respectively, (a) granting

  the relief requested herein and (b) granting such other relief as is just and proper.


  Dated: March 9, 2020                           BENESCH, FRIEDLANDER, COPLAN &
  Wilmington, Delaware                           ARONOFF LLP

                                                     /s/ Gregory W. Werkheiser
                                                 Gregory W. Werkheiser (DE No. 3553)
                                                 Michael J. Barrie (DE No. 4684)
                                                 Jennifer Hoover (DE No. 5111)
                                                 Kevin Capuzzi (DE No. 5462)
                                                 John C. Gentile (DE No. 6159)
                                                 222 Delaware Avenue, Suite 801
                                                 Wilmington, DE 19801
                                                 Telephone: (302) 442-7010
                                                 Facsimile: (302) 442-7012
                                                 E-mail: gwerkheiser@beneschlaw.com
                                                         mbarrie@beneschlaw.com
                                                         jhoover@beneschlaw.com
                                                         kcapuzzi@beneschlaw.com
                                                         jgentile@beneschlaw.com

                                                 Proposed Counsel to the Debtors and Debtors in
                                                 Possession




  13172884 v1
                                                                                            A000146
                                                                                                 AB_0001147
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-1
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             63 of1149
                                                                    of 24
                                                                        PageID #: 4544




                                  EXHIBIT A




                                                                              A000147
                                                                                   AB_0001148
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-1
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             64 of2149
                                                                    of 24
                                                                        PageID #: 4545




                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                                       )
      In re:                                                           )   Chapter 11
                                                                       )
      ART VAN FURNITURE, LLC, et al.,1                                 )   Case No. 20-10553 (CSS)
                                                                       )
                                         Debtors.                      )   (Joint Administration Requested)
                                                                       )
                                                                       )   Re: Docket No.    _____

                              INTERIM ORDER GRANTING DEBTORS’
                        EMERGENCY MOTION FOR ENTRY OF INTERIM AND
                    FINAL ORDERS (I) APPROVING PROCEDURES FOR STORE
                 CLOSING SALES, (II) AUTHORIZING CUSTOMARY BONUSES TO
               EMPLOYEES OF CLOSING STORES, (III) AUTHORIZING ASSUMPTION
                OF THE CONSULTING AGREEMENT UNDER §§ 363 AND 365 OF THE
                   BANKRUPTCY CODE, (IV) AUTHORIZING THE DEBTORS TO
                     RETAIN CERTAIN CONSULTANT ENTITIES AS SPECIAL ASSET
                DISPOSITION ADVISORS TO THE DEBTORS PURSUANT TO §327(A)
                  OF THE BANKRUPTCY CODE AND (V) GRANTING RELATED RELIEF


               Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

  (collectively, the “Debtors”) for entry of an interim order (this ”Interim Order”): (a) authorizing

  and approving the conduct of store closing or similar themed sales in accordance with the terms of

  the store closing procedures (the “Store Closing Procedures”) attached hereto as Exhibit 1, with

  such sales to be free and clear of all liens, claims and encumbrances; (b) authorizing the Debtors

  to conduct the Store Closings; (c) authorizing the Debtors to pay customary bonuses to employees

  of Closing Stores; (d) authorizing the Debtors to assume the Consulting Agreement; (e)


  1
        The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
        number, include: Art Van Furniture, LLC (9205); Art Van Furniture of Canada, LLC (9491); AV Pure Sleep
        Franchising, LLC (8968); AVCE, LLC (2509); AVF Franchising, LLC (6325); AVF Holding Company, Inc.
        (0291); AVF Holdings I, LLC (2537); AVF Holdings II, LLC (7472); AVF Parent, LLC (3451); Levin Parent,
        LLC (8052); LF Trucking, Inc. (1484); and Sam Levin, Inc. (5198). The location of the Debtors’ service address
        in these chapter 11 cases is: 6500 East 14 Mile Road, Warren Michigan 48092.

  2
        Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.



  13172880 v2
                                                                                                                 A000148
                                                                                                                      AB_0001149
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-1
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             65 of3149
                                                                    of 24
                                                                        PageID #: 4546




  authorizing the Debtors to retain the Consultant as special asset disposition advisor pursuant ot

  Section 327(a) fo the bankruptcy Code; (f) scheduling a final hearing to consider approval of the

  Motion on a final basis; and (g) granting related relief, all as more fully set forth in the Motion;

  and upon the First Day Declaration; and this Court having jurisdiction over this matter pursuant to

  28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the United States

  District Court for the District of Delaware, dated February 29, 2012; and this Court having found

  that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that

  venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408

  and 1409; and this Court having found that the relief requested in the Motion is in the best interests

  of the Debtors’ estates, their creditors, and other parties in interest; and this Court having found

  that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion were

  appropriate under the circumstances and no other notice need be provided; and this Court having

  reviewed the Motion and having heard the statements in support of the relief requested therein at

  a hearing before this Court (the “Hearing”); and this Court having determined that the legal and

  factual bases set forth in the Motion and at the Hearing establish just cause for the relief granted

  herein; and upon all of the proceedings had before this Court; and after due deliberation and

  sufficient cause appearing therefor, it is HEREBY FOUND AND DETERMINED THAT: 3

          A.       The Debtors have advanced sound business reasons for seeking to implement the

  Store Closing Procedures and assume the Consulting Agreement, as set forth in the Motion and at

  the Hearing, and such relief is in the best interests of the Debtors and their estates.




  3
      Findings of fact shall be construed as conclusions of law and conclusions of law shall be construed as findings of
      fact where appropriate.


                                                           2
  13172880 v2
                                                                                                               A000149
                                                                                                                    AB_0001150
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-1
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             66 of4149
                                                                    of 24
                                                                        PageID #: 4547




          B.     The Store Closing Procedures are reasonable, and the conduct of the Closing Sales

  in accordance with the Store Closing Procedures will provide an efficient means for the Debtors

  to dispose of the Merchandise and the M&E and will maximize the returns on the Merchandise

  and the M&E.

          C.     The Consulting Agreement was negotiated, proposed, and entered into by the

  Debtors and the Consultant without collusion, in good faith, and from arm’s-length bargaining

  positions, and the operation and effectiveness of the Consulting Agreement on an interim basis is

  a sound exercise of the Debtors’ business judgment.

          D.     The relief set forth herein is necessary to avoid immediate and irreparable harm to

  the Debtors and their estates and the Debtors have demonstrated good, sufficient, and sound

  business purposes and justifications for the relief approved herein.

          E.     The Store Closings and Closing Sales are in the best interest of the Debtors’ estates.

          F.     The entry of this Interim Order is in the best interest of the Debtors and their estates,

  creditors, and interest holders and all other parties in interest herein; and now therefore it is

  HEREBY ORDERED THAT:

          1.     The Motion is granted on an interim basis as provided herein.

          2.     The final hearing (the “Final Hearing”) on the Motion shall be held on _________,

  2020, at__:__ _.m., prevailing Eastern Time. Any objections or responses to entry of a final order

  on the Motion shall be filed on or before 4:00 p.m., prevailing Eastern Time, on _________, 2020,

  and shall be served on:      (a) the Debtors, 6500 14 Mile Road, Warren, Michigan 48092,

  Attn: Michael Zambricki; (b) proposed counsel to the Debtors, Benesch, Friedlander, Coplan &

  Aronoff LLP, 222 Delaware Avenue, Suite 801, Wilmington, Delaware 19801, Attn: Gregory

  Werkheiser, Michael J. Barrie, Jennifer R. Hoover, Kevin M. Capuzzi, and John C. Gentile; (c)



                                                    3
  13172880 v2
                                                                                                  A000150
                                                                                                       AB_0001151
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-1
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             67 of5149
                                                                    of 24
                                                                        PageID #: 4548




  proposed special counsel to the Debtors, Montgomery McCracken Walker & Rhoads LLP, 437

  Madison Avenue, New York, NY 10022, Attn. Maura I. Russell; (d) the Office of The United

  States Trustee, 844 King Street, Suite 2207, Lockbox 35, Wilmington, Delaware 19801, Attn:

  Linda Richenderfer; (e) counsel to the administrative agent under the Debtors' ABL loan facilities

  (i) Morgan, Lewis & Bockius LLP, One Federal Street, Boston, Massachusetts 02110, Attn:

  Marjorie S. Crider, (ii) Morgan, Lewis & Bockius LLP, 101 Park Avenue, New York, New York

  10178, Attn: Jennifer Feldsher, and (iii) Burr & Forman LLP, 1201 N. Market Street, Wilmington,

  Delaware 19801, Attn: J. Cory Falgowski; (f) lead counsel to the Consultant, Riemer & Braunstein

  LLP, Times Square Tower, Seven Times Square, Suite 2506, New York, New York 10036, Attn:

  Steven E. Fox; (g) counsel to the Prepetition Term Loan Agent, Greenberg Traurig, LLP, One

  International Place, Suite 2000, Boston, MA 02110, Attn: Jeffrey M. Wolf; and (h) counsel to any

  statutory committee appointed in these chapter 11 cases.. In the event no objections to entry of

  the Final Order on the Motion are timely received, this Court may enter such Final Order without

  need for the Final Hearing.

          3.     The Debtors are authorized, but not directed, to make payments under the Store

  Closing Bonus Plan.

          4.     The Debtors and the Consultant are authorized to take all actions necessary to

  effectuate the relief granted in this Interim Order in accordance with the Motion. The failure to

  specifically include any provision of the Consulting Agreement in this Interim Order shall not

  diminish or impair the effectiveness of such provisions, it being the intent of the Court that the

  Consulting Agreement and all of its provisions, payments, and transactions be, and hereby are,

  authorized and approved as and to the extent provided in this Interim Order.




                                                  4
  13172880 v2
                                                                                             A000151
                                                                                                  AB_0001152
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-1
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             68 of6149
                                                                    of 24
                                                                        PageID #: 4549




          5.     To the extent of any conflict between this Interim Order, the Consulting Agreement,

  and the Store Closing Procedures, the terms of this Interim Order shall control.

          6.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Interim

  Order are immediately effective and enforceable upon its entry.

  I.      Authority to Engage in Closing Sales and Conduct Store Closings.

          7.     The Debtors and the Consultant are authorized, on an interim basis pending the

  Final Hearing, pursuant to sections 105(a) and 363(b)(1) of the Bankruptcy Code, to immediately

  continue and conduct Closing Sales at the Closing Stores in accordance with this Interim Order,

  the Store Closing Procedures, and the Consulting Agreement.

          8.     The Store Closing Procedures are approved in their entirety on an interim basis.

          9.     The Debtors are authorized to discontinue operations at the Closing Stores in

  accordance with this Interim Order, the Store Closing Procedures, and the Consulting Agreement.

          10.    All entities that are presently in possession of some or all of the Merchandise or

  M&E in which the Debtors hold an interest that are hereby are directed to surrender possession of

  such Merchandise or M&E to the Debtors.

          11.    Neither the Debtors nor any of their officers, employees, or agents shall be required

  to obtain the approval of any third party, including, without limitation, any Governmental Unit (as

  defined in Bankruptcy Code section 101(27)) or landlord, to conduct the Closing Sales and to take

  the related actions authorized herein.

  II.     Conduct of the Sales.

          12.    All media in which the Closing Sales may be advertised and all landlords are

  directed to accept this Interim Order as binding authority so as to authorize the Debtors and the

  Consultant to conduct the Closing Sales and the sale of Merchandise, M&E, and Additional

  Consultant Goods, including, without limitation, to conduct and advertise the sale of the

                                                   5
  13172880 v2
                                                                                               A000152
                                                                                                    AB_0001153
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-1
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             69 of7149
                                                                    of 24
                                                                        PageID #: 4550




  Merchandise, M&E, and Additional Consultant Goods in the manner contemplated by and in

  accordance with this Interim Order, the Store Closing Procedures, and the Consulting Agreement.

          13.    The Debtors and the Consultant are hereby authorized to take such actions as may

  be necessary and appropriate to conduct the Store Closings without necessity of further order of

  this Court as provided in this Interim Order, the Store Closing Procedures, and the Consulting

  Agreement, including, but not limited to, advertising the sale as a “store closing sale,” “sale on

  everything,” “everything must go,” or similar-themed sales through the posting of signs (including

  the use of exterior banners at non-enclosed mall closing locations, and at enclosed mall closing

  locations to the extent the applicable closing location entrance does not require entry into the

  enclosed mall common area), use of signwalkers, and street signage; provided, however, that only

  Debtor-approved terminology will be used at each Closing Store in connection with the Sales.

          14.    The Consultant is authorized to supplement the Merchandise in the Closing Stores

  with Additional Consultant Goods, provided that any such supplementing with Additional

  Consultant Goods must be of like kind and no lesser quality than goods sold in the Closing Stores

  prior to the Petition Date. Sales of Additional Consultant Goods shall be run through the Debtors’

  cash register systems; provided, however, that the Consultant shall mark the Additional Consultant

  Goods using either a “dummy” SKU or department number or in such other manner so as to

  distinguish the sale of Additional Consultant Goods from the sale of Merchandise. The Consultant

  and Merchant shall cooperate to ensure that the Additional Consultant Goods are marked in such

  a way that a reasonable consumer could identify the Additional Consultant Goods from the

  Merchandise.

          15.    All transactions relating to the Additional Consultant Goods are, shall be construed

  as, and are acknowledged by the Debtors to be, a true consignment from Consultant to the Debtors



                                                  6
  13172880 v2
                                                                                              A000153
                                                                                                   AB_0001154
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-1
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             70 of8149
                                                                    of 24
                                                                        PageID #: 4551




  under Article 9 of the Uniform Commercial Code in effect in the State of Delaware (the “UCC”)

  and not a consignment for security purposes. At all times and for all purposes, the Additional

  Consultant Goods and their proceeds shall be the exclusive property of the Consultant, and no

  other person or entity (including, without limitation, the Debtors, or any third person claiming a

  security interest in the Debtors’ property, including any of the Debtors’ secured lenders) shall have

  any claim against any of the Additional Consultant Goods or the proceeds thereof. The Additional

  Consultant Goods shall at all times remain subject to the exclusive control of the Consultant. The

  Debtors shall, at Consultant’s sole cost and expense, insure Additional Consultant Goods and, if

  required, promptly file any proofs of loss with regard thereto.

          16.    Consultant is hereby granted a first priority security interest in and lien upon (i) the

  Additional Consultant Goods and (ii) the Additional Consultant Goods proceeds, which security

  interest shall be deemed perfected on a interim basis pursuant to this Interim Order without the

  requirement of filing UCC financing statements or providing notifications to any prior secured

  parties (provided that Consultant is hereby authorized to deliver any notices and file any financing

  statements and amendments thereof under the applicable UCC identifying Consultant’s interest in

  the Additional Consultant Goods (and any proceeds from the sale thereof) as consigned goods

  thereunder and the Debtors as the consignee therefor, and Consultant’s security interest in such

  Additional Consultant Goods and Additional Consultant Goods proceeds). As part of each weekly

  reconciliation, the Debtors shall turnover all proceeds from the sale of Additional Consultant

  Goods to the Consultant, net of any fee payable to the Debtors pursuant to the Consulting

  Agreement.

          17.    Notwithstanding anything herein to the contrary, and in view of the importance of

  the use of sign-walkers, banners, and other advertising to the sale of the Merchandise, M&E, and



                                                    7
  13172880 v2
                                                                                                 A000154
                                                                                                      AB_0001155
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-1
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             71 of9149
                                                                    of 24
                                                                        PageID #: 4552




  Additional Consultant Goods, to the extent that, prior to the Final Hearing, disputes arise during

  the course of such sale regarding laws regulating the use of sign-walkers, banners, or other

  advertising and the Debtors are unable to resolve the matter consensually, any party may request

  an immediate telephonic hearing with this Court pursuant to these provisions. Such hearing will,

  to the extent practicable, be scheduled initially no later than the earlier of (a) the Final Hearing, or

  (b) within two (2) business days of such request. This scheduling shall not be deemed to preclude

  additional hearings for the presentation of evidence or arguments as necessary.

          18.     The sale of the Merchandise, M&E, and Additional Consultant Goods shall be

  conducted by the Debtors notwithstanding any restrictive provision of any lease, sublease,

  restrictive covenant, or other agreement relative to occupancy affecting or purporting to restrict

  the conduct of the Store Closings or the Closing Sales (including the sale of the Merchandise,

  M&E, and Additional Consultant Goods) and the rejection of leases, abandonment of assets, or

  “going dark” provisions, and such provisions shall not be enforceable in conjunction with the Sales

  or the Store Closings. Breach of any such provisions in these chapter 11 cases in conjunction with

  the Store Closings or the Closing Sales shall not constitute a default under a lease or provide a

  basis to terminate the lease; provided that the Store Closings and Closing Sales are conducted in

  accordance with the terms of this Interim Order and the Store Closing Procedures.

          19.     Except as expressly provided for herein or in the Store Closing Procedures, and

  except with respect to any Governmental Unit (as to which paragraphs 22 and 23 shall apply) no

  person or entity, including, but not limited to, any landlord, licensor, service provider, utility, or

  creditor, shall take any action to directly or indirectly prevent, interfere with, or otherwise hinder

  consummation of the Closing Sales or the sale of merchandise, M&E, or Additional Consultant

  Goods, or the advertising and promotion (including the posting of signs and exterior banners or



                                                     8
  13172880 v2
                                                                                                  A000155
                                                                                                       AB_0001156
Case 1:22-cv-00450-CFC
            Case 20-10553-CSS
                        DocumentDoc
                                 22-7
                                    52-1Filed
                                            Filed
                                              07/25/22
                                                  03/09/20
                                                         Page
                                                            Page
                                                              72 of10149
                                                                      of 24
                                                                         PageID #: 4553




  the use of signwalkers) of such sales, and all such parties and persons of every nature and

  description, including, but not limited to, any landlord, licensor, service provider, utility, and

  creditor and all those acting for or on behalf of such parties, are prohibited and enjoined from

  (a) interfering in any way with, obstructing, or otherwise impeding the conduct of the Closing

  Sales and/or Store Closings, and/or (b) instituting any action or proceeding in any court (other than

  this Court) or administrative body seeking an order or judgment against, among others, the

  Debtors, or the landlords at the Closing Stores that might in any way directly or indirectly obstruct

  or otherwise interfere with or adversely affect the conduct of the Closing Sales or other liquidation

  sales at the Closing Stores and/or seek to recover damages for breach(es) of covenants or

  provisions in any lease, sublease, license, or contract based upon any relief authorized herein.

          20.    In accordance with and subject to the terms and conditions of the Consulting

  Agreement, the Consultant shall have the right to use the Closing Stores and all related Closing

  Store services, furniture, fixtures, equipment, and other assets of the Debtors for the purpose of

  conducting the Store Closings, free of any interference from any entity or person, subject to

  compliance with the Store Closing Procedures and this Interim Order.

          21.    All sales of Merchandise, M&E and Additional Consultant Goods shall be “as is”

  and final. Returns related to the purchase of Store Assets shall not be accepted at stores that are

  not participating in the Store Closings. However, as to the Closing Stores, all state and federal

  laws relating to implied warranties for latent defects shall be complied with and are not superseded

  by the sale of said goods or the use of the terms “as is” or “final sales.”

          22.    The Consultant shall not be liable for sales taxes except wither respect to the

  Additional Consultant Goods, and as expressly provided in the Consulting Agreement, and the

  payment of any and all sales taxes is the responsibility of the Debtors, subject to Consultant’s



                                                    9
  13172880 v2
                                                                                                A000156
                                                                                                     AB_0001157
Case 1:22-cv-00450-CFC
            Case 20-10553-CSS
                        DocumentDoc
                                 22-7
                                    52-1Filed
                                            Filed
                                              07/25/22
                                                  03/09/20
                                                         Page
                                                            Page
                                                              73 of11149
                                                                      of 24
                                                                         PageID #: 4554




  obligation to collect and remit the sales taxes attributable to the sale of Additional Consultant

  Goods. The Debtors are directed to remit all taxes arising from the Sales to the applicable

  Governmental Units as and when due; provided that in the case of a bona fide dispute the Debtors

  are only directed to pay such taxes upon the resolution of the dispute, if and to the extent that the

  dispute is decided in favor of the applicable Governmental Unit. For the avoidance of doubt, sales

  taxes collected and held in trust by the Debtors shall not be used to pay any creditor or any other

  party, other than the applicable Governmental Unit for which the sales taxes are collected. This

  Interim Order does not enjoin, suspend, or restrain the assessment, levy, or collection of any tax

  under state law, and does not constitute a declaratory judgment with respect to any party’s liability

  for taxes under state law.

          23.     Pursuant to section 363(f) of the Bankruptcy Code, the Consultant, on behalf of the

  Debtors, is authorized to sell Store Assets—and all sales of Store Assets whether by the Consultant

  or the Debtors, shall be—free and clear of any and all of any liens, claims, encumbrances,

  assignments, preferences, debts, easements, charges, suits, licenses, options, rights-of-recovery,

  judgments, orders and decrees of any court or foreign or domestic governmental entity, taxes

  (including foreign, state, and local taxes), licenses, covenants, restrictions, indentures, instruments,

  leases, options, off-sets, claims for reimbursement, contribution, indemnity or exoneration,

  successor, product, environmental, tax, labor, ERISA, CERCLA, alter ego and other liabilities,

  causes of action, contract rights, and claims, to the fullest extent of the law, in each case, of any

  kind or nature (including, without limitation, all “claims” as defined in section 101(5) of the

  Bankruptcy Code), known or unknown, whether pre-petition or post-petition, secured or

  unsecured, choate or inchoate, filed or unfiled, scheduled or unscheduled, perfected or unperfected,

  liquidated or unliquidated, noticed or unnoticed, recorded or unrecorded, contingent or non-



                                                    10
  13172880 v2
                                                                                                  A000157
                                                                                                       AB_0001158
Case 1:22-cv-00450-CFC
            Case 20-10553-CSS
                        DocumentDoc
                                 22-7
                                    52-1Filed
                                            Filed
                                              07/25/22
                                                  03/09/20
                                                         Page
                                                            Page
                                                              74 of12149
                                                                      of 24
                                                                         PageID #: 4555




  contingent, material or non-material, statutory or non-statutory, matured or unmatured, legal or

  equitable (collectively, “Encumbrances”)s; as provided for herein because in each case, one or

  more of the standards set forth in section 363(f)(1)–(5) has been satisfied; provided, however, that

  any such Encumbrances shall attach to the proceeds of the sale of the Merchandise and the M&E

  with the same validity, in the amount, with the same priority as, and to the same extent that any

  such Encumbrances have with respect to the Merchandise and the M&E, subject to any claims and

  defenses that any party may possess with respect thereto and subject to the Consultant’s fees and

  expenses (as provided in the Consulting Agreement).

          24.    To the extent that the Debtors propose to sell or abandon M&E that may contain

  personal and/or confidential information about the Debtors’ employees and/or customers

  (the “Confidential Information”), the Debtors shall remove the Confidential Information from such

  items of M&E before such sale or abandonment.

          25.    The Debtors are authorized and empowered to transfer merchandise, M&E and

  Additional Consultant Goods among, and into, the Stores.

  III.    Dispute Resolution Procedures with Governmental Units.

          26.    Nothing in this Interim Order, or the Store Closing Procedures, releases, nullifies,

  or enjoins the enforcement of any liability to a governmental unit under environmental laws or

  regulations (or any associated liabilities for penalties, damages, cost recovery, or injunctive relief)

  to which any entity would be subject as the owner, lessor, lessee, or operator of the property after

  the date of entry of this Interim Order. Nothing contained in this Interim Order, or the Store

  Closing Procedures shall in any way: (a) diminish the obligation of any entity to comply with

  environmental laws; or (b) diminish the obligations of the Debtors to comply with environmental

  laws consistent with its rights and obligations as debtor in possession under the Bankruptcy Code.

  The Store Closings and the Sales shall not be exempt from laws of general applicability, including,

                                                    11
  13172880 v2
                                                                                                 A000158
                                                                                                      AB_0001159
Case 1:22-cv-00450-CFC
            Case 20-10553-CSS
                        DocumentDoc
                                 22-7
                                    52-1Filed
                                            Filed
                                              07/25/22
                                                  03/09/20
                                                         Page
                                                            Page
                                                              75 of13149
                                                                      of 24
                                                                         PageID #: 4556




  without limitation, public health and safety, criminal, tax, labor, employment, environmental,

  antitrust, fair competition, traffic, and consumer protection laws, including consumer laws

  regulating deceptive practices and false advertising (collectively, “General Laws”). Nothing in

  this Interim Order, the Consulting Agreement, or the Store Closing Procedures, shall alter or affect

  obligations to comply with all applicable federal safety laws and regulations. Nothing in this

  Interim Order shall be deemed to bar any Governmental Unit (as such term is defined in section

  101(47) of the Bankruptcy Code) from enforcing General Laws, subject to the Debtors’ rights to

  assert in that forum or before this Court that any such laws are not in fact General Laws or that

  such enforcement is impermissible under the bankruptcy Code or this Interim Order.

  Notwithstanding any other provision in this Interim Order, no party waives any rights to argue any

  position with respect to whether the conduct was in compliance with this Interim Order and/or any

  applicable law, or that enforcement of such applicable law is preempted by the Bankruptcy Code.

  Nothing in this Interim Order shall be deemed to have made any rulings on any such issues.

          27.    To the extent that the sale of Merchandise, M&E, and Additional Consultant Goods

  is subject to any Liquidation Sale Laws, including any federal, state or local statute, ordinance, or

  rule, or licensing requirement directed at regulating “going out of business,” “store closing,”

  similar inventory liquidation sales, or bulk sale laws, laws restricting safe, professional and non-

  deceptive, customary advertising such as signs, banners, posting of signage, and use of sign-

  walkers solely in connection with the sale and including ordinances establishing license or permit

  requirements, waiting periods, time limits, or bulk sale restrictions that would otherwise apply

  solely to the sale of the merchandise, M&E, and Additional Consultant Goods, the Dispute

  Resolution Procedures in this section shall apply:

                 a.      Provided that the Closing Sales are conducted in accordance with the terms
                         of the Interim Order or the Final Order, as applicable, and the Store Closing


                                                   12
  13172880 v2
                                                                                                A000159
                                                                                                     AB_0001160
Case 1:22-cv-00450-CFC
            Case 20-10553-CSS
                        DocumentDoc
                                 22-7
                                    52-1Filed
                                            Filed
                                              07/25/22
                                                  03/09/20
                                                         Page
                                                            Page
                                                              76 of14149
                                                                      of 24
                                                                         PageID #: 4557




                     Procedures, and in light of the provisions in the laws of many Governmental
                     Units (as defined in the Bankruptcy Code) that exempt court-ordered sales
                     from their provisions, the Debtors will be presumed to be in compliance
                     with any Liquidation Sale Laws and are authorized to conduct the Closing
                     Sales in accordance with the terms of the Interim Order or the Final Order,
                     as applicable, and the Store Closing Procedures without the necessity of
                     further showing compliance with any such Liquidation Sale Laws.

                b.   Within three business days after entry of the Interim Order, the Debtors will
                     serve by email, facsimile, or first-class mail, copies of the Interim Order,
                     the proposed Final Order and the Store Closing Procedures on the
                     following: (i) the landlords for the Stores; (ii) the Attorney General’s office
                     for each state in which the Closing Sales are being held; (iii) the county
                     consumer protection agency or similar agency for each county in which the
                     Closing Sales are being held; (iv) the division of consumer protection for
                     each state in which the Closing Sales are being held; (v) the chief legal
                     counsel for each local jurisdiction in which the Closing Sales are being held
                     (collectively, the “Dispute Notice Parties”).

                c.   With respect to any additional Stores, within three business days after Court
                     authorization to close additional stores (each, an “Additional Closing Store
                     List”), the Debtors will serve by email, facsimile, or first-class mail, copies
                     of the Interim Order or Final Order, as applicable, and the Store Closing
                     Procedures on the Dispute Notice Parties. To the extent that there is a
                     dispute arising from or relating to the Sales, the Interim Order, or the
                     proposed Final Order, as applicable, the Store Closing Procedures, which
                     dispute relates to any Liquidation Sale Laws (a “Reserved Dispute”), the
                     Court shall retain exclusive jurisdiction to resolve the Reserved Dispute.
                     Any time within ten days following entry of the Interim Order or service of
                     any Additional Closing Store List, as applicable, any Governmental Unit
                     may assert that a Reserved Dispute exists by sending a notice (the “Dispute
                     Notice”) explaining the nature of the dispute to: (i) counsel to the Debtors,
                     Benesch, Friedlander, Coplan & Aronoff LLP, 222 Delaware Avenue, Suite
                     201, Wilmington, Delaware 19801-1611, Attn: Michael J. Barrie and
                     Gregory W. Werkheiser; (ii) counsel to the Prepetition ABL Agent, Morgan
                     Lewis & Bockius LLP, (a) 101 Park Avenue, New York, New York 10178-
                     0060, Attn: Jennifer Feldsher, and (b) One Federal Street, Boston,
                     Massachusetts 02110, Attn: Marjorie Crider and Christopher L. Carter, and
                     Burr & Forman LLP, 1201 N. Market Street, Suite 1407, Wilmington,
                     Delaware 19801, Attn: J. Cory Falgowski; (iii) counsel to the Consultant,
                     Riemer & Braunstein LLP, Times Square Tower, Seven Times Square,
                     Suite 2506, New York, New York 10036; (iii) the United States Trustee’s
                     Office for the District of Delaware, 844 King Street, Suite 2207, Lockbox
                     35, Wilmington, Delaware 19801, Attn: Linda Richenderfer; (iv) counsel to
                     the Prepetition Term Loan Lenders, Greenberg Traurig, LLP, One
                     International Place, Suite 2000, Boston, MA 02110, Attn: Jeffrey M. Wolf.
                     If the Debtors and the Governmental Unit are unable to resolve the Reserved

                                               13
  13172880 v2
                                                                                            A000160
                                                                                                 AB_0001161
Case 1:22-cv-00450-CFC
            Case 20-10553-CSS
                        DocumentDoc
                                 22-7
                                    52-1Filed
                                            Filed
                                              07/25/22
                                                  03/09/20
                                                         Page
                                                            Page
                                                              77 of15149
                                                                      of 24
                                                                         PageID #: 4558




                         Dispute within 15 days after service of the Dispute Notice, the
                         Governmental Unit may file a motion with the Court requesting that the
                         Bankruptcy Court resolve the Reserved Dispute (a “Dispute Resolution
                         Motion”).

                 d.      In the event that a Dispute Resolution Motion is filed, nothing in the Interim
                         Order or the Final Order, as applicable, shall preclude the Debtors, a
                         landlord, or any other interested party from asserting (i) that the provisions
                         of any Liquidation Sale Laws are preempted by the Bankruptcy Code, or
                         (ii) that neither the terms of the Interim Order or the Final Order nor the
                         conduct of the Debtors pursuant to the Interim Order or the Final Order
                         violates such Liquidation Sale Laws. Filing a Dispute Resolution Motion
                         as set forth herein shall not be deemed to affect the finality of the Interim
                         Order or the Final Order or to limit or interfere with the Debtors’ ability to
                         conduct or to continue to conduct the Closing Sales pursuant to the Interim
                         Order or the Final Order, absent further order of the Court. Upon the entry
                         of the Interim Order or the Final Order, as applicable, the Court grants
                         authority for the Debtors to conduct the Closing Sales pursuant to the terms
                         of the Interim Order or the Final Order, as applicable, the Store Closing
                         Procedures and to take all actions reasonably related thereto or arising in
                         connection therewith. The Governmental Unit will be entitled to assert any
                         jurisdictional, procedural, or substantive arguments it wishes with respect
                         to the requirements of its Liquidation Sale Laws or the lack of any
                         preemption of such Liquidation Sale Laws by the Bankruptcy Code.
                         Nothing in the Interim Order or the Final Order will constitute a ruling with
                         respect to any issues to be raised in any Dispute Resolution Motion.

                 e.      If, at any time, a dispute arises between the Debtors and a Governmental
                         Unit as to whether a particular law is a Liquidation Sale Law, and subject
                         to any provisions contained in the Interim Order or the Final Order related
                         to the Liquidation Sale Laws, then any party to that dispute may utilize the
                         provisions of subparagraphs (c) and (d) above by serving a notice to the
                         other party and proceeding thereunder in accordance with those
                         subparagraphs. Any determination with respect to whether a particular law
                         is a Liquidation Sale Law shall be made de novo.

          28.    Subject to paragraphs 22 and 23 above, each and every federal, state, or local

  agency, departmental unit, or Governmental Unit with regulatory authority over the Closing Sales,

  and all newspapers and other advertising media in which the Closing Sales are advertised shall

  consider this Interim Order as binding authority that no further approval, license, or permit of any

  Governmental Unit shall be required, nor shall the Debtors be required, to post any bond, to

  conduct the Sales.

                                                  14
  13172880 v2
                                                                                                A000161
                                                                                                     AB_0001162
Case 1:22-cv-00450-CFC
            Case 20-10553-CSS
                        DocumentDoc
                                 22-7
                                    52-1Filed
                                            Filed
                                              07/25/22
                                                  03/09/20
                                                         Page
                                                            Page
                                                              78 of16149
                                                                      of 24
                                                                         PageID #: 4559




          29.    Within three business days of this Interim Order, the Debtors shall serve copies of

  this Interim Order, and the Store Closing Procedures via e-mail, facsimile, or regular mail, on:

  (a) the Office of the U.S. Trustee for the District of Delaware; (b) the holders of the 30 largest

  unsecured claims against the Debtors (on a consolidated basis); (c) the United States Attorney’s

  Office for the District of Delaware; (d) the Internal Revenue Service; (e) the state attorneys general

  for all states in which the Debtors conduct business; (f) all parties who are known by the Debtors

  to assert liens against the Merchandise and the M&E ; (g) all state attorneys general in which the

  Merchandise and the M&E are located; (h) municipalities in which the Merchandise and the M&E

  are located; (i) all of the Debtors’ landlords at the locations of the Stores; (j) all applicable state

  and consumer protection agencies; and (k) any party that has requested notice pursuant to

  Bankruptcy Rule 2002. The Debtors submit that, in light of the nature of the relief requested, no

  other or further notice need be given.

  IV.     Effectiveness of the Consulting Agreement.

          30.    The Consulting Agreement is operative and effective on an interim basis. The

  Debtors are authorized to act and perform in accordance with the terms of the Consulting

  Agreement, including, without limitation, reimbursing all expenses to the Consultant as required

  by the Consulting Agreement without the need for any application of the Consultant or a further

  order of the Court. For avoidance of doubt, the Debtors are also authorized to fund the Expense

  Deposit in accordance with the terms of the Consulting Agreement.

          31.    The treatment of Pre-SCD Orders, including the Cancelled Back-Order

  Merchandise Credit, described in the Consulting Agreement is a sound exercise of the Debtors’

  business judgment, complies with applicable law, and is hereby approved, subject to entry of the

  Final Order.



                                                    15
  13172880 v2
                                                                                                 A000162
                                                                                                      AB_0001163
Case 1:22-cv-00450-CFC
            Case 20-10553-CSS
                        DocumentDoc
                                 22-7
                                    52-1Filed
                                            Filed
                                              07/25/22
                                                  03/09/20
                                                         Page
                                                            Page
                                                              79 of17149
                                                                      of 24
                                                                         PageID #: 4560




          32.      Subject to the restrictions set forth in this Interim Order and the Store Closing

  Procedures, the Debtors and the Consultant are hereby authorized to take any and all actions as

  may be necessary or desirable to implement the Consulting Agreement, the Store Closings, and

  the Closing Sales, and each of the transactions contemplated by the Consulting Agreement, and

  any actions taken by the Debtors and the Consultant necessary or desirable to implement the

  Consulting Agreement and the Closing Sales prior to the date hereof, are hereby approved and

  ratified. The failure to specifically include any particular provision of the Consulting Agreement

  in this Interim Order shall not diminish or impair the effectiveness of such provisions, it being the

  intent of this Court that the Consulting Agreement and all of its provisions, payments, and

  transactions, be and hereby are authorized and approved as and to the extent provided for in this

  Interim Order.

          33.      Notwithstanding anything to the contrary in the Consulting Agreement, the Debtors

  and their estates shall not indemnify the Consultant for any damages arising primarily out of any

  act or omission by the Consultant constituting fraud, gross negligence, or willful misconduct.

  V.      Debtors are Authorized to Retain Consultant as Special Asset Disposition Consultant
          Pursuant to the Consulting Agreement.

          34.      The This Court is satisfied that the Consultant represents and holds no interest

  adverse to the Debtors or their estates, and that the Consultant will not represent any other entity

  in connection with these cases and that its employment is necessary and would be in the best

  interests of the Debtors and the estates. Accordingly, pursuant to sections 327(a), 330 and 331 of

  Bankruptcy Code, the Debtors be, and hereby are, authorized to retain the Consultant as their

  special asset disposition advisors and consultants, to assist the Debtors in the marketing and sale

  process for the Assets in accordance with the Consulting Agreement; provided however, it is

  agreed and understood that no fees shall be payable to the Consultant in connection with Services


                                                   16
  13172880 v2
                                                                                                A000163
                                                                                                     AB_0001164
Case 1:22-cv-00450-CFC
            Case 20-10553-CSS
                        DocumentDoc
                                 22-7
                                    52-1Filed
                                            Filed
                                              07/25/22
                                                  03/09/20
                                                         Page
                                                            Page
                                                              80 of18149
                                                                      of 24
                                                                         PageID #: 4561




  rendered by it to the Debtors pursuant to the Consulting Agreement, and other than the right to

  reimbursement of Consultant Incurred Expenses, Consultant shall have to claim or right to

  payment from the Company; provided further however, Consultant shall not be required to file a

  fee application for reimbursement of the Consultant Incurred Expenses. Debtors shall not be

  required to comply with any state or local law requiring that the Debtors pay an employee

  substantially contemporaneously with his or her termination; provided, however, that the Debtors

  shall pay any accrued wages to terminated employees as expeditiously as possible

  VI.     Other Provisions.

          35.    The Consultant shall not be liable for any claims against the Debtors, and the

  Debtors shall not be liable for any claims against Consultant, in each case, other than as expressly

  provided for in the Consulting Agreement.

          36.    The Debtors shall not be required to comply with any state or local law requiring

  that the Debtors pay an employee substantially contemporaneously with his or her termination;

  provided, however, that the Debtors shall pay any accrued wages to terminated employees as

  expeditiously as possible.

          37.    Notwithstanding the relief granted in this Interim Order and any actions taken

  pursuant to such relief, nothing in this Interim Order shall be deemed: (a) an admission as to the

  validity, priority, or amount of any particular claim against a Debtor entity; (b) a waiver of the

  Debtors’ or any other party-in-interest’s right to dispute any particular claim on any grounds; (c) a

  promise or requirement to pay any particular claim; (d) an implication or admission that any

  particular claim is of a type specified or defined in this Interim Order or the Motion; (e) a request

  or authorization to assume any agreement, contract, or lease pursuant to section 365 of the

  Bankruptcy Code (other than the Consulting Agreement); (f) a waiver or limitation of the Debtors’

  or any other party-in-interest’s rights under the Bankruptcy Code or any other applicable law; or

                                                   17
  13172880 v2
                                                                                                A000164
                                                                                                     AB_0001165
Case 1:22-cv-00450-CFC
            Case 20-10553-CSS
                        DocumentDoc
                                 22-7
                                    52-1Filed
                                            Filed
                                              07/25/22
                                                  03/09/20
                                                         Page
                                                            Page
                                                              81 of19149
                                                                      of 24
                                                                         PageID #: 4562




  (g) a concession by the Debtors or any other party-in-interest that any liens (contractual, common

  law, statutory, or otherwise) satisfied pursuant to this Interim Order are valid and the Debtors and

  all other parties-in-interest expressly reserve their rights to contest the extent, validity, or

  perfection or to seek avoidance of all such liens. Any payment made pursuant to this Interim Order

  should not be construed as an admission as to the validity, priority, or amount of any particular

  claim or a waiver of the Debtors’ or any other party-in-interest’s rights to subsequently dispute

  such claim.

          38.    The contents of the Motion satisfy the requirements of Bankruptcy Rule 6003(b).

          39.    Notice of the Motion as provided therein shall be deemed good and sufficient notice

  of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

  by such notice.

          40.    Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Interim

  Order are immediately effective and enforceable upon its entry.

          41.    Cause exists to shorten the notice period set forth in Bankruptcy Rule 2002, to the

  extent possible.

          42.    The Debtors are authorized to take all actions necessary to effectuate the relief

  granted in this Interim Order in accordance with the Motion.

          43.    This Court retains exclusive jurisdiction with respect to all matters arising from or

  related to the implementation, interpretation, and enforcement of this Interim Order, including, but

  not limited to, (a) any claim or issue relating to any efforts by any party or person to prohibit,

  restrict or in any way limit banner and sign-walker advertising, including with respect to any

  allegations that such advertising is not being conducted in a safe, professional, and non-deceptive

  manner, (b) any claim of the Debtors, the landlords for protection from interference with the Store



                                                  18
  13172880 v2
                                                                                               A000165
                                                                                                    AB_0001166
Case 1:22-cv-00450-CFC
            Case 20-10553-CSS
                        DocumentDoc
                                 22-7
                                    52-1Filed
                                            Filed
                                              07/25/22
                                                  03/09/20
                                                         Page
                                                            Page
                                                              82 of20149
                                                                      of 24
                                                                         PageID #: 4563




  Closings or Closing Sales, (c) any other disputes related to the Store Closings or Closing Sales,

  and (d) protect the Debtors against any assertions of any liens, claims, encumbrances, and other

  interests. No such parties or person shall take any action against the Debtors, the landlords, the

  Store Closings, or the Closing Sales until this Court has resolved such dispute. This Court shall

  hear the request of such parties or persons with respect to any such disputes on an expedited basis,

  as may be appropriate under the circumstances.


   Dated: ____________, 2020
   Wilmington, Delaware                              UNITED STATES BANKRUPTCY JUDGE




                                                   19
  13172880 v2
                                                                                               A000166
                                                                                                    AB_0001167
Case 1:22-cv-00450-CFC
            Case 20-10553-CSS
                        DocumentDoc
                                 22-7
                                    52-1Filed
                                            Filed
                                              07/25/22
                                                  03/09/20
                                                         Page
                                                            Page
                                                              83 of21149
                                                                      of 24
                                                                         PageID #: 4564




                                   EXHIBIT 1




                                                                               A000167
                                                                                    AB_0001168
Case 1:22-cv-00450-CFC
            Case 20-10553-CSS
                        DocumentDoc
                                 22-7
                                    52-1Filed
                                            Filed
                                              07/25/22
                                                  03/09/20
                                                         Page
                                                            Page
                                                              84 of22149
                                                                      of 24
                                                                         PageID #: 4565




                                           Store Closing Procedures 1

         1.      The Sales shall be conducted so that the Stores in which Sales are to occur will
  remain open no longer than during the normal hours of operation or such hours as otherwise
  provided for in the respective leases for the Stores.

          2.     The Store Closing Sales shall be conducted in accordance with applicable state and
  local “Blue Laws,” where applicable, so that no Store Closing Sale shall be conducted on Sunday
  unless the Debtors had been operating such Stores on a Sunday prior to the commencement of the
  Store Closing Sales.

          3.      On “shopping center” property, the Consultant shall not distribute handbills,
  leaflets or other written materials to customers outside of any Stores’ premises, unless permitted
  by the lease or if distribution is customary in the “shopping center” in which such Stores is located;
  provided that the Consultant may solicit customers in the Stores themselves. On “shopping center”
  property, the Consultant shall not use any flashing lights or amplified sound to advertise the Store
  Closing Sales or solicit customers, except as permitted under the applicable lease or agreed to by
  the landlord.

          4.     At the conclusion of the Store Closing Sales, the Consultant shall, subject to the
  Consulting Agreement, vacate the Stores and the Distribution Centers in broom clean condition;
  provided that Consultant may abandon any M&E not sold in the Store Closing Sales at the
  conclusion of the Store Closing Sales, without cost or liability of any kind to the Consultant. The
  Debtors will have the option to remove the M&E at their own cost prior to the termination date.
  Any abandoned M&E left in a Stores after a lease is rejected shall be deemed abandoned to the
  landlord having a right to dispose of the same as the landlord chooses without any liability
  whatsoever on the part of the landlord to any party and without waiver of any damage claims
  against the Debtors. For the avoidance of doubt, as of the Sale Termination Date, the Consultant
  may abandon, in place and without further responsibility or liability of any kind, any M&E.

         5.      The Consultant and the Debtors may advertise each Store Closing Sale as a “store
  closing,” “sale on everything,” “everything must go,” or similar themed sale, and to the extent
  permitted in the Approval Orders, “going out of business”. The Consultant and the Debtors may
  also have “countdown to closing” signs prominently displayed in a manner consistent with these
  Store Closing Procedures. All signs, banners, ads and other advertising collateral, promotions,
  and campaigns will be approved by the Debtors in accordance with these Store Closing Procedures.

          6.      The Consultant shall be permitted to utilize sign walkers, display, hanging signs,
  and interior banners in connection with the Sales; provided that such sign walkers, display, hanging
  signs, and interior banners shall be professionally produced and hung in a professional manner.
  The Debtors and the Consultant shall not use neon or day-glo on its sign walkers, display, hanging
  signs, or interior banners. Furthermore, with respect to enclosed mall locations, no exterior signs


  1
            Capitalized terms used but not defined in these Store Closing Procedures have the meanings given to them
  in the Interim Order to which these Store Closing Procedures are attached as Exhibit 1 or the Motion to which the
  Interim Order is attached as Exhibit A, as applicable.




                                                                                                             A000168
                                                                                                                  AB_0001169
Case 1:22-cv-00450-CFC
            Case 20-10553-CSS
                        DocumentDoc
                                 22-7
                                    52-1Filed
                                            Filed
                                              07/25/22
                                                  03/09/20
                                                         Page
                                                            Page
                                                              85 of23149
                                                                      of 24
                                                                         PageID #: 4566




  or signs in common areas of a mall shall be used unless otherwise expressly permitted in these
  Store Closing Procedures. In addition, the Debtors and the Consultant shall be permitted to utilize
  exterior banners at (i) non-enclosed mall Stores and (ii) enclosed mall Stores to the extent the
  entrance to the applicable Stores does not require entry into the enclosed mall common area;
  provided, however, that such banners shall be located or hung so as to make clear that the Store
  Closing Sales are being conducted only at the affected Stores, and shall not be wider than the
  storefront of the Closing Stores. In addition, the Debtors and the Consultant shall be permitted to
  utilize sign walkers in a safe and professional manner and in accordance with the terms of the
  Order. Nothing contained in these Store Closing Procedures shall be construed to create or impose
  upon the Debtors or the Consultant any additional restrictions not contained in the applicable lease
  agreement.

          7.      The purchasers of any Merchandise sold during the Store Closing Sales shall be
  permitted to remove the Merchandise through the front of the Closing Stores, or through the back
  or alternative shipping areas at any time.

          8.      Conspicuous signs shall be posted in the cash register areas of each of the affected
  Stores to effect that “all sales are final.”

         9.      Except with respect to the hanging of exterior banners, the Consultant shall not
  make any alterations to the storefront or exterior walls of any Stores, except as authorized by the
  applicable lease.

         10.    The Consultant shall not make any alterations to interior or exterior Stores lighting,
  except as authorized by the applicable lease. No property of the landlord of a Stores shall be
  removed or sold during the Store Closing Sales. The hanging of exterior banners or in-store
  signage and banners shall not constitute an alteration to a Stores.

         11.     The Consultant shall keep Stores premises and surrounding areas clean and orderly
  consistent with present practices.

          12.     Subject to the provisions of the Consulting Agreement, the Consultant shall have
  the right to use and sell all M&E. The Consultant may advertise the sale of the M&E in a manner
  consistent with these guidelines. The purchasers of any M&E sold during the Store Closing Sales
  shall be permitted to remove the M&E either through the back or alternative shipping areas at any
  time, or through other areas after applicable business hours, provided, however that the foregoing
  shall not apply to de minimis M&E sales made whereby the item can be carried out of the Closing
  Stores in a shopping bag. For the avoidance of doubt, as of the Sale Termination Date, the
  Consultant and the Debtors may abandon, in place and without further responsibility, any M&E.

          13.     At the conclusion of the Store Closing Sales at each Stores, pending assumption or
  rejection of applicable leases, the landlords of the Closing Stores shall have reasonable access to
  the Closing Stores’ premises as set forth in the applicable leases. The Debtors, the Consultant, and
  their representatives and agents shall continue to have access to the Closing Stores as provided for
  in the Consulting Agreement.

         14.     The rights of landlords against the Debtors for any damages to a Stores shall be
  reserved in accordance with the provisions of the applicable lease.


                                                                                               A000169
                                                                                                    AB_0001170
Case 1:22-cv-00450-CFC
            Case 20-10553-CSS
                        DocumentDoc
                                 22-7
                                    52-1Filed
                                            Filed
                                              07/25/22
                                                  03/09/20
                                                         Page
                                                            Page
                                                              86 of24149
                                                                      of 24
                                                                         PageID #: 4567




         15.     If and to the extent that the landlord of any Stores affected hereby contends that the
  Debtors or the Consultant is in breach of or default under these Store Closing Procedures, such
  landlord shall email or deliver written notice by overnight delivery to the Debtors and the
  Consultant as follows:

                 If to the Debtors:

                 Art Van Furniture, LLC
                 6500 14 Mile Road
                 Warren, MI 48092
                 Attention: Michael Zambricki

                 with copies (which shall not constitute notice) to:

                 Benesch, Friedlander, Coplan & Aronoff LLP
                 222 Delaware Avenue, Suite 801
                 Wilmington, Delaware 19801
                 Attn: Gregory Werkheiser & Michael J. Barrie

                 -and-

                 Montgomery McCracken Walker & Rhoads LLP
                 437 Madison Avenue
                 New York, NY 10022
                 Attn. Maura I. Russell

         If the parties are unable to resolve the dispute, either the landlord or the Debtors shall have
         the right to schedule a hearing before the Court on no less than five (5) days’ written
         notice to the other party, served by email or overnight delivery.




                                                                                                A000170
                                                                                                     AB_0001171
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             87 of1149
                                                                    of 67
                                                                        PageID #: 4568




                                     EXHIBIT B

                                 Proposed Final Order




  13172872 v1
                                                                              A000171
                                                                                   AB_0001172
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             88 of2149
                                                                    of 67
                                                                        PageID #: 4569




                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                                       )
      In re:                                                           )   Chapter 11
                                                                       )
      ART VAN FURNITURE, LLC, et al.,1                                 )   Case No. 20-10553 (CSS)
                                                                       )
                                         Debtors.                      )   (Joint Administration Requested)
                                                                       )
                                                                       )   Re: Docket No.    _____

                               FINAL ORDER GRANTING DEBTORS’
                        EMERGENCY MOTION FOR ENTRY OF INTERIM AND
                    FINAL ORDERS (I) APPROVING PROCEDURES FOR STORE
                 CLOSING SALES, (II) AUTHORIZING CUSTOMARY BONUSES TO
               EMPLOYEES OF CLOSING STORES, (III) AUTHORIZING ASSUMPTION
                OF THE CONSULTING AGREEMENT UNDER §§ 363 AND 365 OF THE
                   BANKRUPTCY CODE, (IV) AUTHORIZING THE DEBTORS TO
                     RETAIN CERTAIN CONSULTANT ENTITIES AS SPECIAL ASSET
                DISPOSITION ADVISORS TO THE DEBTORS PURSUANT TO §327(A)
                  OF THE BANKRUPTCY CODE AND (V) GRANTING RELATED RELIEF


               Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

  (collectively, the “Debtors”) for entry of an order (this “Final Order”): (a) authorizing and

  approving the conduct of store closing or similar themed sales in accordance with the terms of the

  store closing procedures (the “Store Closing Procedures”) attached hereto as Exhibit 1, with such

  sales to be free and clear of all liens, claims and encumbrances; (b) authorizing the Debtors to

  conduct the Store Closings; (c) authorizing the Debtors to pay customary bonuses to employees of


  1
        The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
        number, include: Art Van Furniture, LLC (9205); Art Van Furniture of Canada, LLC (9491); AV Pure Sleep
        Franchising, LLC (8968); AVCE, LLC (2509); AVF Franchising, LLC (6325); AVF Holding Company, Inc.
        (0291); AVF Holdings I, LLC (2537); AVF Holdings II, LLC (7472); AVF Parent, LLC (3451); Levin Parent,
        LLC (8052); LF Trucking, Inc. (1484); and Sam Levin, Inc. (5198). The location of the Debtors’ service address
        in these chapter 11 cases is: 6500 East 14 Mile Road, Warren Michigan 48092.

  2
        Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.


                                                             2
  13172872 v1
                                                                                                                 A000172
                                                                                                                      AB_0001173
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             89 of3149
                                                                    of 67
                                                                        PageID #: 4570




  Closing Stores; (d) authorizing the Debtors to assume the Consulting Agreement; (e) authorizing

  the Debtors to retain the Consultant as special asset disposition advisor pursuant to Section 327(a)

  of the Bankruptcy Code; (f) scheduling a final hearing to consider approval of the Motion on a

  final basis; and (g) granting related relief, all as more fully set forth in the Motion; and upon the

  First Day Declaration; and this Court having jurisdiction over this matter pursuant to 28 U.S.C.

  §§ 157 and 1334 and the Amended Standing Order of Reference from the United States District

  Court for the District of Delaware, dated February 29, 2012; and this Court having found that this

  is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and that this Court may enter a final order

  consistent with Article III of the United States Constitution; and this Court having found that venue

  of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409;

  and this Court having found that the relief requested in the Motion is in the best interests of the

  Debtors’ estates, their creditors, and other parties in interest; and this Court having found that the

  Debtors’ notice of the Motion and opportunity for a hearing on the Motion were appropriate under

  the circumstances and no other notice need be provided; and this Court having reviewed the

  Motion and having heard the statements in support of the relief requested therein at a hearing

  before this Court (the “Hearing”); and this Court having determined that the legal and factual bases

  set forth in the Motion and at the Hearing establish just cause for the relief granted herein; and

  upon all of the proceedings had before this Court; and after due deliberation and sufficient cause

  appearing therefor, it is HEREBY FOUND AND DETERMINED THAT:3




  3
      Findings of fact shall be construed as conclusions of law and conclusions of law shall be construed as findings of
      fact where appropriate.


                                                           3
  13172872 v1
                                                                                                               A000173
                                                                                                                    AB_0001174
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             90 of4149
                                                                    of 67
                                                                        PageID #: 4571




          A.     The Debtors have advanced sound business reasons for seeking to implement the

  Store Closing Procedures and assume the Consulting Agreement, as set forth in the Motion and at

  the Hearing, and such relief is in the best interests of the Debtors and their estates.

          B.     The Store Closing Procedures are reasonable, and the conduct of the Closing Sales

  in accordance with the Store Closing Procedures will provide an efficient means for the Debtors

  to dispose of the Merchandise and the M&E and will maximize the returns on the Merchandise

  and the M&E.

          C.     The Consulting Agreement was negotiated, proposed, and entered into by the

  Debtors and the Consultant without collusion, in good faith, and from arm’s-length bargaining

  positions, and the operation and effectiveness of the Consulting Agreement on a final basis is a

  sound exercise of the Debtors’ business judgment.

          D.     The relief set forth herein is necessary to avoid immediate and irreparable harm to

  the Debtors and their estates and the Debtors have demonstrated good, sufficient, and sound

  business purposes and justifications for the relief approved herein.

          E.     The Store Closings and Closing Sales are in the best interest of the Debtors’ estates.

          F.     The entry of this Final Order is in the best interest of the Debtors and their estates,

  creditors, and interest holders and all other parties in interest herein; and now therefore it is

  HEREBY ORDERED THAT:

          1.     The Motion is granted on a final basis as provided herein.

          2.     The Debtors are authorized to take all actions necessary to effectuate the relief

  granted in this Final Order in accordance with the Motion.

          3.     The Debtors are authorized, but not directed, to make payments under the Store

  Closing Bonus Plan.



                                                     4
  13172872 v1
                                                                                                 A000174
                                                                                                      AB_0001175
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             91 of5149
                                                                    of 67
                                                                        PageID #: 4572




          4.     The Debtors and the Consultant are authorized to take all actions necessary to

  effectuate the relief granted in this Final Order in accordance with the Motion. The failure to

  specifically include any provision of the Consulting Agreement in this Final Order shall not

  diminish or impair the effectiveness of such provisions, it being the intent of the Court that the

  Consulting Agreement and all of its provisions, payments, and transactions be, and hereby are,

  authorized and approved as and to the extent provided in this Final Order.

          5.     To the extent of any conflict between this Final Order, the Consulting Agreement,

  and the Store Closing Procedures, the terms of this Final Order shall control.

          6.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of the Final

  Order are immediately effective and enforceable upon its entry.

  I.      Authority to Engage in Closing Sales and Conduct Store Closings.

          7.     The Debtors and the Consultant are authorized, on a final pursuant to

  sections 105(a) and 363(b)(1) of the Bankruptcy Code, to continue and conduct Closing Sales at

  the Closing Stores in accordance with this Final Order, the Store Closing Procedures, and the

  Consulting Agreement as may be modified by a Side Letter (as defined below) between the

  Debtors and the landlords at the closing locations.

          8.     The Store Closing Procedures are approved in their entirety on a final basis. The

  Store Closing Procedures shall be used for all permitted store closings in these chapter 11 cases,

  unless otherwise ordered.

          9.     The Debtors are authorized to discontinue operations at the Closing Stores in

  accordance with this Final Order, the Store Closing Procedures, and the Consulting Agreement.

          10.    All entities that are presently in possession of some or all of the Merchandise or

  M&E in which the Debtors hold an interest that are or may be subject to this Final Order hereby

  are directed to surrender possession of such Merchandise or M&E to the Debtors.

                                                   5
  13172872 v1
                                                                                             A000175
                                                                                                  AB_0001176
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             92 of6149
                                                                    of 67
                                                                        PageID #: 4573




          11.    Neither the Debtors nor any of their officers, employees, or agents shall be required

  to obtain the approval of any third party, including, without limitation, any Governmental Unit (as

  defined in Bankruptcy Code section 101(27)) or landlord, to conduct the Closing Sales and to take

  the related actions authorized herein.

  II.     Conduct of the Sales.

          12.    All media in which the Closing Sales may be advertised and all landlords are

  directed to accept this Final Order as binding authority so as to authorize the Debtors and the

  Consultant to conduct the Closing Sales and the sale of Merchandise, M&E, and Additional

  Consultant Goods, including, without limitation, to conduct and advertise the sale of the

  Merchandise, M&E, and Additional Consultant Goods in the manner contemplated by and in

  accordance with this Final Order, the Store Closing Procedures, and the Consulting Agreement.

          13.    The Debtors and the Consultant are hereby authorized to take such actions as may

  be necessary and appropriate to conduct the Store Closings without necessity of further order of

  this Court as provided in this Final Order, the Store Closing Procedures, and the Consulting

  Agreement, including, but not limited to, advertising the sale as a “store closing sale,” “sale on

  everything,” “everything must go,” or similar-themed sales through the posting of signs (including

  the use of exterior banners at non-enclosed mall closing locations, and at enclosed mall closing

  locations to the extent the applicable closing location entrance does not require entry into the

  enclosed mall common area), use of signwalkers, and street signage; provided, however, that only

  Debtor-approved terminology will be used at each Closing Store in connection with the Sales.

          14.    The Consultant is authorized to supplement the Merchandise in the Closing Stores

  with Additional Consultant Goods, provided that any such supplementing with Additional

  Consultant Goods must be of like kind and no lesser quality than goods sold in the Closing Stores

  prior to the Petition Date. Sales of Additional Consultant Goods shall be run through the Debtors’

                                                   6
  13172872 v1
                                                                                               A000176
                                                                                                    AB_0001177
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             93 of7149
                                                                    of 67
                                                                        PageID #: 4574




  cash register systems; provided, however, that the Consultant shall mark the Additional Consultant

  Goods using either a “dummy” SKU or department number or in such other manner so as to

  distinguish the sale of Additional Consultant Goods from the sale of Merchandise. The Consultant

  and Merchant shall cooperate to ensure that the Additional Consultant Goods are marked in such

  a way that a reasonable consumer could identify the Additional Consultant Goods from the

  Merchandise.

          15.    All transactions relating to the Additional Consultant Goods are, shall be construed

  as, and are acknowledged by the Debtors to be, a true consignment from Consultant to the Debtors

  under Article 9 of the Uniform Commercial Code in effect in the State of Delaware (the “UCC”)

  and not a consignment for security purposes. At all times and for all purposes, the Additional

  Consultant Goods and their proceeds shall be the exclusive property of the Consultant, and no

  other person or entity (including, without limitation, the Debtors, or any third person claiming a

  security interest in the Debtors’ property, including any of the Debtors’ secured lenders) shall have

  any claim against any of the Additional Consultant Goods or the proceeds thereof. The Additional

  Consultant Goods shall at all times remain subject to the exclusive control of the Consultant. The

  Debtors shall, at Consultant’s sole cost and expense, insure Additional Consultant Goods and, if

  required, promptly file any proofs of loss with regard thereto.

          16.    Consultant is hereby granted a first priority security interest in and lien upon (i) the

  Additional Consultant Goods and (ii) the Additional Consultant Goods proceeds, which security

  interest shall be deemed perfected on an final pursuant to this Final Order without the requirement

  of filing UCC financing statements or providing notifications to any prior secured parties (provided

  that Consultant is hereby authorized to deliver any notices and file any financing statements and

  amendments thereof under the applicable UCC identifying Consultant’s interest in the Additional



                                                    7
  13172872 v1
                                                                                                 A000177
                                                                                                      AB_0001178
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             94 of8149
                                                                    of 67
                                                                        PageID #: 4575




  Consultant Goods (and any proceeds from the sale thereof) as consigned goods thereunder and the

  Debtors as the consignee therefor, and Consultant’s security interest in such Additional Consultant

  Goods and Additional Consultant Goods proceeds). As part of each weekly reconciliation, the

  Debtors shall turnover all proceeds from the sale of Additional Consultant Goods to the Consultant,

  net of any fee payable to the Debtors pursuant to the Consulting Agreement.

          17.     Notwithstanding anything herein to the contrary, and in view of the importance of

  the use of sign-walkers, banners, and other advertising to the sale of the Merchandise, M&E, and

  Additional Consultant Goods, to the extent that, prior to the Final Hearing, disputes arise during

  the course of such sale regarding laws regulating the use of sign-walkers, banners, or other

  advertising and the Debtors are unable to resolve the matter consensually, any party may request

  an immediate telephonic hearing with this Court pursuant to these provisions. Such hearing will,

  to the extent practicable, be scheduled initially no later than the earlier of (a) the Final Hearing, or

  (b) within two (2) business days of such request. This scheduling shall not be deemed to preclude

  additional hearings for the presentation of evidence or arguments as necessary.

          18.     The sale of the Merchandise, M&E, and Additional Consultant Goods shall be

  conducted by the Debtors notwithstanding any restrictive provision of any lease, sublease,

  restrictive covenant, or other agreement relative to occupancy affecting or purporting to restrict

  the conduct of the Store Closings or the Closing Sales (including the sale of the Merchandise,

  M&E, and Additional Consultant Goods) and the rejection of leases, abandonment of assets, or

  “going dark” provisions, and such provisions shall not be enforceable in conjunction with the Sales

  or the Store Closings. Breach of any such provisions in these chapter 11 cases in conjunction with

  the Store Closings or the Closing Sales shall not constitute a default under a lease or provide a

  basis to terminate the lease; provided that the Store Closings and Closing Sales are conducted in



                                                     8
  13172872 v1
                                                                                                  A000178
                                                                                                       AB_0001179
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             95 of9149
                                                                    of 67
                                                                        PageID #: 4576




  accordance with the terms of this Final Order and the Store Closing Procedures. Subject to the

  approval of the Secured Lenders, the Debtors and landlords of the Closing Stores are authorized

  to enter into agreements (“Side Letters”) between themselves modifying the Store Closing

  Procedures without further order of the Court and such Side Letters shall be binding as among the

  Debtors and any such landlords. In the event of any conflict between the Store Closing Procedures

  and any Side Letter, the terms of such Side Letter shall control.

          19.     Except as expressly provided for herein or in the Store Closing Procedures, and

  except with respect to any Governmental Unit (as to which paragraphs and shall apply) no person

  or entity, including, but not limited to, any landlord, licensor, service provider, utility, or creditor,

  shall take any action to directly or indirectly prevent, interfere with, or otherwise hinder

  consummation of the Closing Sales or the sale of Merchandise, M&E, or Additional Consultant

  Goods, or the advertising and promotion (including the posting of signs and exterior banners or

  the use of signwalkers) of such sales, and all such parties and persons of every nature and

  description, including, but not limited to, any landlord, licensor, service provider, utility, and

  creditor and all those acting for or on behalf of such parties, are prohibited and enjoined from

  (a) interfering in any way with, obstructing, or otherwise impeding the conduct of the Closing

  Sales and/or Store Closings, and/or (b) instituting any action or proceeding in any court (other than

  this Court) or administrative body seeking an order or judgment against, among others, the

  Debtors, or the landlords at the Closing Stores that might in any way directly or indirectly obstruct

  or otherwise interfere with or adversely affect the conduct of the Closing Sales or other liquidation

  sales at the Closing Stores and/or seek to recover damages for breach(es) of covenants or

  provisions in any lease, sublease, license, or contract based upon any relief authorized herein.




                                                     9
  13172872 v1
                                                                                                   A000179
                                                                                                        AB_0001180
Case 1:22-cv-00450-CFC
            Case 20-10553-CSS
                        DocumentDoc
                                 22-7
                                    52-2Filed
                                            Filed
                                              07/25/22
                                                  03/09/20
                                                         Page
                                                            Page
                                                              96 of10149
                                                                      of 67
                                                                         PageID #: 4577




          20.    In accordance with and subject to the terms and conditions of the Consulting

  Agreement, the Consultant shall have the right to use the Closing Stores and all related Closing

  Store services, furniture, fixtures, equipment, and other assets of the Debtors for the purpose of

  conducting the Store Closings, free of any interference from any entity or person, subject to

  compliance with the Store Closing Procedures and this Order.

          21.    All sales of Merchandise, M&E and Additional Consultant Goods shall be “as is”

  and final. Returns related to the purchase of Store Assets shall not be accepted at stores that are

  not participating in the Store Closings. However, as to the Closing Stores, all state and federal

  laws relating to implied warranties for latent defects shall be complied with and are not superseded

  by the sale of said goods or the use of the terms “as is” or “final sales.”

          22.    The Consultant shall not be liable for sales taxes except with respect to the

  Additional Consultant Goods, and as expressly provided in the Consulting Agreement, and the

  payment of any and all sales taxes is the responsibility of the Debtors, subject to Consultant’s

  obligation to collect and remit the sales taxes attributable to the sale of Additional Consultant

  Goods. The Debtors are directed to remit all taxes arising from the Sales to the applicable

  Governmental Units as and when due; provided that in the case of a bona fide dispute the Debtors

  are only directed to pay such taxes upon the resolution of the dispute, if and to the extent that the

  dispute is decided in favor of the applicable Governmental Unit. For the avoidance of doubt, sales

  taxes collected and held in trust by the Debtors shall not be used to pay any creditor or any other

  party, other than the applicable Governmental Unit for which the sales taxes are collected. This

  Final Order does not enjoin, suspend, or restrain the assessment, levy, or collection of any tax

  under state law, and does not constitute a declaratory judgment with respect to any party’s liability

  for taxes under state law.



                                                    10
  13172872 v1
                                                                                                A000180
                                                                                                     AB_0001181
Case 1:22-cv-00450-CFC
            Case 20-10553-CSS
                        DocumentDoc
                                 22-7
                                    52-2Filed
                                            Filed
                                              07/25/22
                                                  03/09/20
                                                         Page
                                                            Page
                                                              97 of11149
                                                                      of 67
                                                                         PageID #: 4578




          23.    Pursuant to section 363(f) of the Bankruptcy Code, the Consultant, on behalf of the

  Debtors, is authorized to sell Store Assets—and all sales of Store Assets whether by the Consultant

  or the Debtors, shall be—free and clear of any and all of any liens, claims, encumbrances,

  assignments, preferences, debts, easements, charges, suits, licenses, options, rights-of-recovery,

  judgments, orders and decrees of any court or foreign or domestic governmental entity, taxes

  (including foreign, state, and local taxes), licenses, covenants, restrictions, indentures, instruments,

  leases, options, off-sets, claims for reimbursement, contribution, indemnity or exoneration,

  successor, product, environmental, tax, labor, ERISA, CERCLA, alter ego and other liabilities,

  causes of action, contract rights, and claims, to the fullest extent of the law, in each case, of any

  kind or nature (including, without limitation, all “claims” as defined in section 101(5) of the

  Bankruptcy Code), known or unknown, whether pre-petition or post-petition, secured or

  unsecured, choate or inchoate, filed or unfiled, scheduled or unscheduled, perfected or unperfected,

  liquidated or unliquidated, noticed or unnoticed, recorded or unrecorded, contingent or non-

  contingent, material or non-material, statutory or non-statutory, matured or unmatured, legal or

  equitable (collectively, “Encumbrances”)s; as provided for herein because in each case, one or

  more of the standards set forth in section 363(f)(1)–(5) has been satisfied; provided, however, that

  any such Encumbrances shall attach to the proceeds of the sale of the Merchandise and the M&E

  with the same validity, in the amount, with the same priority as, and to the same extent that any

  such Encumbrances have with respect to the Merchandise and the M&E, subject to any claims and

  defenses that any party may possess with respect thereto and subject to the Consultant’s and

  expenses (as provided in the Consulting Agreement).

          24.    To the extent that the Debtors propose to sell or abandon M&E that may contain

  personal and/or confidential information about the Debtors’ employees and/or customers



                                                    11
  13172872 v1
                                                                                                  A000181
                                                                                                       AB_0001182
Case 1:22-cv-00450-CFC
            Case 20-10553-CSS
                        DocumentDoc
                                 22-7
                                    52-2Filed
                                            Filed
                                              07/25/22
                                                  03/09/20
                                                         Page
                                                            Page
                                                              98 of12149
                                                                      of 67
                                                                         PageID #: 4579




  (the “Confidential Information”), the Debtors shall remove the Confidential Information from such

  items of M&E before such sale or abandonment.

          25.    The Debtors are authorized and empowered to transfer merchandise, M&E and

  Additional Consultant Goods among, and into, the Stores.

  III.    Dispute Resolution Procedures with Governmental Units.

          26.    Nothing in this Final Order, or the Store Closing Procedures, releases, nullifies, or

  enjoins the enforcement of any liability to a governmental unit under environmental laws or

  regulations (or any associated liabilities for penalties, damages, cost recovery, or injunctive relief)

  to which any entity would be subject as the owner, lessor, lessee, or operator of the property after

  the date of entry of this Final Order. Nothing contained in this Final Order, or the Store Closing

  Procedures shall in any way: (a) diminish the obligation of any entity to comply with

  environmental laws; or (b) diminish the obligations of the Debtors to comply with environmental

  laws consistent with its rights and obligations as debtor in possession under the Bankruptcy Code.

  The Store Closings and the Sales shall not be exempt from laws of general applicability, including,

  without limitation, public health and safety, criminal, tax, labor, employment, environmental,

  antitrust, fair competition, traffic, and consumer protection laws, including consumer laws

  regulating deceptive practices and false advertising (collectively, “General Laws”). Nothing in

  this Final Order, the Consulting Agreement, or the Store Closing Procedures, shall alter or affect

  obligations to comply with all applicable federal safety laws and regulations. Nothing in this Final

  Order shall be deemed to bar any Governmental Unit (as such term is defined in section 101(47)

  of the Bankruptcy Code) from enforcing General Laws, subject to the Debtors’ rights to assert in

  that forum or before this Court that any such laws are not in fact General Laws or that such

  enforcement is impermissible under the Bankruptcy Code or this Final Order. Notwithstanding

  any other provision in this Final Order, no party waives any rights to argue any position with

                                                    12
  13172872 v1
                                                                                                 A000182
                                                                                                      AB_0001183
Case 1:22-cv-00450-CFC
            Case 20-10553-CSS
                        DocumentDoc
                                 22-7
                                    52-2Filed
                                            Filed
                                              07/25/22
                                                  03/09/20
                                                         Page
                                                            Page
                                                              99 of13149
                                                                      of 67
                                                                         PageID #: 4580




  respect to whether the conduct was in compliance with this Final Order and/or any applicable law,

  or that enforcement of such applicable law is preempted by the Bankruptcy Code. Nothing in this

  Final Order shall be deemed to have made any rulings on any such issues.

          27.    To the extent that the sale of Merchandise, M&E, and Additional Consultant Goods

  is subject to any Liquidation Sale Laws, including any federal, state or local statute, ordinance, or

  rule, or licensing requirement directed at regulating “going out of business,” “store closing,”

  similar inventory liquidation sales, or bulk sale laws, laws restricting safe, professional and non-

  deceptive, customary advertising such as signs, banners, posting of signage, and use of sign-

  walkers solely in connection with the sale and including ordinances establishing license or permit

  requirements, waiting periods, time limits, or bulk sale restrictions that would otherwise apply

  solely to the sale of the merchandise, M&E, and Additional Consultant Goods, the Dispute

  Resolution Procedures in this section shall apply:

                 a.      Provided that the Closing Sales are conducted in accordance with the terms
                         of the Interim Order or the Final Order, as applicable, and the Store Closing
                         Procedures, and in light of the provisions in the laws of many Governmental
                         Units (as defined in the Bankruptcy Code) that exempt court-ordered sales
                         from their provisions, the Debtors will be presumed to be in compliance
                         with any Liquidation Sale Laws and are authorized to conduct the Closing
                         Sales in accordance with the terms of the Interim Order or the Final Order,
                         as applicable, and the Store Closing Procedures without the necessity of
                         further showing compliance with any such Liquidation Sale Laws.

                 b.      Within three business days after entry of the Interim Order, the Debtors will
                         serve by email, facsimile, or first-class mail, copies of the Interim Order,
                         the proposed Final Order and the Store Closing Procedures on the
                         following: (i) the landlords for the Stores; (ii) the Attorney General’s office
                         for each state in which the Closing Sales are being held; (iii) the county
                         consumer protection agency or similar agency for each county in which the
                         Closing Sales are being held; (iv) the division of consumer protection for
                         each state in which the Closing Sales are being held; (v) the chief legal
                         counsel for each local jurisdiction in which the Closing Sales are being held
                         (collectively, the “Dispute Notice Parties”).

                 c.      With respect to any additional Stores, within three business days after Court
                         authorization to close additional stores (each, an “Additional Closing Store

                                                   13
  13172872 v1
                                                                                                A000183
                                                                                                     AB_0001184
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             100 of
                                                                 14149
                                                                    of 67
                                                                        PageID #: 4581




                     List”), the Debtors will serve by email, facsimile, or first-class mail, copies
                     of the Interim Order or Final Order, as applicable, and the Store Closing
                     Procedures on the Dispute Notice Parties. To the extent that there is a
                     dispute arising from or relating to the Sales, the Interim Order, or the
                     proposed Final Order, as applicable, the Store Closing Procedures, which
                     dispute relates to any Liquidation Sale Laws (a “Reserved Dispute”), the
                     Court shall retain exclusive jurisdiction to resolve the Reserved Dispute.
                     Any time within ten days following entry of the Interim Order or service of
                     any Additional Closing Store List, as applicable, any Governmental Unit
                     may assert that a Reserved Dispute exists by sending a notice (the “Dispute
                     Notice”) explaining the nature of the dispute to: (i) counsel to the Debtors,
                     Benesch, Friedlander, Coplan & Aronoff LLP, 222 Delaware Avenue, Suite
                     201, Wilmington, Delaware 19801-1611, Attn: Michael J. Barrie and
                     Gregory W. Werkheiser; (ii) counsel to the Prepetition ABL Agent, Morgan
                     Lewis & Bockius LLP, (a) 101 Park Avenue, New York, New York 10178-
                     0060, Attn: Jennifer Feldsher, and (b) One Federal Street, Boston,
                     Massachusetts 02110, Attn: Marjorie Crider and Christopher L. Carter, and
                     Burr & Forman LLP, 1201 N. Market Street, Suite 1407, Wilmington,
                     Delaware 19801, Attn: J. Cory Falgowski; (iii) counsel to the Consultant,
                     Riemer & Braunstein LLP, Times Square Tower, Seven Times Square,
                     Suite 2506, New York, New York 10036; (iii) the United States Trustee’s
                     Office for the District of Delaware, 844 King Street, Suite 2207, Lockbox
                     35, Wilmington, Delaware 19801, Attn: Linda Richenderfer; (iv) counsel to
                     the Prepetition Term Loan Lenders, Greenberg Traurig, LLP, One
                     International Place, Suite 2000, Boston, MA 02110, Attn: Jeffrey M. Wolf.
                     If the Debtors and the Governmental Unit are unable to resolve the Reserved
                     Dispute within 15 days after service of the Dispute Notice, the
                     Governmental Unit may file a motion with the Court requesting that the
                     Bankruptcy Court resolve the Reserved Dispute (a “Dispute Resolution
                     Motion”).

                d.   In the event that a Dispute Resolution Motion is filed, nothing in the Interim
                     Order or the Final Order, as applicable, shall preclude the Debtors, a
                     landlord, or any other interested party from asserting (i) that the provisions
                     of any Liquidation Sale Laws are preempted by the Bankruptcy Code, or
                     (ii) that neither the terms of the Interim Order or the Final Order nor the
                     conduct of the Debtors pursuant to the Interim Order or the Final Order
                     violates such Liquidation Sale Laws. Filing a Dispute Resolution Motion
                     as set forth herein shall not be deemed to affect the finality of the Interim
                     Order or the Final Order or to limit or interfere with the Debtors’ ability to
                     conduct or to continue to conduct the Closing Sales pursuant to the Interim
                     Order or the Final Order, absent further order of the Court. Upon the entry
                     of the Interim Order or the Final Order, as applicable, the Court grants
                     authority for the Debtors to conduct the Closing Sales pursuant to the terms
                     of the Interim Order or the Final Order, as applicable, the Store Closing
                     Procedures and to take all actions reasonably related thereto or arising in
                     connection therewith. The Governmental Unit will be entitled to assert any

                                               14
  13172872 v1
                                                                                            A000184
                                                                                                 AB_0001185
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             101 of
                                                                 15149
                                                                    of 67
                                                                        PageID #: 4582




                         jurisdictional, procedural, or substantive arguments it wishes with respect
                         to the requirements of its Liquidation Sale Laws or the lack of any
                         preemption of such Liquidation Sale Laws by the Bankruptcy Code.
                         Nothing in the Interim Order or the Final Order will constitute a ruling with
                         respect to any issues to be raised in any Dispute Resolution Motion.

                 e.      If, at any time, a dispute arises between the Debtors and a Governmental
                         Unit as to whether a particular law is a Liquidation Sale Law, and subject
                         to any provisions contained in the Interim Order or the Final Order related
                         to the Liquidation Sale Laws, then any party to that dispute may utilize the
                         provisions of subparagraphs (c) and (d) above by serving a notice to the
                         other party and proceeding thereunder in accordance with those
                         subparagraphs. Any determination with respect to whether a particular law
                         is a Liquidation Sale Law shall be made de novo.

          28.    Subject to paragraphs and __ above, each and every federal, state, or local agency,

  departmental unit, or Governmental Unit with regulatory authority over the Closing Sales, and all

  newspapers and other advertising media in which the Closing Sales are advertised shall consider

  the Final Order as binding authority that no further approval, license, or permit of any

  Governmental Unit shall be required, nor shall the Debtors be required, to post any bond, to

  conduct the Sales.

          29.    Within three business days of the Final Order, the Debtors shall serve copies of the

  Final Order, and the Store Closing Procedures via e-mail, facsimile, or regular mail, on: (a) the

  Office of the U.S. Trustee for the District of Delaware; (b) the holders of the 30 largest unsecured

  claims against the Debtors (on a consolidated basis); (c) the United States Attorney’s Office for

  the District of Delaware; (d) the Internal Revenue Service; (e) the state attorneys general for all

  states in which the Debtors conduct business; (f) all parties who are known by the Debtors to assert

  liens against the Merchandise and the M&E ; (g) all state attorneys general in which the

  Merchandise and the M&E are located; (h) municipalities in which the Merchandise and the M&E

  are located; (i) all of the Debtors’ landlords at the locations of the Stores; (j) all applicable state

  and consumer protection agencies; and (k) any party that has requested notice pursuant to


                                                    15
  13172872 v1
                                                                                                 A000185
                                                                                                      AB_0001186
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             102 of
                                                                 16149
                                                                    of 67
                                                                        PageID #: 4583




  Bankruptcy Rule 2002. The Debtors submit that, in light of the nature of the relief requested, no

  other or further notice need be given.

  IV.     Effectiveness of the Consulting Agreement.

          30.    The Consulting Agreement is operative and effective on a final basis. The Debtors

  are authorized to act and perform in accordance with the terms of the Consulting Agreement,

  including, without limitation, reimbursing all expenses to the Consultant as required by the

  Consulting Agreement without the need for any application of the Consultant or a further order of

  the Court. For avoidance of doubt, the Debtors are also authorized to fund the Expense Deposit in

  accordance with the terms of the Consulting Agreement.

          31.    The treatment of Pre-SCD Orders, including the Cancelled Back-Order

  Merchandise Credit, described in the Consulting Agreement is a sound exercise of the Debtors’

  business judgment, complies with applicable law, and is hereby approved, subject to entry of the

  Final Order.

          32.    Subject to the restrictions set forth in this Final Order Order and the Store Closing

  Procedures, the Debtors and the Consultant are hereby authorized to take any and all actions as

  may be necessary or desirable to implement the Consulting Agreement, the Store Closings, and

  the Closing Sales, and each of the transactions contemplated by the Consulting Agreement, and

  any actions taken by the Debtors and the Consultant necessary or desirable to implement the

  Consulting Agreement and the Closing Sales prior to the date hereof, are hereby approved and

  ratified. The failure to specifically include any particular provision of the Consulting Agreement

  in this Final Order shall not diminish or impair the effectiveness of such provisions, it being the

  intent of this Court that the Consulting Agreement and all of its provisions, payments, and

  transactions, be and hereby are authorized and approved as and to the extent provided for in this

  Final Order.

                                                  16
  13172872 v1
                                                                                               A000186
                                                                                                    AB_0001187
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             103 of
                                                                 17149
                                                                    of 67
                                                                        PageID #: 4584




          33.    Notwithstanding anything to the contrary in the Consulting Agreement, the Debtors

  and their estates shall not indemnify the Consultant for any damages arising primarily out of any

  act or omission by the Consultant constituting fraud, gross negligence, or willful misconduct.

  V.      Debtors are Authorized to Retain Consultant as Special Asset Disposition Consultant
          Pursuant to the Consulting Agreement.

          34.    The This Court is satisfied that the Consultant represents and holds no interest

  adverse to the Debtors or their estates, and that the Consultant will not represent any other entity

  in connection with these cases and that its employment is necessary and would be in the best

  interests of the Debtors and the estates. Accordingly, pursuant to sections 327(a), 330 and 331 of

  Bankruptcy Code, the Debtors be, and hereby are, authorized to retain the Consultant as their

  special asset disposition advisors and consultants, to assist the Debtors in the marketing and sale

  process for the Assets in accordance with the Consulting Agreement; provided however, it is

  agreed and understood that no fees shall be payable to the Consultant in connection with Services

  rendered by it to the Debtors pursuant to the Consulting Agreement, and other than the right to

  reimbursement of Consultant Incurred Expenses, Consultant shall have to claim or right to

  payment from the Company; provided further however, Consultant shall not be required to file a

  fee application for reimbursement of the Consultant Incurred Expenses. Debtors shall not be

  required to comply with any state or local law requiring that the Debtors pay an employee

  substantially contemporaneously with his or her termination; provided, however, that the Debtors

  shall pay any accrued wages to terminated employees as expeditiously as possible

  VI.     Other Provisions.

          35.    The Consultant shall not be liable for any claims against the Debtors, and the

  Debtors shall not be liable for any claims against Consultant, in each case, other than as expressly

  provided for in the Consulting Agreement.


                                                  17
  13172872 v1
                                                                                               A000187
                                                                                                    AB_0001188
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             104 of
                                                                 18149
                                                                    of 67
                                                                        PageID #: 4585




          36.    The Debtors shall not be required to comply with any state or local law requiring

  that the Debtors pay an employee substantially contemporaneously with his or her termination;

  provided, however, that the Debtors shall pay any accrued wages to terminated employees as

  expeditiously as possible.

          37.    Notwithstanding the relief granted in this Final Order and any actions taken

  pursuant to such relief, nothing in this Final Order shall be deemed: (a) an admission as to the

  validity, priority, or amount of any particular claim against a Debtor entity; (b) a waiver of the

  Debtors’ or any other party-in-interest’s right to dispute any particular claim on any grounds; (c) a

  promise or requirement to pay any particular claim; (d) an implication or admission that any

  particular claim is of a type specified or defined in this Final Order or the Motion; (e) a request or

  authorization to assume any agreement, contract, or lease pursuant to section 365 of the

  Bankruptcy Code (other than the Consulting Agreement); (f) a waiver or limitation of the Debtors’

  or any other party-in-interest’s rights under the Bankruptcy Code or any other applicable law; or

  (g) a concession by the Debtors or any other party-in-interest that any liens (contractual, common

  law, statutory, or otherwise) satisfied pursuant to this Final Order are valid and the Debtors and all

  other parties-in-interest expressly reserve their rights to contest the extent, validity, or perfection

  or to seek avoidance of all such liens. Any payment made pursuant to this Final Order should not

  be construed as an admission as to the validity, priority, or amount of any particular claim or a

  waiver of the Debtors’ or any other party-in-interest’s rights to subsequently dispute such claim.

          38.    The contents of the Motion satisfy the requirements of Bankruptcy Rule 6003(b).

          39.    Notice of the Motion as provided therein shall be deemed good and sufficient notice

  of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

  by such notice.



                                                    18
  13172872 v1
                                                                                                 A000188
                                                                                                      AB_0001189
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             105 of
                                                                 19149
                                                                    of 67
                                                                        PageID #: 4586




          40.    Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Final

  Order are immediately effective and enforceable upon its entry.

          41.    Cause exists to shorten the notice period set forth in Bankruptcy Rule 2002, to the

  extent possible.

          42.    The Debtors are authorized to take all actions necessary to effectuate the relief

  granted in this Final Order in accordance with the Motion.

          43.    This Court retains exclusive jurisdiction with respect to all matters arising from or

  related to the implementation, interpretation, and enforcement of this Final Order, including, but

  not limited to, (a) any claim or issue relating to any efforts by any party or person to prohibit,

  restrict or in any way limit banner and sign-walker advertising, including with respect to any

  allegations that such advertising is not being conducted in a safe, professional, and non-deceptive

  manner, (b) any claim of the Debtors, the landlords for protection from interference with the Store

  Closings or Closing Sales, (c) any other disputes related to the Store Closings or Closing Sales,

  and (d) protect the Debtors against any assertions of any liens, claims, encumbrances, and other

  interests. No such parties or person shall take any action against the Debtors, the landlords, the

  Store Closings, or the Closing Sales until this Court has resolved such dispute. This Court shall

  hear the request of such parties or persons with respect to any such disputes on an expedited basis,

  as may be appropriate under the circumstances.


   Dated: ____________, 2020
   Wilmington, Delaware                              UNITED STATES BANKRUPTCY JUDGE




                                                   19
  13172872 v1
                                                                                               A000189
                                                                                                    AB_0001190
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             106 of
                                                                 20149
                                                                    of 67
                                                                        PageID #: 4587




                                   EXHIBIT 1




                                                                             A000190
                                                                                  AB_0001191
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             107 of
                                                                 21149
                                                                    of 67
                                                                        PageID #: 4588




                                           Store Closing Procedures 1

         1.      The Sales shall be conducted so that the Stores in which Sales are to occur will
  remain open no longer than during the normal hours of operation or such hours as otherwise
  provided for in the respective leases for the Stores.

          2.     The Store Closing Sales shall be conducted in accordance with applicable state and
  local “Blue Laws,” where applicable, so that no Store Closing Sale shall be conducted on Sunday
  unless the Debtors had been operating such Stores on a Sunday prior to the commencement of the
  Store Closing Sales.

          3.      On “shopping center” property, the Consultant shall not distribute handbills,
  leaflets or other written materials to customers outside of any Stores’ premises, unless permitted
  by the lease or if distribution is customary in the “shopping center” in which such Stores is located;
  provided that the Consultant may solicit customers in the Stores themselves. On “shopping center”
  property, the Consultant shall not use any flashing lights or amplified sound to advertise the Store
  Closing Sales or solicit customers, except as permitted under the applicable lease or agreed to by
  the landlord.

          4.     At the conclusion of the Store Closing Sales, the Consultant shall, subject to the
  Consulting Agreement, vacate the Stores and the Distribution Centers in broom clean condition;
  provided that Consultant may abandon any M&E not sold in the Store Closing Sales at the
  conclusion of the Store Closing Sales, without cost or liability of any kind to the Consultant. The
  Debtors will have the option to remove the M&E at their own cost prior to the termination date.
  Any abandoned M&E left in a Stores after a lease is rejected shall be deemed abandoned to the
  landlord having a right to dispose of the same as the landlord chooses without any liability
  whatsoever on the part of the landlord to any party and without waiver of any damage claims
  against the Debtors. For the avoidance of doubt, as of the Sale Termination Date, the Consultant
  may abandon, in place and without further responsibility or liability of any kind, any M&E.

         5.      The Consultant and the Debtors may advertise each Store Closing Sale as a “store
  closing,” “sale on everything,” “everything must go,” or similar themed sale, and to the extent
  permitted in the Approval Orders, “going out of business”. The Consultant and the Debtors may
  also have “countdown to closing” signs prominently displayed in a manner consistent with these
  Store Closing Procedures. All signs, banners, ads and other advertising collateral, promotions,
  and campaigns will be approved by the Debtors in accordance with these Store Closing Procedures.

          6.      The Consultant shall be permitted to utilize sign walkers, display, hanging signs,
  and interior banners in connection with the Sales; provided that such sign walkers, display, hanging
  signs, and interior banners shall be professionally produced and hung in a professional manner.
  The Debtors and the Consultant shall not use neon or day-glo on its sign walkers, display, hanging
  signs, or interior banners. Furthermore, with respect to enclosed mall locations, no exterior signs


  1
            Capitalized terms used but not defined in these Store Closing Procedures have the meanings given to them
  in the Interim Order to which these Store Closing Procedures are attached as Exhibit 1 or the Motion to which the
  Interim Order is attached as Exhibit A, as applicable.




                                                                                                             A000191
                                                                                                                  AB_0001192
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             108 of
                                                                 22149
                                                                    of 67
                                                                        PageID #: 4589




  or signs in common areas of a mall shall be used unless otherwise expressly permitted in these
  Store Closing Procedures. In addition, the Debtors and the Consultant shall be permitted to utilize
  exterior banners at (i) non-enclosed mall Stores and (ii) enclosed mall Stores to the extent the
  entrance to the applicable Stores does not require entry into the enclosed mall common area;
  provided, however, that such banners shall be located or hung so as to make clear that the Store
  Closing Sales are being conducted only at the affected Stores, and shall not be wider than the
  storefront of the Closing Stores. In addition, the Debtors and the Consultant shall be permitted to
  utilize sign walkers in a safe and professional manner and in accordance with the terms of the
  Order. Nothing contained in these Store Closing Procedures shall be construed to create or impose
  upon the Debtors or the Consultant any additional restrictions not contained in the applicable lease
  agreement.

          7.      The purchasers of any Merchandise sold during the Store Closing Sales shall be
  permitted to remove the Merchandise through the front of the Closing Stores, or through the back
  or alternative shipping areas at any time.

          8.      Conspicuous signs shall be posted in the cash register areas of each of the affected
  Stores to effect that “all sales are final.”

         9.      Except with respect to the hanging of exterior banners, the Consultant shall not
  make any alterations to the storefront or exterior walls of any Stores, except as authorized by the
  applicable lease.

         10.    The Consultant shall not make any alterations to interior or exterior Stores lighting,
  except as authorized by the applicable lease. No property of the landlord of a Stores shall be
  removed or sold during the Store Closing Sales. The hanging of exterior banners or in-store
  signage and banners shall not constitute an alteration to a Stores.

         11.     The Consultant shall keep Stores premises and surrounding areas clean and orderly
  consistent with present practices.

          12.     Subject to the provisions of the Consulting Agreement, the Consultant shall have
  the right to use and sell all M&E. The Consultant may advertise the sale of the M&E in a manner
  consistent with these guidelines. The purchasers of any M&E sold during the Store Closing Sales
  shall be permitted to remove the M&E either through the back or alternative shipping areas at any
  time, or through other areas after applicable business hours, provided, however that the foregoing
  shall not apply to de minimis M&E sales made whereby the item can be carried out of the Closing
  Stores in a shopping bag. For the avoidance of doubt, as of the Sale Termination Date, the
  Consultant and the Debtors may abandon, in place and without further responsibility, any M&E.

          13.     At the conclusion of the Store Closing Sales at each Stores, pending assumption or
  rejection of applicable leases, the landlords of the Closing Stores shall have reasonable access to
  the Closing Stores’ premises as set forth in the applicable leases. The Debtors, the Consultant, and
  their representatives and agents shall continue to have access to the Closing Stores as provided for
  in the Consulting Agreement.

         14.     The rights of landlords against the Debtors for any damages to a Stores shall be
  reserved in accordance with the provisions of the applicable lease.


                                                                                               A000192
                                                                                                    AB_0001193
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             109 of
                                                                 23149
                                                                    of 67
                                                                        PageID #: 4590




         15.     If and to the extent that the landlord of any Stores affected hereby contends that the
  Debtors or the Consultant is in breach of or default under these Store Closing Procedures, such
  landlord shall email or deliver written notice by overnight delivery to the Debtors and the
  Consultant as follows:

                 If to the Debtors:

                 Art Van Furniture, LLC
                 6500 14 Mile Road
                 Warren, MI 48092
                 Attention: Michael Zambricki

                 with copies (which shall not constitute notice) to:

                 Benesch, Friedlander, Coplan & Aronoff LLP
                 222 Delaware Avenue, Suite 801
                 Wilmington, Delaware 19801
                 Attn: Gregory Werkheiser & Michael J. Barrie

                 -and-

                 Montgomery McCracken Walker & Rhoads LLP
                 437 Madison Avenue
                 New York, NY 10022
                 Attn. Maura I. Russell

         If the parties are unable to resolve the dispute, either the landlord or the Debtors shall have
         the right to schedule a hearing before the Court on no less than five (5) days’ written
         notice to the other party, served by email or overnight delivery.




                                                                                                A000193
                                                                                                     AB_0001194
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             110 of
                                                                 24149
                                                                    of 67
                                                                        PageID #: 4591




                                   EXHIBIT 2




                                                                             A000194
                                                                                  AB_0001195
Art Van Furniture
                                                                                      Case 20-10553-CSS
                                                                         Case 1:22-cv-00450-CFC  DocumentDoc
                                                                                                          22-752-2
                                                                                                                FiledFiled 03/09/20
                                                                                                                      07/25/22   PagePage 25149
                                                                                                                                      111 of of 67
                                                                                                                                                 PageID #: 4592
Results ‐ Store Count Strategy by Location

        169 # Stores included in liquidation                                       Yes
          2 # stores closed prior to sale commencement                             No

Financial Information in ($000's)
                                                                     Location Information                                                                                                                                                                               Location Space Details
                                                            Original                  Include                     Direct                       Store   Company       Gross         Selling            Lease         Lease           Months          SLB                                                                         Master
  Store #                    Store Name                   Store Name              in Liquidation               Marketing Area                  Type    Affiliation   Sq. Ft.       Sq. Ft.        Beginning Date    Expire.        Remaining      Property                         Landlord                                     Lease                                          Address
          1   Bel Air, MD (1)                BEL AIR (#65)                              Yes        Baltimore                             Standard        WLF              74,400        62,000          5/15/2015    12/31/2025             70      No       CAMPUS HILLS MARYLAND ASSOCIATES, L.P. None                                         2400 E Churchville Rd, Bel Air, MD, 21015, USA
          2   Pasadena, MD (2)               PASADENA (#61)                             Yes        Baltimore                             Standard        WLF              61,646        54,000          5/15/2015     8/31/2025             66      No       ARUNDEL PROPERTY INVESTORS LP                     None                              8038 Ritchie Hwy, Pasadena, MD, 21122, USA
          3   Westminster, MD (3)            WESTMINSTER (#64)                          Yes        Baltimore                             Standard        WLF              40,550        38,000          5/15/2015     8/31/2021             18      No       WESTMINSTER GATEWAY, LLC                          None                              1030 Baltimore Blvd Suite 110, Westminster, MD, 21157, USA
          4   Towson, MD (4)                 TOWSON (#63)                               Yes        Baltimore                             Standard        WLF              54,000        46,000          5/15/2015     4/30/2038            218      Yes      STORE CAPITAL                                     Store Master Funding XII, LLC     1530 E Joppa Rd, Towson, MD, 21286, USA
          5   Catonsville, MD (5)            CATONSVILLE (#62)                          Yes        Baltimore                             Standard        WLF            115,300         40,000          5/15/2015     8/31/2025             66      No       JMB JOINT VENTURE                                 None                              6415 Baltimore National Pike, Catonsville, MD, 21228, USA
          6   Downers Grove, IL (6)          DOWNERS GROVE AVF & SSI (#199)             Yes        Chicago                               Flagship        AVF            100,000         92,428           8/1/2015     3/31/2037            205      Yes      STORE CAPITAL                                     STORE SPE AVF I 2017-1, LLC       1021 BUTTERFIELD RD, DOWNERS GROVE, IL, 60515, USA
          7   Merrillville, IN (7)           MERRILLVILLE AVF                           Yes        Chicago                               Standard        AVF              50,000        43,130          8/24/2013     2/28/2023             36      No       ACADIA MERRILLVILLE REALTY, L.P.                  None                              1600 E 80TH AVE, MERRILLVILLE, IN, 46410, USA
          8   Naperville, IL (8)             NAPERVILLE AVF                             Yes        Chicago                               Standard        AVF              62,000        52,753          6/18/2015     8/31/2025             66      No       BRIXMOR HERITAGE SQUARE, LLC                      None                              404 SOUTH ROUTE 59, NAPERVILLE, IL, 60540, USA
          9   Bedford Park, IL (9)           BEDFORD PK AVF                             Yes        Chicago                               Standard        AVF              84,505        71,590         10/26/2013     4/30/2024             50      No       SPIRIT SPE LOAN PORTFOLIO 2013-3, LLC             None                              7200 S CICERO AVE, BEDFORD PARK, IL, 60638, USA
         10   Elston, IL (10)                ELSTON AVE AVF                             Yes        Chicago                               Standard        AVF              48,000        40,660         10/26/2013     4/30/2024             50      No       Farbman Group                                     None                              2606 ELSTON AVE, CHICAGO, IL, 60647, USA
         11   Batavia, IL (11)               BATAVIA AVF                                Yes        Chicago                               Standard        AVF              42,500        37,055          9/14/2013     1/31/2024             47      No       PARAGON BATAVIA, LLC                              None                              165 N RANDALL RD, BATAVIA, IL, 60510, USA
         12   Orland Park, IL (12)           ORLAND PARK AVF                            Yes        Chicago                               Standard        AVF              65,523        53,329          7/13/2013     5/31/2024             51      No       55th & S. Kedzie, LLC                             None                              15080 S LA GRANGE RD, ORLAND PARK, IL, 60462, USA
         13   Algonquin, IL (13)             ALGONQUIN AVF                              Yes        Chicago                               Standard        AVF              48,397        41,272          3/31/2016     7/31/2025             65      No       c/o Mid America Asset Management, Inc.            None                              1500 S RANDALL ROAD, ALGONQUIN, IL, 60102, USA
         14   Kildeer, IL (14)               KILDEER AVF                                Yes        Chicago                               Standard        AVF              40,628        34,534          10/4/2017     9/30/2027             91      No       Kildeer Village Square, LLC.                      None                              20393 N RAND RD, KILDEER, IL, 60074, USA
         15   Glendale Heights, IL (15)      GLENDALE HEIGHTS AVF                       Yes        Chicago                               Standard        AVF              60,820        37,044          2/26/2016     3/31/2026             73      No       125 W. Army Trail Road LLC                        None                              125 ARMY TRAIL ROAD, GLENDALE HGTS, IL, 60139, USA
         16   Deerfield, IL (16)             DEERFIELD AVF                              Yes        Chicago                               Standard        AVF              41,966        35,671         12/13/2017     2/29/2028             96      No       Gateway Fairview, Inc.                            None                              120 S. WAUKEGAN, DEERFIELD, IL, 60015, USA
         17   Schaumburg, IL (17)            SCHAUMBURG AVF& SSI (#303)                 Yes        Chicago                               Flagship        AVF              71,400        61,990         10/29/2016     3/31/2037            205      Yes      STORE CAPITAL                                     Store Master Funding XII, LLC     1293 E HIGGINS RD, SCHAUMBURG, IL, 60173, USA
         18   Joliet, IL (18)                JOLIET PS                                  Yes        Chicago                               Sleep           APS               3,116          2,884        12/26/2017    12/31/2027             94      No       GW Fidelity PH, LLC                               None                              2901 PLAINFIELD, JOLIET, IL, 60435, USA
         19   Burbank, IL (19)               BURBANK PS                                 Yes        Chicago                               Sleep           APS               3,994          3,476         3/21/2015     3/31/2025             61      No       WM 73 RE, LLC                                     None                              7712 CICERO AVENUE, BURBANK, IL, 60459, USA
         20   Woodridge, IL (20)             WOODRIDGE AVF                              Yes        Chicago                               Standard        AVF              68,400        59,687          3/27/2014    10/31/2037            212      Yes      STORE CAPITAL                                     STORE SPE AVF II 2017-2, LLC      900 E BOUGHTON RD, WOODRIDGE, IL, 60517, USA
         21   Gurnee, IL (21)                GURNEE AVF                                 Yes        Chicago                               Standard        AVF              34,000        28,900          6/26/2018    12/31/2032            154      No       3503 RP Gurnee, L.L.C.                            None                              6911 W. GRAND AVE, GURNEE, IL, 60031, USA
         22   Plainfield, IL (22)            PLAINFIELD PS                              Yes        Chicago                               Sleep           APS               3,600          3,290         2/11/2017     2/28/2027             84      No       NATIONAL SHOPPING PLAZAS, INC.                    None                              13511 S ROUTE 59, PLAINFIELD, IL, 60544, USA
         23   Willowbrook, IL (23)           WILLOWBROOK PS                             Yes        Chicago                               Sleep           APS               3,834          3,400         12/3/2016     1/31/2027             83      No       NATIONAL SHOPPING PLAZAS, INC.                    None                              6938 KINGERY HIGHWAY, WILLOWBROOK, IL, 60527, USA
         24   Chicago, IL (24)               ASHLAND PS                                 Yes        Chicago                               Sleep           APS               3,000          2,600         9/10/2016     9/30/2026             79      No       NATIONAL SHOPPING PLAZAS, INC.                    None                              2911 N. ASHLAND AVENUE, CHICAGO, IL, 60657, USA
         25   Bloomingdale, IL (25)          BLOOMINGDALE PS                            Yes        Chicago                               Sleep           APS               4,798          4,370         5/26/2017     4/30/2027             86      No       Bloomingdale Square, LP                           None                              398 W ARMY TRAIL RD #102, BLOOMINGDALE, IL, 60108, USA
         26   Harwood Heights, IL (26)       HARWOOD HEIGHTS AVF                        Yes        Chicago                               Standard        AVF              60,000        51,000         11/15/2017    12/31/2038            226      No       DBD AVF                                           None                              7304 WEST LAWRENCE AVE, HARWOOD HEIGHTS, IL, 60706, U
         27   Avon, OH (27)                  AVON (#45, 46 CC)                          Yes        Cleveland                             Standard         LVF             77,000        72,380           7/1/2011    11/30/2037            213      Yes      VEREIT REAL ESTATE LP                             Vereit                            1801 NAGEL ROAD, AVON, OH, 44011, USA
         28   North Canton, OH (28)          CANTON (#14, 25, 26 CC)                    Yes        Cleveland                             Standard         LVF             65,765        60,199           3/1/2008    11/30/2037            213      Yes      VEREIT REAL ESTATE LP                             Vereit                            6229 PROMLER AVENUE NW, NORTH CANTON, OH, 44720, USA
         29   Akron, OH (29)                 AKRON (#23, 24 CC)                         Yes        Cleveland                             Standard         LVF             69,422        65,257          10/1/2005     9/30/2020              7      No       TABANI AKRON, LP                                  None                              3742 BROOKWALL DRIVE, AKRON, OH, 44333, USA
         30   Middleburg Heights, OH (30)    MIDDLEBURG (#11, 31 CC)                    Yes        Cleveland                             Standard         LVF             50,000        45,172           7/1/1993    11/30/2037            213      Yes      VEREIT REAL ESTATE LP                             Vereit                            16960 SPRAGUE ROAD, MIDDLEBURG HEIGHTS, OH, 44130, US
         31   Mentor, OH (31)                MENTOR (#9, 27, 28 CC)                     Yes        Cleveland                             Standard         LVF             75,600        70,712           7/1/2009    11/30/2037            213      Yes      VEREIT REAL ESTATE LP                             Vereit                            7799 MENTOR AVE, MENTOR, OH, 44060, USA
         32   Oakwood Village, OH (32)       OAKWOOD VILLAGE (#18, 19 CC)               Yes        Cleveland                             Standard         LVF             89,723        67,723           8/1/2002    11/30/2027             93      No       FIRST INERNATIONAL HAWTHORNE LP                   None                              23100 BROADWAY AVE, OAKWOOD VILLAGE, OH, 44146, USA
         33   North Olmsted, OH (33)         NORTH OLMSTED (#12, 34 CC)                 Yes        Cleveland                             Standard         LVF             46,000        41,270           8/1/1996     1/31/2027             83      No       GLITZ AND ASSOCIATES INC                          None                              23250 LORAIN ROAD, NORTH OLMSTED, OH, 44070, USA
         34   Strongsville, OH (34)          STRONGSVILLE (#74)                         Yes        Cleveland                             Sleep             LM              5,000          4,400         11/5/2015    10/31/2025             68      No       ECHO STRONGSVILLE LLC                             None                              16105 PEARL ROAD, STRONGSVILLE, OH, 44136, USA
         35   Mayfield Heights, OH (35)      MAYFIELD (#65)                             Yes        Cleveland                             Sleep             LM              4,620          4,120          5/1/2012            n/a            n/a     No       JACK H SCHWARTS, TRUSTEE OF THE JACK H None                                         6061 Mayfield Rd, Mayfield Heights, OH, 44124, USA
         36   Stow, OH (36)                  STOW (#68)                                 Yes        Cleveland                             Sleep             LM              4,160          3,660        10/25/2013     1/31/2024             47      No       DEVILLE DEVELOPMENTS LLC                          None                              1061 GRAHAM RD, STOW, OH, 44224, USA
         37   Medina, OH (37)                MEDINA (#76)                               Yes        Cleveland                             Sleep             LM              4,500          4,000         8/25/2016     9/30/2021             19      No       GOWE LEASING LIMITED                              None                              3823 PEARL RD, MEDINA, OH, 44256, USA
         38   Sandusky, OH (38)              SANDUSKY (#73)                             Yes        Cleveland                             Sleep             LM              5,400          4,900        11/14/2014     2/28/2025             60      No       PLI II LTD                                        None                              4917 MILAN RD PLAZA, SANDUSKY, OH, 44870, USA
         39   Elyria, OH (39)                ELYRIA (#72)                               Yes        Cleveland                             Sleep             LM              6,400          5,800         6/19/2015     6/30/2026             76      No       ELYRIA-CHESTNUT, LLC / NICKLEPLATE REALTYNone                                       510 CHESTNUT COMMONS DR, ELYRIA, OH, 44035, USA
         40   Solon, OH (40)                 SOLON (#67)                                Yes        Cleveland                             Sleep             LM              3,788          3,288         2/22/2013     5/31/2023             39      No       L & y PROPERTIES - SOLON, LLC                     None                              6130 KRUSE DRIVE, SOLON, OH, 44139, USA
         41   Canton, OH (41)                MASSILLON (#71)                            Yes        Cleveland                             Sleep             LM              5,650          5,150         6/27/2014    11/30/2024             57      No       PERRY TOWN CENTER LLC                             None                              5119 WEST TUSCARAWAS ST, CANTON, OH, 44708, USA
         42   Polaris, OH (42)               POLARIS AVF                                Yes        Columbus                              Flagship        AVF              70,000        59,500          3/16/2019    10/31/2037            212      Yes      STORE CAPITAL                                     Other                             1551 GEMINI PLACE, COLUMBUS, OH, 43240, USA
         43   Novi, MI (43)                  NOVI AVF                                   Yes        Detroit                               Flagship        AVF            102,520         88,958           1/1/1985     2/28/2037            204      Yes      BROADSTONE                                        BROADSTONE AVF MICHIGAN, LLC      27775 NOVI RD, NOVI, MI, 48377, USA
         44   Warren, MI (44)                TECH PLAZA AVF                             Yes        Detroit                               Flagship        AVF            109,980         87,859         11/26/1982     2/28/2037            204      Yes      LCN PARTNERS                                      LCN AVF WARREN (MI) LLC           6500 E 14 MILE RD, WARREN, MI, 48092, USA
         45   Shelby Township, MI (45)       LAKESIDE AVF                               Yes        Detroit                               Flagship        AVF              68,104        72,336          8/14/1992     3/31/2037            205      Yes      STORE CAPITAL                                     Store Master Funding XII, LLC     14055 HALL RD, SHELBY TOWNSHIP, MI, 48315, USA
         46   Canton, MI (46)                CANTON AVF                                 Yes        Detroit                               Flagship        AVF              69,929        58,740           1/3/2018    12/31/2038            226      Yes      Agree Limited Partnership                         None                              41661 FORD ROAD, CANTON, MI, 48187, USA
         47   Taylor, MI (47)                TAYLOR AVF                                 Yes        Detroit                               Flagship        AVF              91,720        79,294           3/6/1978    10/31/2037            212      Yes      STORE CAPITAL                                     STORE SPE AVF II 2017-2, LLC      22035 EUREKA RD, TAYLOR, MI, 48180, USA
         48   Ann Arbor, MI (48)             ANN ARBOR AVF                              Yes        Detroit                               Flagship        AVF              70,000        60,912           7/2/1993     2/28/2037            204      Yes      STONEBRIAR                                        SCF RC Funding III, LLC           425 E EISENHOWER PKWY, ANN ARBOR, MI, 48108, USA
         49   Southfield, MI (49)            SOUTHFIELD AVF                             Yes        Detroit                               Standard        AVF              64,584        52,094          11/1/2000     7/31/2023             41      No       GREENFIELD PLAZA, INC.                            None                              22555 GREENFIELD RD, SOUTHFIELD, MI, 48075, USA
         50   Royal Oak, MI (50)             WOODWARD AVF & SSI (#174)                  Yes        Detroit                               Standard        AVF              56,520        54,943         11/14/1997    10/31/2037            212      Yes      STORE CAPITAL                                     STORE SPE AVF II 2017-2, LLC      32301 WOODWARD AVE, ROYAL OAK, MI, 48073, USA
         51   Clinton Twp, MI (51)           CLINTON AVF                                Yes        Detroit                               Flagship        AVF              69,720        60,128           1/1/1988     2/28/2037            204      Yes      BROADSTONE                                        BROADSTONE AVF MICHIGAN, LLC      33801 S GRATIOT AVE, CLINTON TWP, MI, 48035, USA
         52   Chesterfield, MI (52)          CHESTERFIELD AVF                           Yes        Detroit                               Standard        AVF              73,152        58,029         12/26/2003     2/28/2037            204      Yes      BROADSTONE                                        BROADSTONE AVF MICHIGAN, LLC      50400 GRATIOT AVE, CHESTERFIELD, MI, 48051, USA
         53   Howell, MI (53)                HOWELL AVF                                 Yes        Detroit                               Standard        AVF              51,075        45,721          11/1/1997     3/31/2037            205      Yes      STORE CAPITAL                                     Store Master Funding XII, LLC     4101 E GRAND RIVER AVE, HOWELL, MI, 48843, USA
         54   Waterford, MI (54)             DRAYTON PLAINS AVF                         Yes        Detroit                               Standard        AVF              53,188        57,435          6/30/1971     3/31/2037            205      Yes      STORE CAPITAL                                     STORE SPE AVF I 2017-1, LLC       5053 DIXIE HWY, WATERFORD, MI, 48329, USA
         55   Dearborn, MI (55)              DEARBORN AVF                               Yes        Detroit                               Standard        AVF              57,633        58,164          7/11/1997     2/28/2037            204      Yes      LCN PARTNERS                                      LCN CAPITAL PARTNERS, LLC         15701 MARKET DR, DEARBORN, MI, 48126, USA
         56   Auburn Hills, MI (56)          GREAT LAKES AVF                            Yes        Detroit                               Standard        AVF              43,319        37,296           1/1/2011     1/31/2021             11      No       Taubman Auburn Hills Associates Limited Partnersh None                              4612 BALDWIN RD, AUBURN HILLS, MI, 48326, USA
         57   Port Huron, MI (57)            PORT HURON AVF                             Yes        Detroit                               Standard        AVF              74,800        59,123          9/20/2002     3/31/2037            205      Yes      STORE CAPITAL                                     STORE SPE AVF I 2017-1, LLC       1234 32ND ST, PORT HURON, MI, 48060, USA
         58   Rochester Hills, MI (58)       ROCHESTER AVF                              Yes        Detroit                               Standard        AVF              48,621        41,328          5/16/2019    11/30/2033            165      No       Rochester KM Partners, LLC                        None                              1032 SOUTH ROCHESTER ROAD, ROCHESTER, MI, 48307, USA
         59   Livonia, MI (59)               7 MILE AVF                                 Yes        Detroit                               Standard        AVF              61,752        53,795           1/1/1985     3/31/2037            205      Yes      STORE CAPITAL                                     Store Master Funding XII, LLC     29905 7 MILE RD, LIVONIA, MI, 48152, USA
         60   Warren, MI (60)                SCHOENHERR AVF                             Yes        Detroit                               Standard        AVF              38,795        41,890          1/19/1972     3/31/2037            205      Yes      STORE CAPITAL                                     STORE SPE AVF I 2017-1, LLC       13855 E 8 MILE RD, WARREN, MI, 48089, USA
         61   Westland, MI (61)              WESTLAND AVF                               Yes        Detroit                               Standard        AVF              79,773        70,723          4/14/1987     2/28/2037            204      Yes      STONEBRIAR                                        SCF RC Funding III, LLC           8300 N WAYNE RD, WESTLAND, MI, 48185, USA
         62   Ann Arbor, MI (62)             ANN ARBOR W PS                             Yes        Detroit                               Sleep           APS               4,600          4,079          9/1/2011     8/31/2021             18      No       BRIXMOR Holdings 1 SPE, LLC                       None                              2570 JACKSON AVE, ANN ARBOR, MI, 48103, USA
         63   Rochester, MI (63)             ROCHESTER PS                               Yes        Detroit                               Sleep           APS               5,000          4,474          6/1/2010     7/31/2020              5      No       McKnight South East, LP c/o McKnight Property ManNone                               1856 S ROCHESTER RD, ROCHESTER, MI, 48307, USA
         64   Grosse Pointe Woods, MI (64)   GROSSE POINTE SOUTH PS                     Yes        Detroit                               Sleep           APS               3,500          2,688          3/1/2018     2/29/2028             96      No       Ryder Investments                                 None                              19387 MACK AVE, GROSSE POINTE, MI, 48236, USA
         65   Warren, MI (65)                WARREN E PS                                Yes        Detroit                               Sleep           APS               5,072          4,507         5/16/2011     6/30/2022             28      No       WARREN VILLAGE, LLC                               None                              6400 14 MILE RD, WARREN, MI, 48092, USA
         66   Sterling Hgts, MI (66)         STERLING HTS PS                            Yes        Detroit                               Sleep           APS               4,014          3,672          2/9/2013     2/28/2023             36      No       EASTLAKE COMMONS ASSOCIATES, LLC                  None                              44975 HAYES RD, STERLING HGTS, MI, 48313, USA
         67   Washington, MI (67)            WASHINGTON PS                              Yes        Detroit                               Sleep           APS               4,000          3,425         5/16/2011    10/31/2021             20      No       AF Jonna Development & Management Company, L None                                   7887 26 MILE ROAD, WASHINGTON, MI, 48094, USA
         68   Southgate, MI (68)             SOUTHGATE PS                               Yes        Detroit                               Sleep           APS               5,117          4,768         1/16/2016     3/31/2021             13      No       BRANDON ASSOCIATES SOUTHGATE L.L.C.               None                              15060 DIX TOLEDO RD, SOUTHGATE, MI, 48195, USA
         69   Canton, MI (69)                CANTON PS                                  Yes        Detroit                               Sleep           APS               4,600          4,280          7/1/2009     6/30/2024             52      No       Ford Road Investments, LLC                        None                              41913 FORD RD, CANTON, MI, 48187, USA
         70   Monroe, MI (70)                MONROE PS                                  Yes        Detroit                               Sleep           APS               4,000          3,593         7/30/2016     7/31/2026             77      No       Keystone Commercial                               None                              1570 NORTH TELEGRAPH ROAD, MONROE, MI, 48162, USA
         71   Troy, MI (71)                  TROY N PS                                  Yes        Detroit                               Sleep           APS               4,500          4,059         5/16/2011     7/31/2021             17      No       Universal Mall Properties LLC                     None                              1735 BIG BEAVER RD, TROY, MI, 48083, USA
         72   West Bloomfield, MI (72)       W BLOOMFIELD PS                            Yes        Detroit                               Sleep           APS               4,000          3,655         10/1/2013     2/29/2024             48      No       MAPLE ORCHARD ASSOCIATES, LLC                     None                              6470 ORCHARD LAKE ROAD, WEST BLOOMFIELD, MI, 48322, US
         73   Chesterfield, MI (73)          CHESTERFIELD PS                            Yes        Detroit                               Sleep           APS               4,000          3,572        11/18/2017    11/30/2027             93      No       CHESTERFIELD COMMONS ASOCIATES, LLC               None                              50938 GRATIOT AVE, CHESTERFIELD, MI, 48051, USA
         74   Woodhaven, MI (74)             WOODHAVEN PS                               Yes        Detroit                               Sleep           APS               3,966          3,565        10/17/2015    10/31/2025             68      No       THE ALLENWEST GROUP, LLC                          None                              19410 WEST ROAD, WOODHAVEN, MI, 48183, USA
         75   Brighton, MI (75)              BRIGHTON E PS                              Yes        Detroit                               Sleep           APS               4,248          3,218         5/16/2011     9/30/2022             31      No       BRIGHTON GATE COMMONS, LLC                        None                              9990 E GRAND RIVER AVE, BRIGHTON, MI, 48116, USA
         76   Bloomfield Twp, MI (76)        BLOOMFIELD TWP PS                          Yes        Detroit                               Sleep           APS               3,602          3,139         5/20/2017     7/31/2027             89      No       BP OF WHITE LAKE, INC.                            None                              6450 TELEGRAPH ROAD, BLOOMFIELD TWP, MI, 48301, USA
         77   New Hudson, MI (77)            NEW HUDSON PS                              Yes        Detroit                               Sleep           APS               4,106          3,758         4/10/2012    10/31/2022             32      No       Milford Road Plaza, LLC                           None                              30821 MILFORD RD, NEW HUDSON, MI, 48165, USA
         78   Lapeer, MI (78)                LAPEER PS                                  Yes        Detroit                               Sleep           APS               4,500          3,864         10/1/2016     1/31/2027             83      No       JKL REAL ESTATE CO.                               None                              806 S MAIN STREET, LAPEER, MI, 48446, USA
         79   Royal Oak, MI (79)             ROYAL OAK PS                               Yes        Detroit                               Sleep           APS               5,950          4,956         5/16/2011     6/30/2024             52      No       4400 North Woodward, LLC                          None                              32500 WOODWARD AVE, ROYAL OAK, MI, 48073, USA
         80   White Lake, MI (80)            WHITE LAKE PS                              Yes        Detroit                               Sleep           APS               3,680          2,995         5/16/2011     3/31/2021             13      No       CLOSED                                                                            0 5951 HIGHLAND RD, WHITE LAKE, MI, 48383, USA
         81   Troy, MI (81)                  TROY S PS                                  Yes        Detroit                               Sleep           APS               4,675          3,464         5/16/2011     1/31/2022             23      No       URBAN CAL OAKLAND PLAZA, LLC                      None                              272 JOHN R, TROY, MI, 48083, USA
         82   Waterford, MI (82)             WATERFORD PS                               Yes        Detroit                               Sleep           APS               6,008          5,060         5/16/2011     3/31/2022             25      No       INVESTCO OF MICHIGAN LLC                          None                              4977 DIXIE HWY, WATERFORD, MI, 48329, USA
         83   Novi, MI (83)                  NOVI PS                                    No         Detroit                               Sleep           APS               2,600          2,073         5/16/2011     1/31/2020             n/a     No       RAMCO WEST OAKS II LLC                            None                              43420 W OAKS DR, NOVI, MI, 48377, USA
         84   Brighton, MI (84)              BRIGHTON W PS                              Yes        Detroit                               Sleep           APS               4,200          3,784         5/16/2011    10/31/2021             20      No       CROSS GRAND PLAZA, LLC                            None                              8709 WEST GRAND RIVER, BRIGHTON, MI, 48116, USA
         85   Ann Arbor, MI (85)             ANN ARBOR E PS                             Yes        Detroit                               Sleep           APS               4,274          3,062         5/16/2011     5/31/2021             15      No       AF Jonna Development & Management Company, L None                                   3550 WASHTENAW, ANN ARBOR, MI, 48104, USA
         86   Lake Orion, MI (86)            LAKE ORION PS                              Yes        Detroit                               Sleep           APS               4,160          3,775          4/1/2014     1/31/2022             23      No       SHOPS AT THE SHORES OF LONG LAKE L.L.C. None                                        610 N. LAPEER RD, LAKE ORION, MI, 48362, USA
         87   Ferndale, MI (87)              FERNDALE PS                                Yes        Detroit                               Sleep           APS               6,553          5,587          4/1/2016     6/30/2026             76      No       B.P. of White Lake Inc.                           None                              23100 WOODWARD AVE, FERNDALE, MI, 48220, USA
         88   Utica, MI (88)                 UTICA E PS                                 Yes        Detroit                               Sleep           APS               5,900          2,858          9/1/2011     1/31/2023             35      No       SHELBY CORNERS, LLC                               None                              45040 NORTHPOINTE BLVD, UTICA, MI, 48315, USA
         89   Howell, MI (89)                HOWELL PS                                  Yes        Detroit                               Sleep           APS               9,400          8,794         5/16/2011    10/31/2024             56      No       COUNTRY CORNERS SHOPPING CENTER, L.L.CNone                                          4050 E GRAND RIVER AVE, HOWELL, MI, 48843, USA
         90   Westland, MI (90)              WESTLAND PS                                Yes        Detroit                               Sleep           APS               4,400          3,976         10/1/2016    10/31/2026             80      No       CENTRAL-WAYNE PROPERITES, LLC                     None                              7671 NORTH WAYNE RD, WESTLAND, MI, 48185, USA
         91   Grosse Pointe, MI (91)         GROSSE POINTE SSI                          Yes        Detroit                               Design           SSI              7,600          5,933         6/26/2015    10/31/2020              8      No       ST. John Health                                   None                              17145 KERCHEVAL, GROSSE POINTE, MI, 48230, USA
         92   Plymouth, MI (92)              PLYMOUTH PS                                Yes        Detroit                               Sleep           APS               4,000          3,580         9/24/2016    11/30/2026             81      No       PLYMOUTH HAGGERTY UNIT 6                          None                              41512 ANN ARBOR RD, PLYMOUTH, MI, 48170, USA
         93   Shelby Twp, MI (93)            SHELBY TWP PS                              Yes        Detroit                               Sleep           APS               4,000          3,714         1/13/2018     1/31/2028             95      No       JERUSALEM PROPERTIES, LLC                         None                              46975 VAN DYKE AVE, SHELBY TWP, MI, 48317, USA
         94   Roseville, MI (94)             ROSEVILLE PS                               Yes        Detroit                               Sleep           APS               4,800          4,512        11/21/2013     5/31/2024             51      No       ROSEVILLE VILLAGE, L.L.C.                         None                              31851 GRATIOT AVE, ROSEVILLE, MI, 48066, USA
         95   Taylor, MI (95)                TAYLOR PS                                  Yes        Detroit                               Sleep           APS               4,000          3,433         10/3/2015    10/31/2025             68      No       VAN ELSLANDER VENTURES, LLC                       None                              23471 EUREKA RD, TAYLOR, MI, 48180, USA
         96   Dearborn, MI (96)              DEARBORN PS                                Yes        Detroit                               Sleep           APS               5,828          4,141          4/8/2017     5/31/2027             87      No       AMD, LLC.                                         None                              22731 MICHIGAN AVE, DEARBORN, MI, 48124, USA
         97   Livonia, MI (97)               LIVONIA PS                                 Yes        Detroit                               Sleep           APS               3,612          3,120         5/17/2014     5/31/2024             51      No       Middlebelt Plymouth Venture LLC                   None                              29611 PLYMOUTH, LIVONIA, MI, 48150, USA
         98   Southfield, MI (98)            SOUTHFIELD PS                              Yes        Detroit                               Sleep           APS               4,000          3,606         1/13/2018     1/31/2028             95      No       AF Jonna Development & Management Company, L None                                   29119 TELEGRAPH RD, SOUTHFIELD, MI, 48034, USA
         99   Bloomfield Hills, MI (99)      BLOOMFIELD AVF                             Yes        Detroit                               Standard        AVF              46,388        26,440          3/15/2016     2/28/2037            204      No       LCN PARTNERS                                      None                              2300 TELEGRAPH RD, BLOOMFIELD HILL, MI, 48302, USA
        100   Saginaw, MI (100)              SAGINAW AVF                                Yes        Flint-Saginaw-Bay City                Standard        AVF              77,827        56,540          6/30/1984    10/31/2037            212      Yes      STORE CAPITAL                                     STORE SPE AVF II 2017-2, LLC      2660 TITTABAWASSEE RD, SAGINAW, MI, 48604, USA
        101   Flint, MI (101)                FLINT AVF                                  Yes        Flint-Saginaw-Bay City                Standard        AVF              46,177        48,827          6/30/1977     2/28/2037            204      Yes      BROADSTONE                                        BROADSTONE AVF MICHIGAN, LLC      4577 MILLER RD, FLINT, MI, 48507, USA
        102   Burton, MI (102)               BURTON AVF                                 Yes        Flint-Saginaw-Bay City                Standard        AVF              46,196        48,841          7/31/1987     3/31/2037            205      Yes      STORE CAPITAL                                     Store Master Funding XII, LLC     4095 E COURT ST, BURTON, MI, 48509, USA
        103   Bay City, MI (103)             BAY CITY AVF                               Yes        Flint-Saginaw-Bay City                Standard        AVF              34,578        36,957           2/2/1996     3/31/2037            205      Yes      STORE CAPITAL                                     STORE SPE AVF I 2017-1, LLC       4150 WILDER RD, BAY CITY, MI, 48706, USA
        104   Grand Blanc, MI (104)          GRAND BLANC PS                             Yes        Flint-Saginaw-Bay City                Sleep           APS               4,000          3,477          8/2/2014     8/31/2024             54      No       GRAND SAGINAW PLAZA, L.L.C.                       None                              11501 SOUTH SAGINAW, GRAND BLANC, MI, 48439, USA
        105   Flint Township, MI (105)       FLINT PS                                   Yes        Flint-Saginaw-Bay City                Sleep           APS               4,000          3,600         4/27/2018     1/31/2028             95      No       Jonna Management Group, LLC                       None                              4002 MILLER ROAD, FLINT, MI, 48507, USA
        106   Saginaw, MI (106)              SAGINAW PS                                 Yes        Flint-Saginaw-Bay City                Sleep           APS               4,847          4,368         1/30/2016     1/31/2021             11      No       KMS Investments, LLC                              None                              4605 BAY RD #200, SAGINAW, MI, 48604, USA
        107   Fort Wayne, IN (107)           FORT WAYNE AVF                             Yes        Fort Wayne                            Standard        AVF              45,982        39,667          1/25/2014     9/30/2023             43      No       Sandor Development Company                        None                              311 E COLISEUM BLVD, FORT WAYNE, IN, 46805, USA
        108   Grand Rapids, MI (108)         GRAND RAPIDS AVF                           Yes        Grand Rapids-Kalamazoo-Battle Creek   Flagship        AVF              79,400        69,174          7/30/1987     2/28/2037            204      Yes      LCN PARTNERS                                      LCN AVF WARREN (MI) LLC           4375 28TH ST SE, GRAND RAPIDS, MI, 49512, USA
        109   Portage, MI (109)              KALAMAZOO AVF                              Yes        Grand Rapids-Kalamazoo-Battle Creek   Flagship        AVF              73,990        60,986           5/1/1989    10/31/2037            212      Yes      STORE CAPITAL                                     STORE SPE AVF II 2017-2, LLC      550 RING RD, PORTAGE, MI, 49024, USA
        110
        111
              Muskegon, MI (110)
              Grandville, MI (111)
                                             MUSKEGON AVF
                                             GRANDVILLE AVF
                                                                                        Yes
                                                                                        Yes
                                                                                                   Grand Rapids-Kalamazoo-Battle Creek
                                                                                                   Grand Rapids-Kalamazoo-Battle Creek
                                                                                                                                         Standard
                                                                                                                                         Standard
                                                                                                                                                         AVF
                                                                                                                                                         AVF
                                                                                                                                                                          39,590
                                                                                                                                                                          28,530
                                                                                                                                                                                        34,069
                                                                                                                                                                                        24,910
                                                                                                                                                                                                        1/23/1993
                                                                                                                                                                                                         1/1/2010
                                                                                                                                                                                                                      2/28/2037
                                                                                                                                                                                                                      2/28/2037
                                                                                                                                                                                                                                           204
                                                                                                                                                                                                                                           204
                                                                                                                                                                                                                                                    Yes
                                                                                                                                                                                                                                                    Yes
                                                                                                                                                                                                                                                             STONEBRIAR
                                                                                                                                                                                                                                                             Broadstone
                                                                                                                                                                                                                                                                                                               SCF RC Funding III, LLC
                                                                                                                                                                                                                                                                                                               BROADSTONE AVF MICHIGAN, LLC                       A000195
                                                                                                                                                                                                                                                                                                                                                 630 SEMINOLE RD, MUSKEGON, MI, 49441, USA
                                                                                                                                                                                                                                                                                                                                                 4625 WILSON AVE SW, GRANDVILLE, MI, 49418, USA
        112   Battle Creek, MI (112)         BATTLE CREEK AVF                           Yes        Grand Rapids-Kalamazoo-Battle Creek   Standard        AVF              50,220        43,411       Page  1 of 2
                                                                                                                                                                                                         2/1/1997     2/28/2037            204      Yes      STONEBRIAR                                        SCF RC Funding III, LLC                                 AB_0001196
                                                                                                                                                                                                                                                                                                                                                 6100 B DR N, BATTLE CREEK, MI, 49014, USA                  2/20/2020
  Store #                   Store Name
                                                              Original
                                                            Store Name
                                                                                    Case 20-10553-CSS
                                                                       Case 1:22-cv-00450-CFC
                                                                                   Include
                                                                               in Liquidation
                                                                                               DocumentDoc
                                                                                                        22-752-2
                                                                                                              FiledFiled
                                                                                                                Direct   03/09/20
                                                                                                                    07/25/22
                                                                                                             Marketing Area
                                                                                                                               PagePage 26149
                                                                                                                                    112 of of 67
                                                                                                                                               PageID #: 4593
                                                                                                                                            Store
                                                                                                                                            Type
                                                                                                                                                    Company
                                                                                                                                                    Affiliation
                                                                                                                                                                  Gross
                                                                                                                                                                  Sq. Ft.
                                                                                                                                                                                Selling
                                                                                                                                                                                Sq. Ft.
                                                                                                                                                                                                    Lease
                                                                                                                                                                                                Beginning Date
                                                                                                                                                                                                                  Lease
                                                                                                                                                                                                                  Expire.
                                                                                                                                                                                                                                 Months
                                                                                                                                                                                                                                Remaining
                                                                                                                                                                                                                                                  SLB
                                                                                                                                                                                                                                                Property                         Landlord
                                                                                                                                                                                                                                                                                                                   Master
                                                                                                                                                                                                                                                                                                                   Lease                                            Address
        113   Comstock Park, MI (113)         ALPINE AVF                             Yes        Grand Rapids-Kalamazoo-Battle Creek   Flagship        AVF            111,077         63,525          11/26/1999     2/28/2037            204      Yes      LCN PARTNERS                           LCN AVF WARREN (MI) LLC            4273 ALPINE AVE NW STE B, COMSTOCK PARK, MI, 49321, USA
        114   Holland, MI (114)               HOLLAND AVF                            Yes        Grand Rapids-Kalamazoo-Battle Creek   Standard        AVF              39,950        38,443           8/18/1993     2/28/2037            204      Yes      STONEBRIAR                             SCF RC Funding III, LLC            12610 FELCH ST STE 100, HOLLAND, MI, 49424, USA
        115   Muskegon, MI (115)              MUSKEGON PS                            Yes        Grand Rapids-Kalamazoo-Battle Creek   Sleep           APS               4,000          3,519          5/28/2016    10/31/2021             20      No       SVH PROPERTIES, LLC                    None                               1664 E STERNBERG RD, MUSKEGON, MI, 49444, USA
        116   Portage, MI (116)               PORTAGE PS                             Yes        Grand Rapids-Kalamazoo-Battle Creek   Sleep           APS               4,018          3,632          5/24/2014     5/31/2024             51      No       NATIONAL SHOPPING PLAZAS, INC.         None                               6947 SOUTH WESTNEDGE AVE, PORTAGE, MI, 49002, USA
        117   Grandville, MI (117)            GRANDVILLE PS                          Yes        Grand Rapids-Kalamazoo-Battle Creek   Sleep           APS               4,229          3,773           3/1/2015     5/31/2024             51      No       CWD Grandville 1, LLC                  None                               4540 IVANREST AVE SW, GRANDVILLE, MI, 49418, USA
        118   Kalamazoo, MI (118)             KALAMAZOO PS                           Yes        Grand Rapids-Kalamazoo-Battle Creek   Sleep           APS               3,481          3,186           3/8/2013     3/31/2023             37      No       Kalamazoo Mall LLC                     None                               338 N DRAKE RD, KALAMAZOO, MI, 49009, USA
        119   Grand Rapids, MI (119)          GRAND RAPIDS PS                        Yes        Grand Rapids-Kalamazoo-Battle Creek   Sleep           APS               5,562          4,903         10/15/2014     2/28/2037            204      Yes      Broadstone                             BROADSTONE AVF MICHIGAN, LLC       3500 28TH ST SE, GRAND RAPIDS, MI, 49512, USA
        120   Grand Rapids, MI (120)          GRAND RAPIDS N PS                      Yes        Grand Rapids-Kalamazoo-Battle Creek   Sleep           APS               4,000          3,687           9/1/2016     8/31/2026             78      No       EAST BELTLINE DEVELOPMENT, LLC         None                               2036 EAST BELTLINE AVE, GRAND RAPIDS, MI, 49525, USA
        121   Comstock Park, MI (121)         ALPINE N PS                            Yes        Grand Rapids-Kalamazoo-Battle Creek   Sleep           APS               4,300          3,797          5/16/2011    10/31/2022             32      No       ALPINE VALLEY, L.L.C.                  None                               4174 ALPINE AVE NW STE A, COMSTOCK PARK, MI, 49321, USA
        122   Lancaster, PA (122)             LANCASTER (#46)                        Yes        Harrisburg                            Standard        WLF              60,000        52,500            9/1/2002    11/30/2037            213      Yes      VEREIT REAL ESTATE LP                  Vereit                             2040 Bennett Avenue, Lancaster, PA, 17601, USA
        123   York, PA (123)                  YORK (#44)                             Yes        Harrisburg                            Standard        WLF              60,000        52,500            1/1/2002    11/30/2037            213      Yes      VEREIT REAL ESTATE LP                  COLE AV PORTFOLIO                  380 North Northern Way, York, PA, 17402, USA
        124   Harrisburg, PA (124)            HARRISBURG (#42)                       Yes        Harrisburg                            Standard        WLF              61,900        51,900            1/1/1999    11/30/2037            213      Yes      STORE CAPITAL                          Store Master Funding XII, LLC      4661 Lindle Road, Harrisburg, PA, 17111, USA
        125   Hanover, PA (125)               HANOVER (#50)                          Yes        Harrisburg                            Standard        WLF              34,600        30,600           5/19/2008    11/30/2037            213      Yes      VEREIT REAL ESTATE LP                  Vereit                             371 Eisenhower Drive, Hanover, PA, 17331, USA
        126   Mechanicsburg, PA (126)         MECHANICSBURG (#43)                    Yes        Harrisburg                            Standard        WLF              45,567        42,567           8/22/2010     7/31/2020              5      No       LESTER ASSOCIATES                      None                               75 Gateway Drive, Mechanicsburg, PA, 17055, USA
        127   Chambersburg, PA (127)          CHAMBERSBURG (#51)                     Yes        Harrisburg                            Standard        WLF              27,262        25,762            1/1/2009    12/27/2038            226      No       BRTM, LLC                              None                               480 Gateway Avenue, Chambersburg, PA, 17201, USA
        128   Altoona, PA (128)               ALTOONA (#28)                          Yes        Johnstown                             Standard        WLF              53,136        43,176            1/1/1978     4/30/2038            218      Yes      VEREIT REAL ESTATE LP                  Store Master Funding XII, LLC      4 Sellers DriveAltoona, Altoona, PA, 16601, USA
        129   Johnstown, PA (129)             JOHNSTOWN (#32)                        Yes        Johnstown                             Standard        WLF              40,258        37,258            9/1/1995    11/30/2037            213      Yes      VEREIT REAL ESTATE LP                  Vereit                             1130 Scalp Avenue, Johnstown, PA, 15904, USA
        130   State College, PA (130)         STATE COLLEGE (#40)                    Yes        Johnstown                             Standard        WLF              50,000        51,402            5/1/2007    11/21/2037            213      No       PATTON CENTER ASSOCIATES LP            None                               138 Valley Vista Drive, State College, PA, 16803, USA
        131   Lansing, MI (131)               LANSING AVF                            Yes        Lansing                               Flagship        AVF              71,581        77,379          10/25/2000     2/28/2037            204      Yes      BROADSTONE                             BROADSTONE AVF MICHIGAN, LLC       8748 W SAGINAW HWY, LANSING, MI, 48917, USA
        132   Jackson, MI (132)               JACKSON AVF                            Yes        Lansing                               Standard        AVF              33,214        30,012            6/5/1992     7/31/2024             53      No       ARGYLE ACRES MALL, LLC                 None                               950 N WEST AVE, JACKSON, MI, 49202, USA
        133   E Lansing, MI (133)             OKEMOS PS                              Yes        Lansing                               Sleep           APS               5,855          4,457          5/16/2011     8/31/2023             42      No       RICHARD AND MICHELLE BROWN             None                               2660 E. GRAND RIVER, EAST LANSING, MI, 48823, USA
        134   East Lansing, MI (134)          EAST LANSING PS                        Yes        Lansing                               Sleep           APS               3,974          3,495          7/16/2016     7/31/2021             17      No       River Caddis Development, LLC          None                               1595 LAKE LANSING ROAD, EAST LANSING, MI, 48823, USA
        135   Lansing, MI (135)               LANSING PS                             Yes        Lansing                               Sleep           APS               4,590          3,689          5/16/2011    12/31/2021             22      No       John Doezema Real Estate               None                               6007 W SAGINAW HWY, LANSING, MI, 48917, USA
        136   Wexford, PA (136)               WEXFORD (#4, 29, 30 CC)                Yes        Pittsburgh                            Standard         LVF             53,000        48,823           10/1/2009     2/28/2038            216      Yes      STORE CAPITAL                          Store Master Funding XII, LLC      10688 PERRY HIGHWAY, WEXFORD, PA, 15090, USA
        137   Monroeville, PA (137)           MONROEVILLE (#3 CC, 20, 21 CC)         Yes        Pittsburgh                            Standard         LVF             74,600        67,545            7/1/2004    11/30/2037            213      Yes      VEREIT REAL ESTATE LP                  COLE AV PORTFOLIO / LEVIN FAMILY PA124 LEVIN WAY, MONROEVILLE, PA, 15146, USA
        138   Mcmurray, PA (138)              SOUTH HILLS (#2, 32 CC)                Yes        Pittsburgh                            Standard         LVF             74,600        67,964            7/1/2001    11/30/2037            213      Yes      STORE CAPITAL                          Store Master Funding XII, LLC      3664 WASHINGTON ROAD, MCMURRAY, PA, 15317, USA
        139   Greensburg, PA (139)            GREENSBURG (#40, 41 CC)                Yes        Pittsburgh                            Standard         LVF             55,314        50,637            8/1/2011    10/31/2021             20      No       CBL/WESTMORELAND, LP                   None                               5280 ROUTE 30, GREENSBURG, PA, 15601, USA
        140   Pittsburgh, PA (140)            THE POINTE (#15, 35 CC)                Yes        Pittsburgh                            Standard         LVF             68,730        61,886            7/1/1999    11/30/2037            213      Yes      STORE CAPITAL                          Store Master Funding XII, LLC      400 CHAUVET DRIVE, PITTSBURGH, PA, 15275, USA
        141   Pleasant Hills, PA (141)        CURRY HOLLOW (#47, 48 CC)              Yes        Pittsburgh                            Standard         LVF             96,500        87,500            7/1/1991     9/30/2026             79      No       PAUL PROPERTY MANAGEMENT, LP           None                               292 CURRY HOLLOW RD, PLEASANT HILLS, PA, 15236, USA
        142   Mount Pleasant, PA (142)        MOUNT PLEASANT (#1, 22 CC)             Yes        Pittsburgh                            Standard         LVF             34,500        30,766            1/1/1924     4/30/2038            218      Yes      STORE CAPITAL                          Store Master Funding XII, LLC      600 MAIN STREET, MT. PLEASANT, PA, 15666, USA
        143   Cranberry Township, PA (143)    CRANBERRY (#60)                        Yes        Pittsburgh                            Sleep             LM              5,000          4,500           5/1/2012     4/30/2022             26      No       WALNUT CAPITAL PARTNERS - CRANBERRY SONone                                20012 ROUTE 19, CRANBERRY, PA, 16066, USA
        144   Mount Lebanon, PA (144)         MOUNT LEBANON (#36)                    Yes        Pittsburgh                            Sleep             LM              3,990          3,490          6/28/2013     7/31/2023             41      No       RELIANCE PITTSBURGH LLC                None                               1600 WASHINGTON RD, MT LEBANON, PA, 15228, USA
        145   Butler, PA (145)                BUTLER (#75)                           Yes        Pittsburgh                            Sleep             LM              5,010          5,010         11/18/2016     2/28/2027             84      No       BUTLER SITEWORK ASSOICATES LLC         None                               620 Butler Crossing Suite 5, BUTLER, PA, 16001, USA
        146   Pittsburgh, PA (146)            SHADYSIDE (#70)                        Yes        Pittsburgh                            Sleep             LM              7,145          6,645         10/10/2014     4/30/2024             50      No       MCKNIGHT SOUTH EAST LP                 None                               5438 BAUM BLVD, PITTSBURGH, PA, 15232, USA
        147   Washington, PA (147)            WASHINGTON (#63)                       Yes        Pittsburgh                            Sleep             LM              7,800          7,300          3/29/2013     4/30/2023             38      No       WASHINGTON MALL - JCP ASSOCIATES, LTD None                                56 TRINITY POINT DR, WASHINGTON, PA, 15301, USA
        148   Pittsburgh, PA (148)            FOX CHAPEL (#61)                       Yes        Pittsburgh                            Sleep             LM              4,000          3,500           5/1/2012     4/30/2022             26      No       WATERWORKS PHASE II                    None                               956 FREEPORT ROAD, PITTSBURGH, PA, 15238, USA
        149   Pittsburgh, PA (149)            ROBINSON (#64)                         Yes        Pittsburgh                            Sleep             LM              5,593          5,093          8/30/2013    12/31/2023             46      No       MCROBIN LTC AND MOSITES FAMILY GST TRUSNone                               6528 STEUBENVILLE PIKE, PITTSBURGH, PA, 15205, USA
        150   Indiana, PA (150)               INDIANA (#33)                          Yes        Pittsburgh                            Sleep             LM              4,800          4,300           6/7/2013     9/30/2023             43      No       LIBBY REGENCY ASSOCIATES LP            None                               1570 OAKLAND AVE, INDIANA, PA, 15701, USA
        151   Monroeville, PA (151)           MONROEVILLE (#62)                      Yes        Pittsburgh                            Sleep             LM              4,319          4,000           6/1/2012     6/30/2022             28      No       CE-MONROEVILLE 3820 WM PENN LP         None                               3820 WILLIAM PENN HIGHWAY, MONROEVILLE, PA, 15146, USA
        152   St. Louis, MO (152)             AFFTON                                 Yes        St. Louis                             Standard        AVF              41,352        32,759           1/17/2018    12/31/2023             46      No       South Lindbergh Property LLC           None                               5711 S LINDBERGH BLVD, SAINT LOUIS, MO, 63123, USA
        153   O'fallon, IL (153)              FAIRVIEW                               Yes        St. Louis                             Standard        AVF              39,676        32,627           1/17/2018    12/31/2023             46      No       Rothman-O'Fallon LLC                   None                               1776 WEST US 50, O FALLON, IL, 62269, USA
        154   O'fallon, MO (154)              O FALLON                               Yes        St. Louis                             Standard        AVF              40,884        31,674           1/16/2018    12/31/2023             46      No       O'Fallon Missouri Properties, LLC      None                               2101 E TERRA LN, O FALLON, MO, 63366, USA
        155   Bridgeton, MO (155)             BRIDGETON                              Yes        St. Louis                             Standard        AVF              45,314        35,975           1/17/2018    12/31/2023             46      No       JS Westflo, LLC                        None                               925 NORTHWEST PLAZA, SAINT ANN, MO, 63074, USA
        156   Richmond Heights, MO (156)      RICHMOND (DESIGN STUIDO)               Yes        St. Louis                             Design          AVF               3,670          3,343         11/15/2017     7/31/2024             53      No       Hanley LM Properties, LLC              None                               1516 S HANLEY RD, SAINT LOUIS, MO, 63144, USA
        157   Holland, OH (157)               TOLEDO AVF                             Yes        Toledo                                Flagship        AVF              91,000        80,731           8/27/2013     3/31/2037            205      Yes      STORE CAPITAL                          STORE SPE AVF I 2017-1, LLC        1301 E MALL DR, HOLLAND, OH, 43528, USA
        158   Toledo, OH (158)                TOLEDO PS                              Yes        Toledo                                Sleep           APS               4,500          4,045          5/24/2013    11/30/2023             45      No       REED HOLDING-TALMADGE, LLC             None                               4600 TALMADGE RD, TOLEDO, OH, 43623, USA
        159   Holland, OH (159)               HOLLAND PS (TOLEDO)                    Yes        Toledo                                Sleep           APS               3,485          3,135          7/13/2018     8/31/2028            102      No       Kiezi Properties BG, LLC               None                               6760 AIRPORT HWY SUITE B, HOLLAND, OH, 43528, USA
        160   Perrysburg Township, OH (160)   PERRYSBURGH (FREEMONT)                 Yes        Toledo                                Sleep           APS               3,500             n/a          2/8/2019     4/30/2029            110      No       10411 Fremont Pike, LLC                None                               10411 FREMONT PIKE, PERRYSBURG, OH, 43551, USA
        161   Traverse City, MI (161)         TRAVERSE CITY AVF                      Yes        Traverse City-Cadillac                Standard        AVF              63,120        49,903          11/21/1998     2/28/2037            204      Yes      BROADSTONE                             BROADSTONE AVF MICHIGAN, LLC       1775 OAK HOLLOW DR, TRAVERSE CITY, MI, 49686, USA
        162   Petoskey, MI (162)              PETOSKEY AVF                           Yes        Traverse City-Cadillac                Standard        AVF              48,115        49,765           10/5/2002    10/31/2037            212      Yes      STORE CAPITAL                          STORE SPE AVF II 2017-2, LLC       1619 ANDERSON ROAD, PETOSKEY, MI, 49770, USA
        163   Traverse City, MI (163)         TRAVERSE CITY PS                       Yes        Traverse City-Cadillac                Sleep           APS               4,509          4,104          6/30/2016     6/30/2026             76      No       ANCHOR MANISTEE                        None                               3675 N US 31 S SUITE B, TRAVERSE CITY, MI, 49684, USA
        164   Frederick, MD (164)             FREDERICK (#7)                         Yes        Washington DC                         Standard        WLF              60,000        52,500            7/1/2003     1/31/2024             47      No       Frederick-BILCO, LLP                   None                               1215 West Patrick Street, Frederick, MD, 21702, USA
        165   Hagerstown, MD (165)            HAGERSTOWN (#9)                        Yes        Washington DC                         Standard        WLF              66,829        60,000            2/1/2004     5/31/2029            111      No       OUTLET VILLAGE OF HAGERSTOWN LP        None                               900 Premium Outlets Boulevard, Hagerstown, MD, 21740, USA
        166   Leesburg, VA (166)              LEESBURG (#48)                         Yes        Washington DC                         Standard        WLF              46,030        41,430           8/24/2012    11/30/2037            213      Yes      STORE CAPITAL                          Store Master Funding XII, LLC      131 Fort Evans Road NE, Leesburg, VA, 20176, USA
        167   Frederick, MD (167)             FREDERICK OUTLET (#52)                 No         Washington DC                         Standard        WLF              40,484        30,484           9/17/2014     1/31/2020             n/a     No       RAVID FREDERICK, LLC                   None                               5830 Ballenger Creek Pike, Frederick, MD, 21703, USA
        168   Saint Clairsville, OH (168)     SAINT CLAIRSVILLE (#50)                Yes        Wheeling                              Standard         LVF             24,908        21,000           9/29/2017    10/31/2022             32      No       OHIO VALLEY MALL CO                    None                               67661 MALL RING RD, SAINT CLAIRSVILLE, OH, 43950, USA
        169   Boardman, OH (169)              BOARDMAN (#52)                         Yes        Youngstown                            Standard         LVF             52,000             n/a         8/31/2018     8/31/2028            102      No       A&R Properties                         None                               300 BOARDMAN POLAND ROAD, BOARDMAN, OH, 44512, USA
        170   Hermitage, PA (170)             HERMITAGE (#54)                        Yes        Youngstown                            Standard         LVF             42,000             n/a         9/21/2018     9/30/2023             43      No       A&R Properties                         None                               1340 N. Hermitage Road Suite 1 Route 18, Hermitage, PA, 16148, U
        171   Niles, OH (171)                 NILES (#56)                            Yes        Youngstown                            Standard         LVF             52,000             n/a        10/31/2018    10/31/2028            104      No       A&R Properties                         None                               836 YOUNGSTOWN-WARREN RD, NILES, OH, 44446, USA
Totals                                                                                                                                                             5,879,611     4,932,964




                                                                                                                                                                                                                                                                                                                                                          A000196
                                                                                                                                                                                                   Page 2 of 2                                                                                                                                                 AB_0001197                       2/20/2020
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             113 of
                                                                 27149
                                                                    of 67
                                                                        PageID #: 4594




                                   EXHIBIT 3




                                                                             A000197
                                                                                  AB_0001198
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             114 of
                                                                 28149
                                                                    of 67
                                                                        PageID #: 4595




                CONSULTING AND MARKETING SERVICES AGREEMENT

          This Consulting and Marketing Services Agreement, dated as of March 4, 2020 (this
  “Agreement”), is made by and between AVF HOLDING COMPANY, INC., and AVF
  HOLDING COMPANY, INC. d/b/a Art Van Furniture, Art Van Pure Sleep, Levin Furniture,
  Levin Mattress and Wolf Furniture (collectively, the “Company”), and a contractual joint venture
  comprised of HILCO MERCHANT RESOURCES, LLC, HILCO IP SERVICES, LLC
  D/B/A HILCO STREAMBANK, HILCO REAL ESTATE, LLC, AND HILCO
  RECEIVABLES, LLC, each a Delaware limited liability company (collectively, “Hilco”), and
  GORDON BROTHERS RETAIL PARTNERS, LLC, DJM REALTY SERVICES, LLC
  D/B/A GORDON BROTHERS REAL ESTATE, GORDON BROTHERS COMMERCIAL
  & INDUSTRIAL, LLC AND GORDON BROTHERS BRANDS, LLC, each, a Delaware
  limited liability company (collectively, “GBG”, and together with Hilco, the “Consultant”).

                                           R E C I T A L S:

          WHEREAS, the Company is (i) the owner or lessee of certain real property identified on
  Exhibit A attached hereto (each a “Property”, and collectively, the “Properties”), (ii) machinery,
  equipment, furniture, fixtures and other personal property located at, in, or in the vicinity of the
  Properties (the “M&E”), (iii) Merchandise (defined below) inventory located at, in, or the vicinity
  of the Properties, (iv) to the extent the Company exercise the Receivables Option (defined below),
  outstanding trade accounts receivable for which the Company has the exclusive right to collect,
  except for those accounts receivable that are currently the subject of litigation (the “Receivables”)
  and (v) intangible assets, including, without limitation, trademarks, trade names, copyrights,
  domain names, software and source code, URLs, telephone numbers, customer data including
  customer names, addresses, email addresses, transaction history and other demographic data
  captured and maintained by the Company, vendor data, franchise agreements, “IP” addresses, and
  license agreements, logos and assorted artwork used in marketing materials and other contractual
  rights relating to the foregoing (collectively, the “Intellectual Property”; and collectively with the
  M&E, Inventory, Receivables (to the extent the Company exercises the Receivables Option), and
  Properties, the “Assets”);

          WHEREAS, the Company desires to retain Consultant to provide certain consulting,
  marketing and related asset disposition services to the Company with respect to the Assets,
  including where the context makes appropriate assisting the Company in the conduct of certain
  “Store Closing Sale”, “Total Inventory Blowout”, “Everything Must Go”, “Everything On Sale”
  or similar themed liquidation sales (the “Sale”) at the Company’s retail store locations identified
  on Exhibit A-1 attached hereto (each individually, a “Store”, and collectively, the “Stores”); and
  (ii) provide assistance to the Company in fulfilling and delivering On-Hand Fulfillment
  Merchandise and Back-Order Fulfillment Merchandise on account of goods sold by the Company
  prior to the Sale Commencement Date (defined below), in each case as more fully described
  herein; and

          WHEREAS, Consultant is in the business of marketing, selling and otherwise realizing
  maximum value for assets similar to those comprising the Assets on behalf of its clients, and
  subject to the terms and conditions set forth herein, including, without limitation, authorization
  and approval of the Bankruptcy Court (defined below), is willing to serve as the Company’s



                                                                                                 A000198
                                                                                                      AB_0001199
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             115 of
                                                                 29149
                                                                    of 67
                                                                        PageID #: 4596




  exclusive agent and consultant to perform the services described herein upon the terms and
  conditions, and in the manner set forth in this Agreement.

           NOW, THEREFORE, in consideration of the mutual covenants and agreements hereinafter
  set forth and other good and valuable consideration, the receipt and sufficiency of which are hereby
  acknowledged, the parties hereto agree as follows:

                                           AGREEMENT

  1.     Definitions

        For the purposes of this Agreement, the terms listed below shall have the respective
  meanings indicated:

         “ABL Agent” means shall mean Wells Fargo Bank, National Association, as administrative
  agent and collateral agent for itself and the other ABL Lenders.

          “ABL Lenders” means those lenders under that certain ABL Credit Agreement, dated as
  of March 1, 2017 (as amended, restated, supplemented or otherwise modified from time to time
  and in effect on the date hereof), by and among, among others, the Company, such lenders and the
  ABL Agent.

          “Advertising Expenses” means the costs and expenses incurred in connection with
  advertising the Sale, including, without limitation, direct media costs, agency fees and production
  costs) and Signage Costs.

         “Approval Orders” shall mean collectively the Interim Order and Final Order.

        “Bankruptcy Court” means the United States Bankruptcy Court for the District of
  Delaware.

         “Cash Collateral Budget” means that certain debtor-in-possession and/or cash collateral
  Cash Collateral Budget to be approved under the Interim Cash Collateral Order.

          “Central Services” shall mean those central administrative services provided by Company
  that are necessary or appropriate for the conduct and support of the Sale, including, but not limited
  to, use and/or access to Company’s: (i) inventory control system, (ii) payroll system, (iii)
  accounting system, (iv) office facilities (including use of reasonably sized offices located at
  Company’s central office facility to effect the Sale), (v) central administrative services and
  personnel to process and perform sales audit, banking, accounting, sale and expense reconciliation,
  and other normal course administrative services customarily provided to or for the benefit of
  operating the Stores, (vi) no fewer than one weekly email messages targeted to the customers of
  the Stores and Company’s e-commerce site, which email messages will be designed by Consultant
  (and approved by Company) and sent by Company or Company’s existing service provider and
  (vii) such other central office services reasonably necessary or appropriate for the Sale.

           “Consultant Incurred Expenses” shall mean the aggregate amount of (i) Supervisor Costs;
  (ii) reasonable and documented travel expenses for members of Consultant’s executive team in an


                                                                                                A000199
                                                                                                     AB_0001200
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             116 of
                                                                 30149
                                                                    of 67
                                                                        PageID #: 4597




  aggregate amount not to exceed $20,000; (iii) Consultant’s reasonable and documented general
  legal fees incurred in connection with the negotiation of this Agreement in an aggregate amount
  not to exceed $35,000; provided, however, in addition to, and not as part of, such capped amount,
  Company shall also reimburse Consultant for its reasonable and documented legal fees and
  expenses incurred in connection with negotiating any “side letters” with landlords of the Stores;
  and (iv) Advertising Expenses, in each case in as defined herein and in accordance with the Sale
  Budget (as defined below).

           “Final Order” shall mean a final order of the Bankruptcy Court granting final approval,
  inter alia, for the Company’s (a) assumption of this Agreement, (b) retention of the Consultant to
  perform the consulting, marketing and sale-related services described herein, (c) conduct of the
  Sale, and (d) granting such other and further relief as is appropriate in order to effectuate the terms
  and provisions of this Agreement.

           “Gross Sales” shall mean the sum of all proceeds derived from the sale of Merchandise
  during the Sale Term (excluding amounts paid for sales, excise, or gross receipts taxes); plus (i)
  all proceeds of fire, flood or other insurance covering the Merchandise, and (ii) the amount of any
  gift cards or merchandise credits redeemed at the Stores during the Sale Term; provided, however,
  that it is expressly understood and agreed, that Gross Sales shall not include sales made by or on
  behalf of Company prior to the Sale Commencement Date or after the Sale Termination Date,
  regardless of when the applicable Merchandise is delivered to or picked up by the customer(s).

            “Interim Order” shall mean an order of the Bankruptcy Court granting interim approval,
  inter alia, for the Company’s (a) assumption of this Agreement, (b) retention of the Consultant to
  perform the consulting, marketing and sale-related services described herein, (c) conduct of the
  Sale, and (d) granting such other and further relief as is appropriate in order to effectuate the terms
  and provisions of this Agreement.

          “Leases” shall mean all leases, occupancy agreements, reciprocal easement, license, or
  similar agreements pursuant to which Company has the right to occupy or utilize the Stores.

         “Lender Agents” mean collectively, the ABL Agent and the Term Loan Agent.

          “Merchandise” shall mean all inventory that is owned by Company and actually sold in the
  Stores during the Sale Term, the aggregate amount of which shall be determined using the gross
  rings inventory taking method, which may include inventory that (i) is located at, or in transit to,
  the Store as of the Sale Commencement Date with respect to each such Store; and/or (ii) is located
  at the Company’s distribution center in the United States during the Sale Term; provided, however,
  the Company and the Consultant agree that “Merchandise” shall expressly exclude: (1) goods
  which belong to sublessees, licensees or concessionaires of Company; (2) goods held by the
  Company on memo or consignment, unless otherwise agreed to by Company (in consultation with
  the Lender Agents) and Consultant; (3) M&E; and (4) Additional Agent Goods.

         “Merchandise File” shall mean the “Store and DC Master Inventory Report Final
  020320.xlsx” and “Levin Store & DC Master Inventory as of 2.3.20.xlslx” files together with all
  subsequent files specifically delivered by Merchant to Agent on or prior to the Sale
  Commencement Date to be used in connection with this Agreement.



                                                                                                 A000200
                                                                                                      AB_0001201
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             117 of
                                                                 31149
                                                                    of 67
                                                                        PageID #: 4598




          “Sale Commencement Date” shall mean a date determined by the Company in consultation
  with the Consultant, but in no event later than March 6, 2020.

          “Sale Expenses” shall mean all expenses incurred in connection with and attributable to
  the Sale.

          “Sale Guidelines” shall mean the Sale Guidelines annexed hereto as Exhibit C which shall
  serve as the guidelines under which the Sale shall be conducted.

         “Sale Term” shall mean the period of time beginning with the Sale Commencement Date
  and ending on the Sale Termination Date.

         “Sale Termination Date” shall mean a date determined by the Consultant in consultation
  with the Company, but in no event later than May 31, 2020; provided, however, absent the prior
  consent of the Company, the Sale shall conclude in the Stores no later than April 30, 2020.

          “Services” shall mean the services to be performed by Consultant pursuant to Section 2.2
  of this Agreement.

          “Signage Costs” shall mean all the interior and exterior signage used in connection with
  the Sale, including, without limitation, banners, A-frames, feather flags, and sign walkers, in each
  case to the extent approved by Consultant.

        “Store Employees” shall mean those employees of the Company retained by Company to
  conduct the Sale following consultation with Consultant.

         “Supervisor(s)” shall mean the individual(s) whom Consultant shall engage to provide
  Services in the Stores to Company in connection with the Sale in accordance with Section 2.3
  below.

         “Supervisor Costs” shall mean the following customary costs and expenses incurred by
  Consultant with respect to Supervisors in accordance with the Sale Budget,: (i) the weekly
  compensation paid during the Sale Term per Supervisor (which in each case represents
  Consultant’s actual costs); (ii) reasonable and documented travel expenses of the Supervisors
  between Stores during the term of the Sale, and to and from the Sale locations at the
  commencement and conclusion of the Sale (and reasonable travel to and from the Supervisors’
  homes during the Sale Term as is typical and customary in the liquidation industry given the nature
  of the Merchandise, the length of the Sale, and the actual results of the Sale); and (iii) reasonable
  Supervisor deferred compensation.

          “Term Loan Agent” shall mean Virtus Group, LP, as administrative agent and collateral
  agent for itself and the other Term Loan Lenders.

          “Term Loan Lenders” means those lenders under that certain Credit Agreement, dated as
  of March 1, 2017 (as amended, restated, supplemented or otherwise modified from time to time
  and in effect on the date hereof), by and among, among others, the Company, such lenders and the
  Term Loan Agent.



                                                                                                A000201
                                                                                                     AB_0001202
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             118 of
                                                                 32149
                                                                    of 67
                                                                        PageID #: 4599




  2.     Consulting Services

          2.1    Company hereby retains Consultant, and Consultant hereby agrees to serve as the
  exclusive independent consultant to the Company in connection with the conduct of the Sale as set
  forth herein. With respect to the Sale, Consultant shall serve as the sole and exclusive consultant
  to the Company relative to the conduct of the Sale at the Stores, and the sale or other disposition
  of the other Assets, in each case throughout the Sale Term.

          2.2  Conduct of the Sale; Merchandise Services. On the terms and conditions set forth
  herein, commencing as of the Sale Commencement Date, the Consultant shall provide the
  Company with the following Services with respect to the sale or other disposition of the
  Merchandise as part of the Sale:

                 (a)    provision of approximately forty six (46) qualified Supervisors to supervise
         and assist Company in its conduct of the Sale as further described in Section 2.3 below,
         including such lead, regional, financial, and field Supervisors as needed (after consultation
         with Company and Lender Agents). All Supervisors shall have industry-specific
         experience conducting “Store Closing”, “Total Inventory Blowout”, “Everything on Sale”,
         “Everything Must Go” or similar themed liquidation sales, and shall act in a professional
         manner; provided, that from time to time during the Sale Term the Company and the
         Consultant shall meet and confer to evaluate the level and number of Supervisors being
         utilized in connection with the conduct of the Sale, and the Company and the Consultant
         (in consultation with the Lender Agents) shall jointly determine any reasonable
         adjustments thereto; provided, further, that, once identified, Supervisors cannot be
         removed from the project absent Company consent;

                 (b)    provide the Company with such oversight, supervision and guidance as may
         be appropriate or requested by the Company with respect to the conduct of the Sale and the
         liquidation and disposal of the Merchandise and M&E as may be required from time to
         time to maximize the recovery for such Assets;

                 (c)    recommend and implement appropriate point of purchase, point of sale and
         external advertising to effectively sell the Merchandise during the Sale Term, consistent
         with the theme of the Sale and the Sale Guidelines, it being understood that the Sale will
         be advertised as a “Total Inventory Blowout”, “Store Closing”, “Everything Must Go”,
         “Everything on Sale” or similar sale themes throughout the term of the Sale; provided, that
         Consultant shall not utilize “Going Out of Business” sale theme absent (i) prior
         consultation with and approval by the Company and (ii) as may be set forth in the Approval
         Orders;

                 (d)    advise the Company as to appropriate discounting of Merchandise,
         appropriate staffing levels for the Stores, and appropriate deferred compensation and
         incentive programs for Store Employees;

                 (e)     advise the Company in creating the optimal display of Merchandise in the
         Stores in an effort to maximize the recovery for such Assets;



                                                                                               A000202
                                                                                                    AB_0001203
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             119 of
                                                                 33149
                                                                    of 67
                                                                        PageID #: 4600




                 (f)    assist Company in the formulation and implementation of a loss prevention
         security program designed to protect the Merchandise from theft or other shortages;

                (g)     assist Company with accounting functions for the Stores, including
         evaluation of sales of Merchandise by category, sales reporting and monitoring of
         expenses, in each case using the Company’s infrastructure;

               (h)    recommend and implement the transfer and balancing of Merchandise
         between and among the Stores to maximize results during the Sale;

                (i)      participate in weekly calls with representatives of the Company and Lender
         Agents; and

                (j)    provide such other related services deemed necessary or prudent by the
         Company (in consultation with the Lender Agents), and as may be mutually agreed by the
         Consultant and the Company under the circumstances giving rise to the Sale.

         2.3     M&E Services.

                  (a)    On the terms and conditions set forth herein, commencing as of the Sale
  Commencement Date through the earlier of (i) the applicable Sale Termination Date for each of
  the Stores (or, with respect to any Distribution Center(s), the last day of available occupancy for
  each such center, as may be mutually agreed by the Company and the Consultant (in consultation
  with the Lender Agents)); (ii) April 30, 2020; or (iii) such other earlier or extended date as may be
  mutually agreed upon by the Company (in consultation with the Lender Agents) and the Consultant
  (as applicable the “Asset Marketing Period”), the Consultant shall provide the Company with the
  following Services with respect to the sale or other disposition of the M&E (the “M&E Services”):

                         (i)     Develop an advertising and marketing plan (“M&E Marketing
                 Plan”) for the sale or auction of, or other disposition strategy for, the M&E and in
                 connection therewith; provided, that no later than March 13, 2020, the Company
                 (in consultation with the Lender Agents) and the Consultant shall mutually agree
                 upon a supplemental expense budget for the sale or other disposition of the M&E
                 (the “M&E Expense Budget”);

                        (ii)   Implement the M&E Marketing Plan as deemed necessary by
                 Consultant to maximize the net recovery on the M&E;

                        (iii)  Prepare for the sale of the M&E, including gathering specifications
                 and photographs for brochures;

                        (iv)  Make the M&E available for viewing by potential buyers on an
                 appointment-only basis;

                       (v)      Sell or auction the M&E for cash to the highest bidder “as is,”
                 “where is,” and in accordance with the terms of this Agreement; and




                                                                                                A000203
                                                                                                     AB_0001204
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             120 of
                                                                 34149
                                                                    of 67
                                                                        PageID #: 4601




                        (vi)    Charge and collect on behalf of the Company from all purchasers
                 any purchase price (inclusive of any Buyer’s premium paid by the respective
                 buyer(s)) together with all applicable taxes in connection therewith.

                  (b)    All proceeds collected by Consultant in connection with the M&E Services
  shall be either remitted directly to the Company to such account as designated by the Company
  (the “Company’s Designated Deposit Account”) by the buyer of the M&E, or, to the extent funds
  are remitted to the Consultant, they shall be remitted by Consultant to the Company as part of the
  weekly reconciliation provided for in Section 4.2 hereof, with such amounts to be deposited into
  the Company’s Designated Deposit Account.

         2.4     Real Estate Services.

                  (a)     On the terms and conditions set forth herein, during the applicable Asset
  Marketing Period, the Consultant shall provide the Company with the following Services with
  respect to the sale or other disposition of the Properties (the “Real Estate Services”):

                         (i)     Meet with the Company to ascertain the Company’s goals,
                 objectives and financial parameters with respect to the sale or other disposition of
                 the Properties;

                         (ii)    Mutually agree with the Company with respect to a strategic plan
                 for the disposition of each Property (the “Real Estate Strategic Plan”);

                        (iii)    In accordance with the Real Estate Strategic Plan, and in lieu of
                 assigning a Property lease to a third party, work with the Company to secure
                 favorable termination agreements whereby a landlord pays the Company to
                 terminate the lease associated with each such Property; and

                         (iv)    Solicit interested parties for the assumption/assignment of leases
                 associated with each Property or, where applicable, the sale of each Property, and
                 marketing each Property for assignment/sale in accordance with the Real Estate
                 Strategic Plan.

                   (b)     In connection with the performance of Real Estate Services, the Consultant
  agrees that the Company shall not be responsible for the payment of any expenses incurred in
  connection with the execution of the Real Estate Strategic Plan, except to the extent pursuant to a
  budget (“Real Estate Services Budget”), which Real Estate Services Budget, if any, shall be subject
  in all respects to the consent and approval of the Company (in consultation with the Lender Agents)
  prior to any associated costs or expenses are incurred by the Company or the Consultant.

                 (c)     All proceeds collected by Consultant in connection with the Real Estate
  Strategic Plan shall be either remitted directly to Company’s Designated Deposit Account by the
  buyer/assignee of the Company’s interests in the Properties, or to the extent funds are remitted to
  the Consultant, they shall be remitted by Consultant to the Company as part of the weekly
  reconciliation as part of the weekly reconciliation provided for in Section 4.2 hereof, following
  Consultant’s receipt of such amounts, with such amounts to be deposited into the Company’s
  Designated Deposit Account.


                                                                                              A000204
                                                                                                   AB_0001205
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             121 of
                                                                 35149
                                                                    of 67
                                                                        PageID #: 4602




          2.5     Receivables Services. (a) From the date of execution of this Agreement to and
  including March 31, 2020, the Company shall retain the exclusive option, in its sole discretion
  (following consultation with the Lender Agents)(the “Receivables Election”) to direct the
  Consultant to perform Receivables Services (defined below). The Company shall exercise the
  Receivables Election, if at all, by delivery of a written notice to the Consultant on or before the
  above date indicating its direction to the Consultant to commence performance of Receivables
  Services. Upon the Company’s exercise of the Receivables Election, the Consultant shall
  thereafter perform Receivables Services on the terms and conditions set forth herein, through the
  later of (i) expiration of the Asset Marketing Period or (ii) such later date as the Company (in
  consultation with the Lender Agents) and the Consultant agree (the “Receivables Marketing
  Period”)

                (b)      the Services with respect to the collection or other disposition of the
  Receivables shall include the following (collectively, the “Receivables Services”):

                        (i)    In consultation with the Company, collect, service, settle, and
                 otherwise resolve the Receivables on the Company’s behalf and in otherwise
                 compliance with applicable law;

                        (ii)    Direct the obligors on the Receivables to make payment to
                 Consultant, as the agent for the Company and the Lender Agents;

                        (iii) (a) Receive cash, drafts, checks, wire transfers, credit cards, and
                 money orders on account or in satisfaction of the Receivables; and (b) endorse and
                 negotiate any of the foregoing received by Consultant, as the agent for the
                 Company; and

                        (iv)    If the Company requests, identify and oversee third party collection
                 attorneys to collect those Receivables Consultant is otherwise unable to collect.

                 (c)      In connection with the performance of Receivables Services, the Consultant
  agrees that the Company shall not be responsible for payment of any expenses incurred in
  connection with the Consultant’s performance of the Receivables Services, except to the extent
  pursuant to a budget (“Receivables Services Budget”), which Receivables Services Budget, if any,
  shall be subject in all respects to the consent and approval of the Company (in consultation with
  the Lender Agents) prior to any associated costs or expenses are incurred by the Company or the
  Consultant.

                 (d)     Any amounts collected by Consultant in connection with the collection of
  the Receivables, shall be remitted by the Consultant to the Company as part of the weekly
  reconciliation as part of the weekly reconciliation provided for in Section 4.2 hereof, following
  Consultant’s receipt of such Proceeds, with such amounts to be deposited into the Company’s
  Designated Deposit Account.

         2.6     IP Services.

                  (a)    Through the later of (i) the expiration of the Asset Marketing Period; or (ii)
  such later date as the Company (in consultation with the Lender Agents) and the Consultant may


                                                                                                A000205
                                                                                                     AB_0001206
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             122 of
                                                                 36149
                                                                    of 67
                                                                        PageID #: 4603




  agree (the “IP Marketing Period”), the Consultant shall provide the Company with the following
  Services with respect to the collection or other disposition of the Company’s Intellectual Property
  (the “IP Services”):

                         (i)      Work with the Company’s management and advisors to collect and
                 secure all of the available information and data concerning the Intellectual Property;

                        (ii)    In consultation with the Company, prepare marketing materials
                 designed to advertise the availability of the Intellectual Property for sale,
                 assignment, license, or other disposition;

                        (iii) In consultation with the Company, develop and execute a sales and
                 marketing program designed to elicit proposals to acquire the Intellectual Property
                 from qualified acquirers, with a view toward completing one or more sales,
                 assignments, licenses, or other dispositions of the Intellectual Property; and

                         (iv)   Assist the Company in connection with the transfer of the
                 Intellectual Property to the acquirer(s) who offer the highest or otherwise best
                 consideration for the Intellectual Property.

                 (b)     In connection with the performance of IP Services, the Consultant agrees
  that the Company shall not be responsible for payment of any expenses incurred in connection
  with the Consultant’s performance of the IP Services, except to the extent pursuant to a budget
  (“IP Services Budget”), which IP Services Budget, if any, shall be subject in all respects to the
  consent and approval of the Company (in consultation with the Lender Agents) prior to any
  associated costs or expenses are incurred by the Company or the Consultant.

                  (c)     All proceeds collected by Consultant in connection with the IP Services
  shall be either remitted directly to Company’s Designated Deposit Account by the buyer(s) of the
  IP Assets, or to the extent funds are remitted to the Consultant, they shall be remitted by Consultant
  to the Company as part of the weekly reconciliation as part of the weekly reconciliation provided
  for in Section 4.2 hereof, following Consultant’s receipt of such amounts, with such amounts to
  be deposited into the Company’s Designated Deposit Account

          2.7     License. (a) Solely in connection with the performance of the Services as provided
  herein, the Company hereby grants Consultant a non-exclusive royalty free license (“Services
  License”) to use, including, but not limited to, in all of its advertising and promotional activities
  related to this Agreement, all Intellectual Property, including, without limitation, the following
  Company tradenames: “Art Van Furniture”, “Wolf Furniture”, “Levin Furniture”, and/or similar
  derivations thereof. The Services License shall extend through the later of (i) the expiration of the
  Asset Marketing Period, or (ii) such later date as the Company (in consultation with the Lender
  Agents) and the Consultant may agree (the “License Period”).

                 (b)     The Company hereby grants Consultant a license to allow Consultant to
  enter and occupy the Properties. Specifically, Consultant shall have the right to enter and the
  Properties during the applicable Asset Marketing Period solely for the purposes of performing its
  obligations under this Agreement, including, without limitation, taking photographs and preparing
  the marketing material for the Assets, and selling and overseeing the removal of the removable


                                                                                                 A000206
                                                                                                      AB_0001207
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             123 of
                                                                 37149
                                                                    of 67
                                                                        PageID #: 4604




  Assets, without interference from any labor unions or any other third parties. The Company shall
  use reasonable efforts to ensure that the Consultant shall have access to and quiet enjoyment of the
  Properties for the applicable Asset Marketing Period. Consultant shall not be obligated to pay any
  rent, taxes, utilities, or other occupancy-related charges arising from or related to its access to and
  occupancy of the Properties during the applicable Asset Marketing Period. Subject to and limited
  by the Cash Collateral Budget, the Company agrees to continue to provide and pay for all utilities
  and other usual and customary occupancy-related costs and expenses during the course of
  Consultant’s occupancy of the Properties. The Company agrees to maintain and bear the cost of
  any existing security personnel and trash removal for the Properties during the term of this
  Agreement. The Company acknowledges that Consultant is not an insurer of the Assets.
  Consultant shall have the right to abandon at the Properties any movable Assets not sold.

          2.8     Supervisory Personnel. (a) In connection with the Sale, Consultant shall directly
  or indirectly retain and engage the Supervisors. The Supervisors are engaged by Consultant as
  independent contractors and are not and shall not be deemed to be employees or agents of
  Company in any manner whatsoever; nor do the Supervisors have any relationship with Company
  by virtue of this Agreement or otherwise which creates any liability or responsibility on behalf of
  Company for the Supervisors, except with respect to indemnification pursuant to Section 7.7
  hereof. During the Sale Term, the Supervisors shall perform Services during normal Store
  operating hours and for the period of time prior to the Stores’ opening and subsequent to the Stores’
  closing, as required in connection with the Sale, in Consultant’s discretion.

                  (b)    In consideration of Consultant’s engagement of the Supervisors, Company
  agrees to reimburse Consultant, as a Sale Expense, for the actual Supervisor Costs paid by
  Consultant for services rendered by the Supervisors during the Sale Term. Company shall
  reimburse Consultant for all Supervisor Costs weekly, based upon invoices or other documentation
  reasonably satisfactory to Company (in consultation with the Lender Agents). Company shall not
  be obligated to pay Supervisor Costs and/or Supervisor deferred compensation that have not been
  included in, or provided for, in the Sale Budget.

          2.4     Title. (a) Title to all Assets shall remain with Company at all times during the
  Sale Term until such Asset(s) is sold. Although Consultant shall undertake its obligations under
  this Agreement in a manner designed to achieve the desired results of the Sale and to maximize
  the benefits to Company from the sale or other disposition of the other Assets, the Company
  expressly acknowledges that Consultant is not guaranteeing the results of the Sale or ensuring the
  recoveries to be realized by the Company from the sale or other disposition of the Assets. All sales
  of Assets shall be made on behalf of Company. Consultant shall have no liability to the Company
  or any third party for its failure to sell any Asset(s), and shall have the right to abandon such unsold
  Asset(s) at the conclusion of the applicable Asset Marketing Period; provided, that any
  abandonment of any M&E in any Store(s) shall be done in a neat and orderly fashion.

                (b)     the Company further agrees that responsibility for the handling of any
  Merchandise or other goods held by Company and located in the Properties under any
  consignment, sale or return, or other similar agreement shall lie exclusively with Company, and
  Consultant shall have no responsibility with respect thereto.

                 (c)     The Company and Consultant agree, and the Company hereby expressly



                                                                                                  A000207
                                                                                                       AB_0001208
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             124 of
                                                                 38149
                                                                    of 67
                                                                        PageID #: 4605




  acknowledges, that Consultant shall not be responsible for the removal or disposition of any
  environmentally hazardous chemicals, solvents or substances found at or in the Assets, or
  obtaining or maintaining any Environmental Permits or other permits with respect thereto. The
  Company shall be responsible for ensuring that the Company possesses and is in compliance with
  all Environmental Permits that are required for the operation of the Company’s businesses. As used
  in this Agreement, “Environmental Laws” means all federal, state and local statutes, regulations,
  ordinances, rules, regulations and policies, all court orders and decrees and arbitration awards, and
  the common law, which pertain to environmental matters or contamination of any type whatsoever;
  and “Environmental Permits” means licenses, permits, registrations, governmental approvals,
  agreements and consents which are required under or are issued pursuant to Environmental Laws.
  In addition to any other indemnities provided herein, the Company hereby agrees to defend,
  indemnify and hold Consultant harmless from any and all claims, losses, damages and liabilities
  (including reasonable attorney’s fees and costs) of any kind whatsoever which arise from or are in
  connection with any hazardous chemicals, solvents or substances found at or in the Assets or any
  violation of any such Environmental Laws or Environmental Permits.

  3.     Sale Expenses; Consultant’s Compensation

          3.1     Sale Expenses. (a) The Company shall be responsible for all Sale Expenses
  (including without limitation, the Consultant Incurred Expenses), and Consultant shall not be
  responsible for any such expenses, including Consultant Incurred Expenses, except as expressly
  provided for in Section 11 below. The Company, Consultant and Lender Agents have agreed on
  a pro forma budget relating to the Sale describing in reasonable detail the projected Sale Expenses
  to be incurred in connection with the sale of Merchandise through the Stores (the “Sale Budget”),
  the form and content of which Sale Budget is annexed hereto and made a part hereof as Exhibit B.
  The Sale Budget may only be modified by mutual agreement of the Company, the Consultant, and
  the Lender Agents. Consultant Incurred Expenses shall not exceed the aggregate amount, per
  expense category, of Consultant Incurred Expenses set forth in the Sale Budget without the prior
  written consent of the Company and Lender Agents. Subject to the limitations of the Sale Budget,
  the Company shall reimburse Consultant for any reasonable and documented Consultant Incurred
  Expense on a weekly basis in connection with the weekly Sale reconciliation provided for in
  Section 4 hereof upon presentation of invoices and statements for such expenses.

                  (b)   To the extent the Company, Consultant and Lender Agents agree on any
  separate M&E Budget, Real Estate Budget, Receivables Services Budget, and/or IP Services
  Budget, as the case may be, such supplemental budgets (each a “Supplemental Budget”, and
  collectively the “Supplemental Budgets”) shall be in addition to, and not in substitution of, the
  Sale Budget.

          3.2     Consultant’s Compensation. In consideration of the Consultant providing the
  consulting, marketing and asset disposition-related Services provided for herein, the Consultant
  shall NOT earn any fee or other compensation from the Company, other than reimbursement of all
  Consultant Incurred Expenses and such other Sale Expenses as may be advanced by Consultant
  from time to time at the request of the Company, in the course of performing Services hereunder,
  in each case limited to the amounts set forth in the Sale Budget and at the times provided herein.
  The Company shall keep (i) a strict count of gross register receipts less applicable sales taxes, and
  (ii) cash reports of sales within each Store. Register receipts shall show for each item sold the


                                                                                                A000208
                                                                                                     AB_0001209
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             125 of
                                                                 39149
                                                                    of 67
                                                                        PageID #: 4606




  retail price (as reflected on Company’s books and records) for such item, and the markdown or
  other discount granted by Consultant in connection with such sale. The Company shall make all
  such records and reports available to Consultant and the Lender Agents during regular business
  hours upon reasonable notice.

          3.3     Expenses Deposit. The Interim Order and/or the Interim Cash Collateral Order
  (defined below) shall include approval on the part of the Company to fund, and the Company shall
  thereafter promptly fund, to Consultant $3,353,912 (the “Expense Deposit’). The Company shall
  be entitled to apply the Expense Deposit to, or otherwise offset any portion of the Expense Deposit
  against, any weekly reimbursement or other amount owing to Consultant under this Agreement
  prior to the Final Settlement; provided, however, at no time prior to the Final Settlement shall the
  Expense Deposit be reduced below $1,000,000. Without limiting any of Consultant’s other rights,
  Consultant may apply the Expense Deposit to any unpaid obligation owing by Company to
  Consultant under this Agreement. Any portion of the Expense Deposit not used to pay amounts
  contemplated by this Agreement shall be returned to Company (or its designee) within three (3)
  business days following the Final Settlement.

  4.     Sale Proceeds; Weekly/Final Settlement

          4.1     During the Sale, the Company shall collect all proceeds realized from the sale of
  Merchandise and deposit the same in deposit accounts established by Company for the deposit
  thereof consistent with Company’s existing cash management system (which may be Company’s
  existing Store-level deposit accounts) (the “Sale Accounts”). In addition, if in connection with the
  sale of any M&E hereunder the Consultant assesses or receives any “buyer’s premium” or similar
  sale price enhancement, the Company shall be entitled to receive any such amount, and the
  Consultant shall remit such amount to the Company in connection with the weekly reconciliation
  provided for hereunder and/or any Final Settlement (defined herein). The Company shall, upon
  request, deliver to Consultant and Lender Agents account statements and such other information
  relating sale of the Assets (including the Gross Sales and the Sale Accounts) reasonably requested
  by Consultant or Lender Agents.

          4.2    On Wednesday of each week, commencing on the first Wednesday following the
  Sale Commencement Date, the Company (in consultation with the Lender Agents) and the
  Consultant shall reconcile the results of the sales of Asset for the prior week, including, without
  limitation, Gross Sales, sales of Assets, Sale Expenses (including Consultant Incurred Expenses),
  and any other expenses that may be incurred in connection with the performance of Services that
  may be in conformity with any Supplemental Budget(s). The Company shall promptly pay or
  reimburse all amounts due to Consultant on account of Sale Expenses, including Consultant
  Incurred Expenses and other expenses incurred by Consultant for the previous week on account of
  which it is entitled to be reimbursed pursuant to the Sale Budget and/or any Supplemental
  Budget(s).

         4.3     No later than fourteen (14) business days following the end of the Sale Term, the
  Company (in consultation with the Lender Agents) and the Consultant shall complete a final
  accounting and reconciliation of all amounts contemplated by this Agreement (“Final
  Settlement”), including, without limitation, the determination and payment/reimbursement of any
  Sale Expenses, including Consultant Incurred Expenses, and such other expenses reimbursable to



                                                                                               A000209
                                                                                                    AB_0001210
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             126 of
                                                                 40149
                                                                    of 67
                                                                        PageID #: 4607




  Consultant in connection with the performance of Services that may be in conformity with any
  Supplemental Budget(s), if any.

         4.4       To the extent the Company fails to pay or reimburse the Consultant for any amount
  for which it is entitled to be reimbursed as and when due, the Consultant shall be entitled to set off
  Asset sale proceeds in its possession and/or the Expense Deposit as reimbursement for any such
  unreimbursed amounts as part of the weekly reconciliations under Section 4.2 hereof and/or the
  Final Settlement under Section 4.3 hereof.

  5.     Company Employees

          5.1      The Company and the Consultant shall cooperate to retain the employees of the
  Company (including the Store Employees) to be utilized to conduct the Sale at the Stores during
  the Sale Term, as such employees may be designated from time to time by Consultant, in its
  discretion. Such employees shall remain employees of the Company, and Consultant shall have
  no liability to such employees (including, without limitation, all the Store Employees and any of
  Company’s other current or former employees) of any kind or nature whatsoever, including,
  without limitation, with respect to severance pay, termination pay, vacation pay, pay in lieu of
  reasonable notice of termination, Worker Adjustment and Retraining Notification Act (“WARN
  Act”) payments, or any other costs, expenses, obligations, or liabilities arising from the Company’s
  employment or termination of such employees prior to, during, and subsequent to the Sale Term.
  Other than advising Company that Consultant no longer desires to utilize the services of any
  employee in connection with the sale or other disposition of the Assets, including as part of the
  Sale, Consultant shall not have the right to change the terms of employment of any employee(s).

  6.     Fulfillment of Pre-Sale Customer Orders

         6.1   In addition to providing the forgoing Services, the Consultant shall use
  commercially reasonable efforts to assist the Company in fulfilling certain pre-Sale
  Commencement Date orders for which the Company has received customer deposits (collectively,
  the “Pre-SCD Orders”).

                   (a)    On-Hand Fulfillment Orders. Consultant shall assist the Company in
  fulfilling certain Pre-SCD Orders having an aggregate retail value of approximately $22 Million
  (collectively, the “On-Hand Fulfillment Orders”), on account of which orders (i) the Company has
  received customer deposits in the aggregate amount of $18 Million (collectively, the “On-Hand
  Customer Deposits”) and (ii) with respect to which all of the goods necessary to fulfill such orders
  are on-hand either at the Company’s Distribution Centers or the Stores (collectively, the “On-Hand
  Fulfillment Merchandise”). As soon as reasonably practicable after the Sale Commencement Date,
  the Consultant shall assist the Company in earmarking the On-Hand Fulfillment Merchandise (and,
  to the extent necessary segregated by the Company) in order to fulfill and complete the On-Hand
  Fulfillment Orders. Consultant shall advise the Company in the development of efficient methods
  aimed at fulfilling the On-Hand Fulfillment Orders, and the Company and the Consultant shall use
  commercially reasonable efforts to deliver the On-Hand Fulfillment Merchandise as promptly as
  practicable, giving due consideration to the Company’s existing distribution/fulfillment
  capabilities. Any usual and customary costs and expenses incurred in connection with the
  fulfillment of any On-Hand Fulfillment Orders, including, but not limited to, labor, sales



                                                                                                 A000210
                                                                                                      AB_0001211
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             127 of
                                                                 41149
                                                                    of 67
                                                                        PageID #: 4608




  commissions and delivery (collectively, the “On-Hand Fulfillment Processing Expenses”), shall
  be borne exclusively by the Company, and the Consultant shall not be responsible for any such
  costs or expenses. Any funds received from customers on account of the On-Hand Fulfillment
  Orders, whether received prior to or after the Sale Commencement Date (including, without
  limitation, any On-Hand Customer Deposits), shall be retained by and/or remitted to the Company.
  To the extent any such funds are received from the customer in connection with the delivery of
  such On-Hand Fulfillment Goods, those funds shall be delivered by the Consultant to the Company
  on a weekly basis as part of the weekly reconciliation contemplated by Section 4.2 hereunder.
  Subject to Section 7.5 hereof, the On-Hand Fulfillment Merchandise shall be excluded from the
  definition of Merchandise hereunder; provided, that any proceeds realized by the Company upon
  fulfillment and completion of an On-Hand Fulfillment Order(s) in excess of the applicable On-
  Hand Customer Deposit shall constitute Gross Proceeds hereunder.

                   (b)   Back-Order Fulfillment Orders. Following the Sale Commencement Date,
  Consultant shall also assist the Company in evaluating the status certain Pre-SCD Orders
  (collectively, the “Back-Order Fulfillment Orders”), on account of which orders (i) the Company
  has received customer deposits (collectively, the “Back-Order Customer Deposits”) and (ii) with
  respect to which the goods necessary to fulfill such orders are not on-hand either at the Company’s
  Distribution Centers or the Stores (collectively, the “Back-Order Fulfillment Merchandise”). To
  the extent that a Back-Order Fulfillment Order(s) can be filled by the Company within a reasonable
  time after the Sale Commencement Date, the Company and the Consultant shall work together to
  implement a protocol for fulfillment of such order(s). To the extent that the Company is unable to
  fulfill a Back-Order Fulfillment, such Back-Order Fulfillment Order shall be cancelled by the
  Company, and the Company and the Consultant shall offer the affected customer the option of
  either (i) a merchandise credit in the amount of such customer’s respective Back-Order Customer
  Deposit (the “Cancelled Back-Order Merchandise Credit”), which Cancelled Back-Order
  Merchandise Credit must be used by the affected customer no later than April 15, 2020; or (ii)
  filing a claim in the Company’s bankruptcy case for the full amount of such customer’s Back-
  Order Customer Deposit.

                 (c)     If a customer cancels a Pre-SCD Order, or refuses to accept
  completion/delivery of either On-Hand Fulfillment Merchandise or a Back-Order Fulfillment
  Order (where the goods become available), the subject the On-Hand Fulfillment Merchandise,
  Back-Order Fulfillment Merchandise, as the case may be, attributable to such cancelled Pre-SCD
  Orders, shall thereupon constitute Merchandise and be included in the Sale, and the affected
  customer can file a claim in the bankruptcy case for the full amount of such customer’s deposit.

                   (d)     During the Sale Term, the Company shall provide, and continue to provide
  through the Sale Term, Consultant with all reports reasonably requested by Consultant with respect
  to the status of all Pre-SCD Orders.

  7.     Affirmative Duties Of Company

          7.1    The Company shall be solely liable for, and shall pay when due (except as provided
  in this Section 7.1) the following: (i) all Store-level operating expenses, all Sale Expenses
  (including, but not limited to, Consultant Incurred Expenses), Central Service expenses, any
  expenses provided for in any Supplemental Budget(s), and all other Sale-related expenses that are


                                                                                              A000211
                                                                                                   AB_0001212
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             128 of
                                                                 42149
                                                                    of 67
                                                                        PageID #: 4609




  necessary to conduct, or are incurred in the conduct of, the Sale or Company’s businesses,
  including, without limitation, all taxes, costs, expenses, accounts payable and other liabilities
  relating to the Sale, the Properties, Store Employees, any other agents and representatives of
  Company, and/or Company’s businesses. For the avoidance of doubt, unless otherwise agreed to
  by Company and Lender Agents in writing, the Company shall not be responsible for, and shall
  have no obligation to pay or reimburse, any Consultant Incurred Expenses or other expenses in
  excess of the amounts set forth in the Sale Budget or any Supplemental Budget(s).

          7.2     The Company shall collect all sales, excise, or gross receipts taxes. The Company
  shall be solely responsible for preparing and processing of all reporting forms, certificates, reports
  and other documentation required in connection with the payment of all applicable taxes
  (including, but not limited to, sales taxes collected as part of the Sale) to the appropriate taxing
  authorities; and Company shall pay all collected sales taxes when due in accordance with
  applicable law. The Consultant shall provide all assistance reasonably required or requested by
  the Company in connection with the preparation and processing of any such reporting forms,
  certificates, reports and other documentation required in connection with the payment of all
  applicable taxes (including, but not limited to, sales taxes collected as part of the Sale) to the
  appropriate taxing authorities.

          7.3      Without limiting any other term or provision of this Agreement, during the Sale
  Term, Company shall provide Consultant, with (i) Central Services; (ii) employees at the Stores
  necessary or appropriate to implement and conduct the Sale, and (iii) subject to lease expirations,
  peaceful use and occupancy of, and reasonable access (including reasonable before and after hours
  access and normal utilities/phone service) to, the Stores and Company’s corporate offices and
  Distribution Centers for the purpose of preparing for, conducting, and completing the Sale as
  contemplated hereby; provided, however, any incremental cost or expense to the Company in
  connection with the foregoing that is solely attributable to the Additional Consultant Goods shall
  reimbursed to the Company by the Consultant. In furtherance of the foregoing, the Company shall
  use reasonable efforts to (i) cause the Company’s employees, including Store Employees, to
  cooperate with Consultant and the Supervisors; (ii) execute all agreements determined by the
  Company and Consultant to be necessary or desirable for the operation of the Stores during the
  Sale; and (iii) arrange for the ordinary maintenance of all point-of-sale equipment required for the
  Stores.

          7.4    During the period between the Sale Commencement Date and April 15, 2020, the
  Company and the Consultant agree that gift cards and merchandise credits, including any
  Cancelled Back-Order Merchandise Credit shall be honored at the Stores in accordance with store-
  level operation procedures to be mutually agreed upon between the Company, the Consultant, and
  the Lender Agents. The Company and Consultant further agree that no gift cards shall be sold from
  the Stores during the Sale Term.

          7.5     During the first seven (7) days following the Sale Commencement Date, the
  Company agrees that returns of inventory sold prior to the Sale Commencement Date and either
  delivered to customers prior to or after the Sale Commencement Date (“Returned Merchandise”)
  shall be accepted in a manner consistent with Company’s customary practices and policies in effect
  on the Sale Commencement Date; provided however, no pricing adjustments, or returns of
  inventory sold prior to the Sale Commencement Date followed by the Customer’s attempt to



                                                                                                A000212
                                                                                                     AB_0001213
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             129 of
                                                                 43149
                                                                    of 67
                                                                        PageID #: 4610




  repurchase the item (or item of the same sku) at the discounted price shall be accepted or honored
  during the Sale Term. All customer requests for cash refunds or merchandise credits in respect of
  any Returned Merchandise shall be processed exclusively through Company’s point-of-sale
  system. All Returned Merchandise, to the extent it is not defective, shall be included as
  Merchandise. No returns of inventory sold prior to the Sale Commencement Date shall be accepted
  or allowed following the seventh (7th) day following the Sale Commencement Date.

          7.6     The Company agrees to procure and maintain, during the Sale Term, all insurance
  (including, without limitation, commercial general liability, property damage, fire and other perils
  insurance) currently in effect and in the same amounts, levels, deductibles, and coverages in
  respect of all Assets until sold.

          7.7      The Company shall indemnify and hold the Consultant and its affiliates, and their
  respective officers, directors, employees, agents and independent contractors (collectively,
  “Consultant Indemnified Parties”), harmless from and against all claims, demands, penalties,
  losses, liability or damage, including, without limitation, reasonable attorneys' fees and expenses,
  directly or indirectly asserted against, resulting from, or related to:

                 (a)     Company’s material breach or material failure of or failure to comply with
         any of its agreements, covenants, representations or warranties contained herein or in any
         written agreement entered into in connection herewith;

                 (b)    any failure of Company to pay to its employees any wages, salaries or
         benefits due to such employees during the Sale Term;

               (c)    any consumer warranty or products liability claims relating to any
         Merchandise;

                 (d)    any liability or other claims asserted by customers, any of Company’s
         employees, or any other person against any Consultant Indemnified Party (including,
         without limitation, claims by employees arising under collective bargaining agreements,
         worker's compensation or under the “WARN Act”); except where due to the negligence or
         willful misconduct of Consultant or from a breach of the terms hereof by Consultant;

                 (e)    any harassment or any other unlawful, tortious or otherwise actionable
         treatment of any employees, agents, or representatives of Consultant (including, without
         limitation, any Supervisors) by Company or any of Company’s employees, agents, or
         representatives (including, without limitation, any Company employees); and

                 (f)    the negligence or willful misconduct of Company or any of its officers,
         directors, employees, agents or representatives.

  8.     Affirmative Duties Of Consultant

          8.1      To the extent necessary, and except as provided in the Approval Orders, Consultant
  shall assist the Company in obtaining all required permits and governmental consents required in




                                                                                               A000213
                                                                                                    AB_0001214
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             130 of
                                                                 44149
                                                                    of 67
                                                                        PageID #: 4611




  order to conduct the Sale, and shall ensure that the Sale is conducted in accordance with all
  applicable laws, regulations and ordinances.

          8.2     The Consultant shall indemnify and hold Company and its affiliates, and their
  respective officers, directors, employees, agents, lenders and independent contractors
  (collectively, “Company Indemnified Parties”), harmless from and against all claims, demands,
  penalties, losses, liability or damage, including, without limitation, reasonable attorneys’ fees and
  expenses, directly or indirectly asserted against, resulting from, or related to:

                 (a)     Consultant’s material breach or material failure of or failure to comply with
         any of its agreements, covenants, representations or warranties contained herein or in any
         written agreement entered into in connection herewith;

                 (b)     any harassment or any other unlawful, tortious or otherwise actionable
         treatment of any employees or agents of Company (including, without limitation, any Store
         Employees) by Consultant or any of Consultant’s representatives (including, without
         limitation, any Supervisor);

                (c)    any claims by any party engaged by Consultant as an employee or
         independent contractor (including, without limitation, any Supervisor) arising out of such
         employment or engagement; except where due to the negligence or willful misconduct of
         Company or Company Indemnified Parties or from a breach of the terms hereof by
         Company; and

                 (d)    the negligence or willful misconduct of Consultant or any of its officers,
         directors, employees, agents or representatives, or any Supervisor.

  9.     Additional Consultant Goods

          9.1     In connection with the Sale, and subject to compliance with applicable law (or if
  and when applicable, the Approval Orders), Consultant shall have the right, at Consultant’s sole
  cost and expense, to supplement the Merchandise in the Sale with additional goods procured by
  Consultant which are of like kind, and no lesser quality to the Merchandise (“Additional
  Consultant Goods”). The Additional Consultant Goods shall be purchased by Consultant as part
  of the Sale, and delivered to the Stores (or direct shipped to customers) at Consultant’s sole cost
  and expense (including, without limitation, all acquisition costs, sales commissions, credit card
  processing fees, labor, freight and insurance relative to shipping and/or delivery of such Additional
  Consultant Goods). Sales of Additional Consultant Goods shall be run through Company’s point-
  of-sale systems; provided, however, that Consultant shall mark the Additional Consultant Goods
  using either a “dummy” SKU or department number, or in such other manner so as to distinguish
  the sale of Additional Consultant Goods from the sale of Merchandise. Consultant and Company
  shall also cooperate so as to ensure that the Additional Consultant Goods are marked in such a way
  that a reasonable consumer could identify the Additional Consultant Goods as non-Company
  goods. Additionally, Consultant shall provide signage in the Stores notifying customers that the
  Additional Consultant Goods have been included in the Sale. Absent the Company’s written




                                                                                                A000214
                                                                                                     AB_0001215
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             131 of
                                                                 45149
                                                                    of 67
                                                                        PageID #: 4612




  consent and subject to Consultant’s agreement to reimburse Company for any associated expenses,
  Consultant shall not use Company’s distribution centers for any Additional Consultant Goods.

          9.2    Consultant shall pay to the Company an amount equal to seven and one-half percent
  (7.5%) of the aggregate Gross Proceeds, net only of sales taxes collected in respect thereof, realized
  by Consultant from the sale of Additional Consultant Goods (the “Additional Consultant Goods
  Fee”). Consultant shall pay the Company any earned and accrued Additional Consultant Goods
  Fee on a weekly basis as part of each weekly sale reconciliation. Except for sales taxes associated
  with the sale of Additional Consultant Goods and Company’s Additional Consultant Goods Fee,
  all proceeds from the sale of Additional Consultant Goods shall be for the sole and exclusive
  account of Consultant, and shall be remitted to Consultant in connection with each weekly sale
  reconciliation. Consultant shall be responsible for collecting and remitting sales taxes to the
  applicable taxing authorities on account of sales of Additional Consultant Goods.

          9.3     The Consultant, the Company, and the Lender Agents intend that the transactions
  relating to the Additional Consultant Goods are, and shall be construed as, a true consignment
  from Consultant to Company in all respects and not a consignment for security purposes. Subject
  solely to Consultant’s obligations to pay to Company the Additional Consultant Goods Fee, at all
  times and for all purposes the Additional Consultant Goods and their proceeds shall be the
  exclusive property of Consultant, and no other person or entity, including, without limitation, the
  Lenders and Lender Agents, shall have any claim against any of the Additional Consultant Goods
  or their proceeds. The Additional Consultant Goods shall at all times remain subject to the
  exclusive control of Consultant. In furtherance of the foregoing, the Company acknowledges that
  the Additional Consultant Goods shall be consigned to Company as a true consignment under
  Article 9 of the Uniform Commercial Code (the “UCC”). The Consultant is hereby granted a first
  priority security interest in and lien upon (i) the Additional Consultant Goods and (ii) the
  Additional Consultant Goods proceeds (less any Additional Consultant Goods Fee), and
  Consultant is hereby authorized to file UCC financing statements and provide notifications to any
  prior secured parties, including, but not limited to, the Lender Agents.

          9.4     The Company shall, at Consultant’s sole cost and expense, insure the Additional
  Consultant Goods and, if required, promptly file any proofs of loss with regard to same with
  Company’s insurers. Consultant shall be responsible for payment of any deductible (but only in
  relation to the Additional Consultant Goods) under any such insurance in the event of any casualty
  affecting the Additional Consultant Goods.




                                                                                                A000215
                                                                                                     AB_0001216
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             132 of
                                                                 46149
                                                                    of 67
                                                                        PageID #: 4613




  10.   Representation and Warranties

         10.1 Representations and Warranties of the Consultant. Each entity comprising
  Consultant hereby represents, warrants and covenants in favor of Company as follows:

                (a)    Consultant has taken all necessary action required to authorize the
        execution, performance and delivery of this Agreement, and to consummate the
        transactions contemplated hereby.

                (b)    Upon execution by the parties hereto, this Agreement is a valid and binding
        obligation of Consultant enforceable in accordance with its terms, subject to the entry of
        the Approval Orders as and to the extent required to the effectiveness hereof.

                (c)    No action or proceeding has been instituted or, to Consultant’s knowledge,
        threatened, affecting the Consultant’s ability to consummate this Agreement or the
        transactions contemplated herein.

                (d)     Except as provided in the Approval Orders and the Sale Guidelines,
        Consultant will comply with and act in accordance with any and all applicable state and
        local laws, rules and regulations and other legal obligations of all governmental authorities
        and the terms/restrictions of the underlying Stores’ leases.

         10.2 Representations and Warranties of the Company: the Company hereby represents,
  warrants and covenants in favor of Consultant as follows:

                (a)    Subject to the entry of the Approval Orders as and to the extent required to
        the effectiveness hereof, the Company has taken all necessary action required to authorize
        its execution, performance and delivery of this Agreement, and to consummate the
        transactions contemplated hereby.

                (b)    Subject to the entry of the Approval Orders as and to the extent required to
        the effectiveness hereof, upon execution by the Company, this Agreement is a valid and
        binding obligation of the Company enforceable in accordance with its terms, subject only
        to any applicable bankruptcy, insolvency or similar laws affecting the rights of creditors
        generally and the availability of equitable remedies.

                (c)     Except as may be affected by the Company’s commencement of the
        Bankruptcy Case, no court order or decree of any federal, state or local governmental
        authority or regulatory body is in effect that would prevent or impair, or is required for the
        Company’s consummation of the transactions contemplated by this Agreement, and no
        consent of any third party which has not been obtained is required therefor.

                 (d)    The Company has all requisite authority to grant the License to Consultant
        to utilize the Properties and the Intellectual Property, including, without limitation, the
        tradenames “Art Van Furniture”, “Wolf Furniture”, “Levin Furniture”, and similar
        derivations thereof as provided for under this Agreement.




                                                                                               A000216
                                                                                                    AB_0001217
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             133 of
                                                                 47149
                                                                    of 67
                                                                        PageID #: 4614




                 (e)     The Company has maintained its pricing files in the ordinary course of
         business, and prices charged to the public for goods are the same in all material respects as
         set forth in such pricing files for the periods indicated therein, and all pricing files, records,
         and information received by Consultant are true and accurate in all material respects.

                 (f)     Except for the liens of the ABL Lenders and Term Loan Lenders, all Assets
         are, or will be as of the Sale Commencement Date free and clear of all liens, claims and
         encumbrances of any kind whatsoever.

          11.   Bankruptcy Matters. If the Company commences a case under Chapter 11 of title
  11, United States Code (the “Bankruptcy Code”), in the Bankruptcy Court, the Company shall
  promptly file an expedited motion (a) seeking authorization to conduct the Sale and sell or
  otherwise dispose of the Assets, and (b) to assume this Agreement under section 365 of the
  Bankruptcy Code, and utilize its reasonable best efforts to ensure that such motion is approved by
  the Interim Order, and thereafter the Final Order (together with the Interim Order, the “Approval
  Orders”). The Approval Orders shall be reasonably acceptable in form and substance to the
  Consultant, the Company and the Lender Agents, and provide for, among other things, the
  following:

                (a)     approval of the transactions contemplated by this Agreement, including,
         without limitation, the company’s conduct of the Sale and the sale of the other Assets;

                (b)    approving the Company’s retention and employment of Consultant to
         perform the Services contemplated by this Agreement;

                 (c)     approving the Sale Guidelines;

                 (d)     authorizing the Company’s reimbursement to Consultant of all Sale
         Expenses advanced by the Consultant, including Consultant Incurred Expenses, together
         with any additional expenses incurred pursuant to any Supplemental Budget(s), such
         reimbursements to be made on a weekly basis and otherwise in accordance with this
         Agreement, from the Expense Deposit, and thereafter from gross receipts from the sale or
         other disposition of the Assets (or retained by the Consultant from such receipts) without
         further order of the Bankruptcy Court and otherwise in accordance with this Agreement,
         in each case without further order of the Bankruptcy Court, and any such
         payment(s)/reimbursement(s) shall be free and clear of all liens, claims and encumbrances;

                 (e)     providing that the authority granted herein for the reimbursement of Sale
         Expenses, including Consultant Incurred Expenses, and any other expenses incurred or
         advanced by Consultant pursuant to any Supplemental Budget(s), shall be subject to the
         provisions of (i) that certain proposed Interim Order authorizing the Company Use of Cash
         Collateral” (the “Interim Cash Collateral Order”) to be filed and entered in the Bankruptcy
         Case, and shall be made strictly in accordance with the Cash Collateral Budget (as defined
         in the Interim Cash Collateral Order), subject to such variances as permitted by the Cash
         Collateral Order; provided, however, that neither the Interim Cash Collateral Order shall
         not require or impose a cap or reduction on amounts due to the Consultant under this




                                                                                                   A000217
                                                                                                        AB_0001218
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             134 of
                                                                 48149
                                                                    of 67
                                                                        PageID #: 4615




         Agreement, other than any such cap or reduction resulting from the Company’s required
         compliance with the Cash Collateral Budget;

                (f)     not later than two (2) business days after entry of the Interim Order the
         Company shall deliver to the Consultant the Expense Deposit as set forth in the Sale Budget
         as security for payment or reimbursement to Consultant of Sale Expenses incurred by
         Consultant on account of which it is entitled to be reimbursed;

                 (e)     any remaining balance of Expense Deposit being held by Consultant upon
         completion of the Final Settlement shall (i) be applied by Consultant as shall be set forth
         in the Final Settlement, and (ii) be subject to all provisions relating to Cash Collateral set
         forth in the Interim Cash Collateral Order;

                 (f)    authorizing the Company’s conduct of the Sale without the necessity of
         complying with state and local rules, laws, ordinances and regulations, including, without
         limitation, permitting and licensing requirements, that could otherwise govern the Sale;

                 (g)     authorizing the Company’s conduct of the Sale notwithstanding restrictions
         in leases, reciprocal easement agreements or other contracts that purport to restrict the Sale
         or the necessity of obtaining any third party consents;

                (h)    approving the sale of Additional Consultant Goods in accordance with the
         terms and conditions hereof; and

                (i)     authorizing the Consultant and the Company to take all further actions as
         are necessary or appropriate to carry out the terms and conditions of this Agreement.

  Upon the commencement of the Bankruptcy Case, any legal action, suit or proceeding arising in
  connection with this Agreement shall be submitted to the exclusive jurisdiction of the Bankruptcy
  Court having jurisdiction over the Company’s Bankruptcy Case, and each Party hereby waives
  any defenses or objections based on lack of jurisdiction, improper venue, and/or forum non
  conveniens. From and after entry of the Approval Orders, Consultant shall conduct the Sale in
  accordance with the terms of the Approval Orders in all material respects.

  12.    Insurance; Risk of Loss

          12.1 Company shall maintain throughout the Sale Term, (i) insurance with respect to the
  Assets in amounts and on such terms and conditions as are consistent with the Company’s ordinary
  course operations and (ii) casualty and liability insurance policies (including, but not limited to,
  product liability, comprehensive public liability insurance and auto liability insurance) covering
  injuries to persons and property in or in connection with the operation of the Stores, and shall cause
  Consultant to be listed as an additional insured with respect to all such policies, and as loss payee
  for the property insurance. Company shall be responsible for the payment of all deductibles, self-
  insurance and other amounts payable in connection with any claim asserted under such policies,
  except for any claims arising directly from the negligence or willful misconduct of Consultant, or
  its employees, representatives, agents or Supervisors.




                                                                                                A000218
                                                                                                     AB_0001219
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             135 of
                                                                 49149
                                                                    of 67
                                                                        PageID #: 4616




          12.2 Consultant shall maintain, throughout the Sale Term, liability insurance policies
  (including, but not limited to, comprehensive general liability and auto liability insurance)
  covering injuries to persons and property in or in connection with Consultant’s provision of
  Services at the Stores, and shall cause Company to be named an additional insured with respect to
  such policies.

         12.3 Notwithstanding any other provision of this Agreement, the Company and the
  Consultant agree that Company shall bear all responsibility for liability claims (product liability
  and otherwise) of customers, employees and other persons arising from events occurring at the
  Stores before, during and after the Sale Term, except to the extent any such claim arises from the
  negligence, willful misconduct, or unlawful acts of the Consultant or any Supervisor engaged by
  Consultant under the terms of this Agreement.

  13.    Miscellaneous

         13.1 Any notice or other communication under this Agreement shall be in writing and
  may be delivered personally or sent by facsimile or by prepaid registered or certified mail,
  addressed as follows:

           If to the Company:               c/o AVF HOLDING COMPANY, INC.
                                            6500 East Fourteen Mile Road
                                            Warren, MI 48092
                                            Attn: David Ladd
                                            Email: dladd@artvan.com

                                            With copies to:

                                            MONTGOMERY MCCRACKEN WALKER &
                                            RHOADS, LLP
                                            437 Madison Avenue
                                            New York, NY 10022
                                            Attn: Maura I. Russell
                                            Email: mrussell@mmwr.com

                                            ALVAREZ & MARSAL, LLP
                                            600 Madison Avenue – 7th Floor
                                            New York, NY 10022
                                            Attn: Dennis Stogsdill
                                                  Matthew Davidson
                                            Email: DStogsdill@alvarezandmarsal.com
                                                  matthew.davidson@alvarezandmarsal.com




                                                                                              A000219
                                                                                                   AB_0001220
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             136 of
                                                                 50149
                                                                    of 67
                                                                        PageID #: 4617




          If to the Consultant:     HILCO MERCHANT RESOURCES, LLC, HILCO
                                    IP SERVICES, LLC D/B/A HILCO STREAMBANK,
                                    HILCO REAL ESTATE, LLC, AND HILCO
                                    RECEIVABLES, LLC
                                    5 Revere Drive, Suite 206
                                    Northbrook, IL 60062
                                    Attention: Ian S. Fredericks
                                    Tel: (847) 418-2075
                                    Email: ifredericks@hilcotrading.com

                                            -and-

                                    GORDON BROTHERS RETAIL PARTNERS, LLC,
                                    DJM REALTY SERVICES, LLC D/B/A GORDON
                                    BROTHERS REAL ESTATE, GORDON
                                    BROTHERS COMMERCIAL & INDUSTRIAL, LLC
                                    AND GORDON BROTHERS BRANDS, LLC
                                    Prudential Tower
                                    800 Boylston Street
                                    Boston, MA 02119
                                    Attn: Mackenzie L. Shea
                                    Tel: (617) 210-7116
                                    Email: mshea@gordonbrothers.com

                                    With a copy to (which shall not constitute notice):

                                    RIEMER & BRAUNSTEIN LLP
                                    Times Square Tower
                                    Seven Times Square, Suite 2506
                                    New York, NY 10036
                                    Attn: Steven E. Fox
                                    Email: sfox@riemerlaw.com

          If to the ABL Lenders:    WELLS FARGO BANK, NATIONAL
                                    ASSOCIATION
                                    125 High Street, 11th Floor
                                    Boston, MA 02110
                                    Attn: Danielle Baldinelli
                                    Email: Danielle.M.Baldinelli@wellsfargo.com

                                    MORGAN, LEWIS & BOCKIUS LLP
                                    One Federal Street
                                    Boston, MA 02110-1726
                                    Attn: Marjorie B. Crider
                                    Email: marjorie.crider@morganlewis.com



                                                                                      A000220
                                                                                           AB_0001221
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             137 of
                                                                 51149
                                                                    of 67
                                                                        PageID #: 4618




           If to the Term Lenders:          King & Spalding LLP
                                            1185 Avenue of the Americas
                                            New York, NY 10036
                                            Attn: W. Todd Holleman
                                            Email: tholleman@kslaw.com


         13.2 Governing Law. This Agreement shall be governed by and interpreted in
  accordance with the internal laws of the State of New York, without reference to any conflict of
  laws provisions.

          13.3 Severability. In the event any term or provision contained within this Agreement
  shall be deemed illegal or unenforceable, then such offending term or provision shall be considered
  deleted from this Agreement and the remaining terms shall continue to be in full force and effect.

          13.4 Entire Agreement. This Agreement constitutes the entire agreement between the
  parties with respect of the subject matter hereof and supersedes all prior negotiations and
  understandings, and can only be modified by a writing signed by the Company (with the consent
  of the Lender Agents, which consent shall not be unreasonably withheld, delayed or conditioned)
  and the Consultant.

           13.5 Assignment. Neither Company nor Consultant shall assign this Agreement without
  the express written consent of the other; provided, however, notwithstanding the foregoing, the
  Consultant may delegate and assign its rights and obligations under this Agreement to one or more
  affiliates with subject matter experience with applicable Assets without the consent of the
  Company. This Agreement shall inure to the benefit of, and be binding upon, the parties and their
  respective successors and permitted assigns.

          13.6 Counterparts. This Agreement may be executed in several counterparts, each of
  which when so executed shall be deemed to be an original and such counterparts, together, shall
  constitute one and the same instrument. Delivery by facsimile of this Agreement or an executed
  counterpart hereof shall be deemed a good and valid execution and delivery hereof or thereof.

            13.7 Independent Contractor. Nothing contained herein shall be deemed to create any
  relationship between the Company and the Consultant other than that of an independent contractor.
  It is stipulated that the parties are not partners or joint venturers.

          13.8 Termination. This Agreement shall terminate upon the earlier to occur (a) in the
  event the Bankruptcy Court does not enter the Interim Order on or before March 10, 2020, (b) in
  the event the Sale Commencement Date does not occur on or prior to March 7, 2020, (c) in the
  event the Bankruptcy Court does not enter the Final Order on or before March 31, 2020, (d) the
  mutual agreement of the Parties, or (e) upon the completion and approval of the Final Settlement;
  provided, however, that either party may terminate this Agreement in the event that the other
  commits a material breach or material failure of its obligations hereunder. If either party seeks to
  terminate this Agreement by reason of a claim of a material breach or material failure, such party
  shall provide the other party with not less than five (5) days’ prior written notice stating with
  specificity the nature of the claimed material breach or material failure, and the party receiving



                                                                                               A000221
                                                                                                    AB_0001222
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             138 of
                                                                 52149
                                                                    of 67
                                                                        PageID #: 4619




  such notice shall have five (5) business days in which to cure such material breach or material
  failure, failing which this Agreement shall be deemed terminated. In the event this Agreement is
  terminated by Consultant on account of a material breach or material failure by the Company,
  Consultant shall be entitled to be reimbursed any Sale Expenses, including Consultant Incurred
  Expenses and any other expenses incurred in conformity with the Sale Budget or any Supplemental
  Budget(s) through the date of such termination.

          13.8 Confidentiality. Except for such disclosure as may be required and/or incident to
  Asset sale-related activities and Services provided for herein, all information of a business nature
  relating to the pricing, sales, promotions, marketing, assets, liabilities or other business affairs of
  Company, its customers, parent, subsidiary or other affiliated entities (for purposes of this
  provision, all such entities are included within each reference to “Company”) is Company’s
  confidential, trade secret information (“Company Confidential Information”), which is and shall
  remain the exclusive intellectual property of Company. Consultant shall not divulge, furnish,
  make available or in any other manner disclose such information to any third party other than
  Consultant’s officers, employees, representatives and agents. Consultant shall take and shall cause
  its officers, employees, representatives and agents to take such action as shall be reasonably
  necessary or advisable to preserve and protect the confidentiality of Company Confidential
  Information. Consultant agrees to maintain strict confidentiality and agrees that it may use
  Company Confidential Information only as reasonably necessary to the performance of its
  obligations related to the sale of the Assets as contemplated hereby. Notwithstanding the
  foregoing, Company hereby agrees that Consultant may identify Company as a Consultant
  customer for which Consultant has provided services for purposes of promoting its business.

          13.9 Force Majeure. If any casualty or act of God, war, or terrorism prevents or
  substantially inhibits the conduct of business in the ordinary course at any Store(s), or results in a
  material loss or impairment of the Assets, then the subject location(s) and the remaining
  Merchandise located thereat shall be eliminated from the Sale and considered to be deleted from
  this Agreement as of the date of such event, and Consultant and shall have no further rights or
  obligations hereunder with respect thereto; provided, however, that the proceeds of any insurance
  attributable to impacted Assets or proceeds from business interruption insurance shall constitute
  Gross Proceeds hereunder.

         13.10 By executing or otherwise accepting this Agreement, the Company and Consultant
  acknowledge and represent that they are represented by and have consulted with independent legal
  counsel with respect to the terms and conditions contained herein.




                                                                                                 A000222
                                                                                                      AB_0001223
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             139 of
                                                                 53149
                                                                    of 67
                                                                        PageID #: 4620




         13.11 This Agreement shall be deemed drafted by both parties hereto, and there shall be
  no presumption against either party in the interpretation of this Agreement.


                                [Remainder of Page Intentionally Left Blank]
                                    [Signatures Appear On Next Page]




                                                                                         A000223
                                                                                              AB_0001224
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             140 of
                                                                 54149
                                                                    of 67
                                                                        PageID #: 4621




                                                                             A000224
                                                                                  AB_0001225
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             141 of
                                                                 55149
                                                                    of 67
                                                                        PageID #: 4622




                                 HILCO MERCHANT RESOURCES, LLC,
                                 HILCO IP SERVICES, LLC D/B/A HILCO
                                 STREAMBANK, HILCO REAL ESTATE, LLC, AND
                                 HILCO RECEIVABLES, LLC



                                 By:___________________________________
                                    Name:    Sarah Baker
                                    Title:   Assistant General Counsel

                                              - and –

                                 GORDON BROTHERS RETAIL PARTNERS, LLC,



                                 By:___________________________________
                                    Name:    __________________________
                                    Its:     __________________________



                                 DJM REALTY SERVICES, LLC D/B/A GORDON
                                 BROTHERS REAL ESTATE




                                 By:___________________________________
                                    Name:    __________________________
                                    Its:     __________________________



                                 GORDON BROTHERS COMMERCIAL &
                                 INDUSTRIAL, LLC



                                 By:___________________________________
                                    Name:    __________________________
                                    Its:     __________________________




                                                                             A000225
                                                                                  AB_0001226
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             142 of
                                                                 56149
                                                                    of 67
                                                                        PageID #: 4623




                                                                             A000226
                                                                                  AB_0001227
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             143 of
                                                                 57149
                                                                    of 67
                                                                        PageID #: 4624




                                 +,/&20(5&+$175(6285&(6//&
                                 +,/&2,36(59,&(6//&'%$+,/&2
                                 675($0%$1.+,/&25($/(67$7(//&$1'
                                 +,/&25(&(,9$%/(6//&
  
                                 
                                 
                                 %\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                    1DPH   6DUDK%DNHU
                                    7LWOH  $VVLVWDQW*HQHUDO&RXQVHO

                                                 DQG±

                                 *25'21%527+(565(7$,/3$571(56//&



                                 %\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                    1DPH   BBBBBBBBBBBBBBBBBBBBBBBBBB
                                    ,WV   BBBBBBBBBBBBBBBBBBBBBBBBBB



                                 '-05($/7<6(59,&(6//&'%$*25'21
                                 %527+(565($/(67$7(




                                 %\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                    1DPH   Mark T. Dufton
                                             BBBBBBBBBBBBBBBBBBBBBBBBBB
                                    ,WV   Chief Executive Officer , Real Estate
                                             BBBBBBBBBBBBBBBBBBBBBBBBBB



                                 *25'21%527+(56&200(5&,$/ 
                                 ,1'8675,$///&



                                 %\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                    1DPH   BBBBBBBBBBBBBBBBBBBBBBBBBB
                                    ,WV   BBBBBBBBBBBBBBBBBBBBBBBBBB




                                           

                                                                                     A000227
                                                                                          AB_0001228
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             144 of
                                                                 58149
                                                                    of 67
                                                                        PageID #: 4625




                                 +,/&20(5&+$175(6285&(6//&
                                 +,/&2,36(59,&(6//&'%$+,/&2
                                 675($0%$1.+,/&25($/(67$7(//&$1'
                                 +,/&25(&(,9$%/(6//&
  
                                 
                                 
                                 %\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                    1DPH   6DUDK%DNHU
                                    7LWOH  $VVLVWDQW*HQHUDO&RXQVHO
                                    
                                             DQG±
                                             
                                 *25'21%527+(565(7$,/3$571(56//&
        
                                 
                                 
                                 %\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                    1DPH   BBBBBBBBBBBBBBBBBBBBBBBBBB
                                    ,WV   BBBBBBBBBBBBBBBBBBBBBBBBBB
                                    
                                    
                                             
                                 '-05($/7<6(59,&(6//&'%$*25'21
                                 %527+(565($/(67$7(
                                 
        
                                 
                                 
                                 %\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                    1DPH   BBBBBBBBBBBBBBBBBBBBBBBBBB
                                    ,WV   BBBBBBBBBBBBBBBBBBBBBBBBBB
                                    
                                    
                                             
                                 *25'21%527+(56&200(5&,$/ 
                                 ,1'8675,$///&
        
                                 
                                 
                                      Robert J Maroney
                                 %\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                    1DPH     Robert J. Maroney
                                             BBBBBBBBBBBBBBBBBBBBBBBBBB
                                    ,WV     President
                                             BBBBBBBBBBBBBBBBBBBBBBBBBB
                                    
                                    
                                             

                                          
  
                                                                             A000228
                                                                                  AB_0001229
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             145 of
                                                                 59149
                                                                    of 67
                                                                        PageID #: 4626




                                 *25'21%527+(56%5$1'6//&
                                 
        
                                 


                                               passss
                                 
                                 %\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                           BBBBBBBBBBBBBBBBBBB
                                    1DPH    BBBBBBBBBBBBBBBBBBBBBBBBBB
                                              BBBBBBBBBBBBBBBB
                                              BBBBBBBBBBBBBBB
                                                            BBBBBBBB
                                                                  SBBBB
                                                                    BB
                                    ,WV
                                                             BASS   4
                                              BBBBBBBBBBBBBBBBBBBBBBBBBB
                                                BBBBBBBBBBBBB
                                                BBBBBBBBBBBBBB
                                                PRESIDENT
                                    
                                    
                                              
                                    
  
                                >6LJQDWXUHV&RQWLQXH1H[W3DJH@
                                               
                                 
                          




                                              
  
                                                                             A000229
                                                                                  AB_0001230
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             146 of
                                                                 60149
                                                                    of 67
                                                                        PageID #: 4627




                                                                             A000230
                                                                                  AB_0001231
Case 1:22-cv-00450-CFC
             Case 20-10553-CSS
                        DocumentDoc
                                 22-752-2
                                       FiledFiled
                                             07/25/22
                                                  03/09/20
                                                        PagePage
                                                             147 of
                                                                 61149
                                                                    of 67
                                                                        PageID #: 4628




                                                                             A000231
                                                                                  AB_0001232
Art Van Furniture
                                                                                      Case 20-10553-CSS
                                                                         Case 1:22-cv-00450-CFC  DocumentDoc
                                                                                                          22-752-2
                                                                                                                FiledFiled 03/09/20
                                                                                                                      07/25/22   PagePage 62149
                                                                                                                                      148 of of 67
                                                                                                                                                 PageID #: 4629
Results ‐ Store Count Strategy by Location

        169 # Stores included in liquidation                                       Yes
          2 # stores closed prior to sale commencement                             No

Financial Information in ($000's)
                                                                     Location Information                                                                                                                                                                               Location Space Details
                                                            Original                  Include                     Direct                       Store   Company       Gross         Selling            Lease         Lease           Months          SLB                                                                         Master
  Store #                    Store Name                   Store Name              in Liquidation               Marketing Area                  Type    Affiliation   Sq. Ft.       Sq. Ft.        Beginning Date    Expire.        Remaining      Property                         Landlord                                     Lease                                          Address
          1   Bel Air, MD (1)                BEL AIR (#65)                              Yes        Baltimore                             Standard        WLF              74,400        62,000          5/15/2015    12/31/2025             70      No       CAMPUS HILLS MARYLAND ASSOCIATES, L.P. None                                         2400 E Churchville Rd, Bel Air, MD, 21015, USA
          2   Pasadena, MD (2)               PASADENA (#61)                             Yes        Baltimore                             Standard        WLF              61,646        54,000          5/15/2015     8/31/2025             66      No       ARUNDEL PROPERTY INVESTORS LP                     None                              8038 Ritchie Hwy, Pasadena, MD, 21122, USA
          3   Westminster, MD (3)            WESTMINSTER (#64)                          Yes        Baltimore                             Standard        WLF              40,550        38,000          5/15/2015     8/31/2021             18      No       WESTMINSTER GATEWAY, LLC                          None                              1030 Baltimore Blvd Suite 110, Westminster, MD, 21157, USA
          4   Towson, MD (4)                 TOWSON (#63)                               Yes        Baltimore                             Standard        WLF              54,000        46,000          5/15/2015     4/30/2038            218      Yes      STORE CAPITAL                                     Store Master Funding XII, LLC     1530 E Joppa Rd, Towson, MD, 21286, USA
          5   Catonsville, MD (5)            CATONSVILLE (#62)                          Yes        Baltimore                             Standard        WLF            115,300         40,000          5/15/2015     8/31/2025             66      No       JMB JOINT VENTURE                                 None                              6415 Baltimore National Pike, Catonsville, MD, 21228, USA
          6   Downers Grove, IL (6)          DOWNERS GROVE AVF & SSI (#199)             Yes        Chicago                               Flagship        AVF            100,000         92,428           8/1/2015     3/31/2037            205      Yes      STORE CAPITAL                                     STORE SPE AVF I 2017-1, LLC       1021 BUTTERFIELD RD, DOWNERS GROVE, IL, 60515, USA
          7   Merrillville, IN (7)           MERRILLVILLE AVF                           Yes        Chicago                               Standard        AVF              50,000        43,130          8/24/2013     2/28/2023             36      No       ACADIA MERRILLVILLE REALTY, L.P.                  None                              1600 E 80TH AVE, MERRILLVILLE, IN, 46410, USA
          8   Naperville, IL (8)             NAPERVILLE AVF                             Yes        Chicago                               Standard        AVF              62,000        52,753          6/18/2015     8/31/2025             66      No       BRIXMOR HERITAGE SQUARE, LLC                      None                              404 SOUTH ROUTE 59, NAPERVILLE, IL, 60540, USA
          9   Bedford Park, IL (9)           BEDFORD PK AVF                             Yes        Chicago                               Standard        AVF              84,505        71,590         10/26/2013     4/30/2024             50      No       SPIRIT SPE LOAN PORTFOLIO 2013-3, LLC             None                              7200 S CICERO AVE, BEDFORD PARK, IL, 60638, USA
         10   Elston, IL (10)                ELSTON AVE AVF                             Yes        Chicago                               Standard        AVF              48,000        40,660         10/26/2013     4/30/2024             50      No       Farbman Group                                     None                              2606 ELSTON AVE, CHICAGO, IL, 60647, USA
         11   Batavia, IL (11)               BATAVIA AVF                                Yes        Chicago                               Standard        AVF              42,500        37,055          9/14/2013     1/31/2024             47      No       PARAGON BATAVIA, LLC                              None                              165 N RANDALL RD, BATAVIA, IL, 60510, USA
         12   Orland Park, IL (12)           ORLAND PARK AVF                            Yes        Chicago                               Standard        AVF              65,523        53,329          7/13/2013     5/31/2024             51      No       55th & S. Kedzie, LLC                             None                              15080 S LA GRANGE RD, ORLAND PARK, IL, 60462, USA
         13   Algonquin, IL (13)             ALGONQUIN AVF                              Yes        Chicago                               Standard        AVF              48,397        41,272          3/31/2016     7/31/2025             65      No       c/o Mid America Asset Management, Inc.            None                              1500 S RANDALL ROAD, ALGONQUIN, IL, 60102, USA
         14   Kildeer, IL (14)               KILDEER AVF                                Yes        Chicago                               Standard        AVF              40,628        34,534          10/4/2017     9/30/2027             91      No       Kildeer Village Square, LLC.                      None                              20393 N RAND RD, KILDEER, IL, 60074, USA
         15   Glendale Heights, IL (15)      GLENDALE HEIGHTS AVF                       Yes        Chicago                               Standard        AVF              60,820        37,044          2/26/2016     3/31/2026             73      No       125 W. Army Trail Road LLC                        None                              125 ARMY TRAIL ROAD, GLENDALE HGTS, IL, 60139, USA
         16   Deerfield, IL (16)             DEERFIELD AVF                              Yes        Chicago                               Standard        AVF              41,966        35,671         12/13/2017     2/29/2028             96      No       Gateway Fairview, Inc.                            None                              120 S. WAUKEGAN, DEERFIELD, IL, 60015, USA
         17   Schaumburg, IL (17)            SCHAUMBURG AVF& SSI (#303)                 Yes        Chicago                               Flagship        AVF              71,400        61,990         10/29/2016     3/31/2037            205      Yes      STORE CAPITAL                                     Store Master Funding XII, LLC     1293 E HIGGINS RD, SCHAUMBURG, IL, 60173, USA
         18   Joliet, IL (18)                JOLIET PS                                  Yes        Chicago                               Sleep           APS               3,116          2,884        12/26/2017    12/31/2027             94      No       GW Fidelity PH, LLC                               None                              2901 PLAINFIELD, JOLIET, IL, 60435, USA
         19   Burbank, IL (19)               BURBANK PS                                 Yes        Chicago                               Sleep           APS               3,994          3,476         3/21/2015     3/31/2025             61      No       WM 73 RE, LLC                                     None                              7712 CICERO AVENUE, BURBANK, IL, 60459, USA
         20   Woodridge, IL (20)             WOODRIDGE AVF                              Yes        Chicago                               Standard        AVF              68,400        59,687          3/27/2014    10/31/2037            212      Yes      STORE CAPITAL                                     STORE SPE AVF II 2017-2, LLC      900 E BOUGHTON RD, WOODRIDGE, IL, 60517, USA
         21   Gurnee, IL (21)                GURNEE AVF                                 Yes        Chicago                               Standard        AVF              34,000        28,900          6/26/2018    12/31/2032            154      No       3503 RP Gurnee, L.L.C.                            None                              6911 W. GRAND AVE, GURNEE, IL, 60031, USA
         22   Plainfield, IL (22)            PLAINFIELD PS                              Yes        Chicago                               Sleep           APS               3,600          3,290         2/11/2017     2/28/2027             84      No       NATIONAL SHOPPING PLAZAS, INC.                    None                              13511 S ROUTE 59, PLAINFIELD, IL, 60544, USA
         23   Willowbrook, IL (23)           WILLOWBROOK PS                             Yes        Chicago                               Sleep           APS               3,834          3,400         12/3/2016     1/31/2027             83      No       NATIONAL SHOPPING PLAZAS, INC.                    None                              6938 KINGERY HIGHWAY, WILLOWBROOK, IL, 60527, USA
         24   Chicago, IL (24)               ASHLAND PS                                 Yes        Chicago                               Sleep           APS               3,000          2,600         9/10/2016     9/30/2026             79      No       NATIONAL SHOPPING PLAZAS, INC.                    None                              2911 N. ASHLAND AVENUE, CHICAGO, IL, 60657, USA
         25   Bloomingdale, IL (25)          BLOOMINGDALE PS                            Yes        Chicago                               Sleep           APS               4,798          4,370         5/26/2017     4/30/2027             86      No       Bloomingdale Square, LP                           None                              398 W ARMY TRAIL RD #102, BLOOMINGDALE, IL, 60108, USA
         26   Harwood Heights, IL (26)       HARWOOD HEIGHTS AVF                        Yes        Chicago                               Standard        AVF              60,000        51,000         11/15/2017    12/31/2038            226      No       DBD AVF                                           None                              7304 WEST LAWRENCE AVE, HARWOOD HEIGHTS, IL, 60706, U
         27   Avon, OH (27)                  AVON (#45, 46 CC)                          Yes        Cleveland                             Standard         LVF             77,000        72,380           7/1/2011    11/30/2037            213      Yes      VEREIT REAL ESTATE LP                             Vereit                            1801 NAGEL ROAD, AVON, OH, 44011, USA
         28   North Canton, OH (28)          CANTON (#14, 25, 26 CC)                    Yes        Cleveland                             Standard         LVF             65,765        60,199           3/1/2008    11/30/2037            213      Yes      VEREIT REAL ESTATE LP                             Vereit                            6229 PROMLER AVENUE NW, NORTH CANTON, OH, 44720, USA
         29   Akron, OH (29)                 AKRON (#23, 24 CC)                         Yes        Cleveland                             Standard         LVF             69,422        65,257          10/1/2005     9/30/2020              7      No       TABANI AKRON, LP                                  None                              3742 BROOKWALL DRIVE, AKRON, OH, 44333, USA
         30   Middleburg Heights, OH (30)    MIDDLEBURG (#11, 31 CC)                    Yes        Cleveland                             Standard         LVF             50,000        45,172           7/1/1993    11/30/2037            213      Yes      VEREIT REAL ESTATE LP                             Vereit                            16960 SPRAGUE ROAD, MIDDLEBURG HEIGHTS, OH, 44130, US
         31   Mentor, OH (31)                MENTOR (#9, 27, 28 CC)                     Yes        Cleveland                             Standard         LVF             75,600        70,712           7/1/2009    11/30/2037            213      Yes      VEREIT REAL ESTATE LP                             Vereit                            7799 MENTOR AVE, MENTOR, OH, 44060, USA
         32   Oakwood Village, OH (32)       OAKWOOD VILLAGE (#18, 19 CC)               Yes        Cleveland                             Standard         LVF             89,723        67,723           8/1/2002    11/30/2027             93      No       FIRST INERNATIONAL HAWTHORNE LP                   None                              23100 BROADWAY AVE, OAKWOOD VILLAGE, OH, 44146, USA
         33   North Olmsted, OH (33)         NORTH OLMSTED (#12, 34 CC)                 Yes        Cleveland                             Standard         LVF             46,000        41,270           8/1/1996     1/31/2027             83      No       GLITZ AND ASSOCIATES INC                          None                              23250 LORAIN ROAD, NORTH OLMSTED, OH, 44070, USA
         34   Strongsville, OH (34)          STRONGSVILLE (#74)                         Yes        Cleveland                             Sleep             LM              5,000          4,400         11/5/2015    10/31/2025             68      No       ECHO STRONGSVILLE LLC                             None                              16105 PEARL ROAD, STRONGSVILLE, OH, 44136, USA
         35   Mayfield Heights, OH (35)      MAYFIELD (#65)                             Yes        Cleveland                             Sleep             LM              4,620          4,120          5/1/2012            n/a            n/a     No       JACK H SCHWARTS, TRUSTEE OF THE JACK H None                                         6061 Mayfield Rd, Mayfield Heights, OH, 44124, USA
         36   Stow, OH (36)                  STOW (#68)                                 Yes        Cleveland                             Sleep             LM              4,160          3,660        10/25/2013     1/31/2024             47      No       DEVILLE DEVELOPMENTS LLC                          None                              1061 GRAHAM RD, STOW, OH, 44224, USA
         37   Medina, OH (37)                MEDINA (#76)                               Yes        Cleveland                             Sleep             LM              4,500          4,000         8/25/2016     9/30/2021             19      No       GOWE LEASING LIMITED                              None                              3823 PEARL RD, MEDINA, OH, 44256, USA
         38   Sandusky, OH (38)              SANDUSKY (#73)                             Yes        Cleveland                             Sleep             LM              5,400          4,900        11/14/2014     2/28/2025             60      No       PLI II LTD                                        None                              4917 MILAN RD PLAZA, SANDUSKY, OH, 44870, USA
         39   Elyria, OH (39)                ELYRIA (#72)                               Yes        Cleveland                             Sleep             LM              6,400          5,800         6/19/2015     6/30/2026             76      No       ELYRIA-CHESTNUT, LLC / NICKLEPLATE REALTYNone                                       510 CHESTNUT COMMONS DR, ELYRIA, OH, 44035, USA
         40   Solon, OH (40)                 SOLON (#67)                                Yes        Cleveland                             Sleep             LM              3,788          3,288         2/22/2013     5/31/2023             39      No       L & y PROPERTIES - SOLON, LLC                     None                              6130 KRUSE DRIVE, SOLON, OH, 44139, USA
         41   Canton, OH (41)                MASSILLON (#71)                            Yes        Cleveland                             Sleep             LM              5,650          5,150         6/27/2014    11/30/2024             57      No       PERRY TOWN CENTER LLC                             None                              5119 WEST TUSCARAWAS ST, CANTON, OH, 44708, USA
         42   Polaris, OH (42)               POLARIS AVF                                Yes        Columbus                              Flagship        AVF              70,000        59,500          3/16/2019    10/31/2037            212      Yes      STORE CAPITAL                                     Other                             1551 GEMINI PLACE, COLUMBUS, OH, 43240, USA
         43   Novi, MI (43)                  NOVI AVF                                   Yes        Detroit                               Flagship        AVF            102,520         88,958           1/1/1985     2/28/2037            204      Yes      BROADSTONE                                        BROADSTONE AVF MICHIGAN, LLC      27775 NOVI RD, NOVI, MI, 48377, USA
         44   Warren, MI (44)                TECH PLAZA AVF                             Yes        Detroit                               Flagship        AVF            109,980         87,859         11/26/1982     2/28/2037            204      Yes      LCN PARTNERS                                      LCN AVF WARREN (MI) LLC           6500 E 14 MILE RD, WARREN, MI, 48092, USA
         45   Shelby Township, MI (45)       LAKESIDE AVF                               Yes        Detroit                               Flagship        AVF              68,104        72,336          8/14/1992     3/31/2037            205      Yes      STORE CAPITAL                                     Store Master Funding XII, LLC     14055 HALL RD, SHELBY TOWNSHIP, MI, 48315, USA
         46   Canton, MI (46)                CANTON AVF                                 Yes        Detroit                               Flagship        AVF              69,929        58,740           1/3/2018    12/31/2038            226      Yes      Agree Limited Partnership                         None                              41661 FORD ROAD, CANTON, MI, 48187, USA
         47   Taylor, MI (47)                TAYLOR AVF                                 Yes        Detroit                               Flagship        AVF              91,720        79,294           3/6/1978    10/31/2037            212      Yes      STORE CAPITAL                                     STORE SPE AVF II 2017-2, LLC      22035 EUREKA RD, TAYLOR, MI, 48180, USA
         48   Ann Arbor, MI (48)             ANN ARBOR AVF                              Yes        Detroit                               Flagship        AVF              70,000        60,912           7/2/1993     2/28/2037            204      Yes      STONEBRIAR                                        SCF RC Funding III, LLC           425 E EISENHOWER PKWY, ANN ARBOR, MI, 48108, USA
         49   Southfield, MI (49)            SOUTHFIELD AVF                             Yes        Detroit                               Standard        AVF              64,584        52,094          11/1/2000     7/31/2023             41      No       GREENFIELD PLAZA, INC.                            None                              22555 GREENFIELD RD, SOUTHFIELD, MI, 48075, USA
         50   Royal Oak, MI (50)             WOODWARD AVF & SSI (#174)                  Yes        Detroit                               Standard        AVF              56,520        54,943         11/14/1997    10/31/2037            212      Yes      STORE CAPITAL                                     STORE SPE AVF II 2017-2, LLC      32301 WOODWARD AVE, ROYAL OAK, MI, 48073, USA
         51   Clinton Twp, MI (51)           CLINTON AVF                                Yes        Detroit                               Flagship        AVF              69,720        60,128           1/1/1988     2/28/2037            204      Yes      BROADSTONE                                        BROADSTONE AVF MICHIGAN, LLC      33801 S GRATIOT AVE, CLINTON TWP, MI, 48035, USA
         52   Chesterfield, MI (52)          CHESTERFIELD AVF                           Yes        Detroit                               Standard        AVF              73,152        58,029         12/26/2003     2/28/2037            204      Yes      BROADSTONE                                        BROADSTONE AVF MICHIGAN, LLC      50400 GRATIOT AVE, CHESTERFIELD, MI, 48051, USA
         53   Howell, MI (53)                HOWELL AVF                                 Yes        Detroit                               Standard        AVF              51,075        45,721          11/1/1997     3/31/2037            205      Yes      STORE CAPITAL                                     Store Master Funding XII, LLC     4101 E GRAND RIVER AVE, HOWELL, MI, 48843, USA
         54   Waterford, MI (54)             DRAYTON PLAINS AVF                         Yes        Detroit                               Standard        AVF              53,188        57,435          6/30/1971     3/31/2037            205      Yes      STORE CAPITAL                                     STORE SPE AVF I 2017-1, LLC       5053 DIXIE HWY, WATERFORD, MI, 48329, USA
         55   Dearborn, MI (55)              DEARBORN AVF                               Yes        Detroit                               Standard        AVF              57,633        58,164          7/11/1997     2/28/2037            204      Yes      LCN PARTNERS                                      LCN CAPITAL PARTNERS, LLC         15701 MARKET DR, DEARBORN, MI, 48126, USA
         56   Auburn Hills, MI (56)          GREAT LAKES AVF                            Yes        Detroit                               Standard        AVF              43,319        37,296           1/1/2011     1/31/2021             11      No       Taubman Auburn Hills Associates Limited Partnersh None                              4612 BALDWIN RD, AUBURN HILLS, MI, 48326, USA
         57   Port Huron, MI (57)            PORT HURON AVF                             Yes        Detroit                               Standard        AVF              74,800        59,123          9/20/2002     3/31/2037            205      Yes      STORE CAPITAL                                     STORE SPE AVF I 2017-1, LLC       1234 32ND ST, PORT HURON, MI, 48060, USA
         58   Rochester Hills, MI (58)       ROCHESTER AVF                              Yes        Detroit                               Standard        AVF              48,621        41,328          5/16/2019    11/30/2033            165      No       Rochester KM Partners, LLC                        None                              1032 SOUTH ROCHESTER ROAD, ROCHESTER, MI, 48307, USA
         59   Livonia, MI (59)               7 MILE AVF                                 Yes        Detroit                               Standard        AVF              61,752        53,795           1/1/1985     3/31/2037            205      Yes      STORE CAPITAL                                     Store Master Funding XII, LLC     29905 7 MILE RD, LIVONIA, MI, 48152, USA
         60   Warren, MI (60)                SCHOENHERR AVF                             Yes        Detroit                               Standard        AVF              38,795        41,890          1/19/1972     3/31/2037            205      Yes      STORE CAPITAL                                     STORE SPE AVF I 2017-1, LLC       13855 E 8 MILE RD, WARREN, MI, 48089, USA
         61   Westland, MI (61)              WESTLAND AVF                               Yes        Detroit                               Standard        AVF              79,773        70,723          4/14/1987     2/28/2037            204      Yes      STONEBRIAR                                        SCF RC Funding III, LLC           8300 N WAYNE RD, WESTLAND, MI, 48185, USA
         62   Ann Arbor, MI (62)             ANN ARBOR W PS                             Yes        Detroit                               Sleep           APS               4,600          4,079          9/1/2011     8/31/2021             18      No       BRIXMOR Holdings 1 SPE, LLC                       None                              2570 JACKSON AVE, ANN ARBOR, MI, 48103, USA
         63   Rochester, MI (63)             ROCHESTER PS                               Yes        Detroit                               Sleep           APS               5,000          4,474          6/1/2010     7/31/2020              5      No       McKnight South East, LP c/o McKnight Property ManNone                               1856 S ROCHESTER RD, ROCHESTER, MI, 48307, USA
         64   Grosse Pointe Woods, MI (64)   GROSSE POINTE SOUTH PS                     Yes        Detroit                               Sleep           APS               3,500          2,688          3/1/2018     2/29/2028             96      No       Ryder Investments                                 None                              19387 MACK AVE, GROSSE POINTE, MI, 48236, USA
         65   Warren, MI (65)                WARREN E PS                                Yes        Detroit                               Sleep           APS               5,072          4,507         5/16/2011     6/30/2022             28      No       WARREN VILLAGE, LLC                               None                              6400 14 MILE RD, WARREN, MI, 48092, USA
         66   Sterling Hgts, MI (66)         STERLING HTS PS                            Yes        Detroit                               Sleep           APS               4,014          3,672          2/9/2013     2/28/2023             36      No       EASTLAKE COMMONS ASSOCIATES, LLC                  None                              44975 HAYES RD, STERLING HGTS, MI, 48313, USA
         67   Washington, MI (67)            WASHINGTON PS                              Yes        Detroit                               Sleep           APS               4,000          3,425         5/16/2011    10/31/2021             20      No       AF Jonna Development & Management Company, L None                                   7887 26 MILE ROAD, WASHINGTON, MI, 48094, USA
         68   Southgate, MI (68)             SOUTHGATE PS                               Yes        Detroit                               Sleep           APS               5,117          4,768         1/16/2016     3/31/2021             13      No       BRANDON ASSOCIATES SOUTHGATE L.L.C.               None                              15060 DIX TOLEDO RD, SOUTHGATE, MI, 48195, USA
         69   Canton, MI (69)                CANTON PS                                  Yes        Detroit                               Sleep           APS               4,600          4,280          7/1/2009     6/30/2024             52      No       Ford Road Investments, LLC                        None                              41913 FORD RD, CANTON, MI, 48187, USA
         70   Monroe, MI (70)                MONROE PS                                  Yes        Detroit                               Sleep           APS               4,000          3,593         7/30/2016     7/31/2026             77      No       Keystone Commercial                               None                              1570 NORTH TELEGRAPH ROAD, MONROE, MI, 48162, USA
         71   Troy, MI (71)                  TROY N PS                                  Yes        Detroit                               Sleep           APS               4,500          4,059         5/16/2011     7/31/2021             17      No       Universal Mall Properties LLC                     None                              1735 BIG BEAVER RD, TROY, MI, 48083, USA
         72   West Bloomfield, MI (72)       W BLOOMFIELD PS                            Yes        Detroit                               Sleep           APS               4,000          3,655         10/1/2013     2/29/2024             48      No       MAPLE ORCHARD ASSOCIATES, LLC                     None                              6470 ORCHARD LAKE ROAD, WEST BLOOMFIELD, MI, 48322, US
         73   Chesterfield, MI (73)          CHESTERFIELD PS                            Yes        Detroit                               Sleep           APS               4,000          3,572        11/18/2017    11/30/2027             93      No       CHESTERFIELD COMMONS ASOCIATES, LLC               None                              50938 GRATIOT AVE, CHESTERFIELD, MI, 48051, USA
         74   Woodhaven, MI (74)             WOODHAVEN PS                               Yes        Detroit                               Sleep           APS               3,966          3,565        10/17/2015    10/31/2025             68      No       THE ALLENWEST GROUP, LLC                          None                              19410 WEST ROAD, WOODHAVEN, MI, 48183, USA
         75   Brighton, MI (75)              BRIGHTON E PS                              Yes        Detroit                               Sleep           APS               4,248          3,218         5/16/2011     9/30/2022             31      No       BRIGHTON GATE COMMONS, LLC                        None                              9990 E GRAND RIVER AVE, BRIGHTON, MI, 48116, USA
         76   Bloomfield Twp, MI (76)        BLOOMFIELD TWP PS                          Yes        Detroit                               Sleep           APS               3,602          3,139         5/20/2017     7/31/2027             89      No       BP OF WHITE LAKE, INC.                            None                              6450 TELEGRAPH ROAD, BLOOMFIELD TWP, MI, 48301, USA
         77   New Hudson, MI (77)            NEW HUDSON PS                              Yes        Detroit                               Sleep           APS               4,106          3,758         4/10/2012    10/31/2022             32      No       Milford Road Plaza, LLC                           None                              30821 MILFORD RD, NEW HUDSON, MI, 48165, USA
         78   Lapeer, MI (78)                LAPEER PS                                  Yes        Detroit                               Sleep           APS               4,500          3,864         10/1/2016     1/31/2027             83      No       JKL REAL ESTATE CO.                               None                              806 S MAIN STREET, LAPEER, MI, 48446, USA
         79   Royal Oak, MI (79)             ROYAL OAK PS                               Yes        Detroit                               Sleep           APS               5,950          4,956         5/16/2011     6/30/2024             52      No       4400 North Woodward, LLC                          None                              32500 WOODWARD AVE, ROYAL OAK, MI, 48073, USA
         80   White Lake, MI (80)            WHITE LAKE PS                              Yes        Detroit                               Sleep           APS               3,680          2,995         5/16/2011     3/31/2021             13      No       CLOSED                                                                            0 5951 HIGHLAND RD, WHITE LAKE, MI, 48383, USA
         81   Troy, MI (81)                  TROY S PS                                  Yes        Detroit                               Sleep           APS               4,675          3,464         5/16/2011     1/31/2022             23      No       URBAN CAL OAKLAND PLAZA, LLC                      None                              272 JOHN R, TROY, MI, 48083, USA
         82   Waterford, MI (82)             WATERFORD PS                               Yes        Detroit                               Sleep           APS               6,008          5,060         5/16/2011     3/31/2022             25      No       INVESTCO OF MICHIGAN LLC                          None                              4977 DIXIE HWY, WATERFORD, MI, 48329, USA
         83   Novi, MI (83)                  NOVI PS                                    No         Detroit                               Sleep           APS               2,600          2,073         5/16/2011     1/31/2020             n/a     No       RAMCO WEST OAKS II LLC                            None                              43420 W OAKS DR, NOVI, MI, 48377, USA
         84   Brighton, MI (84)              BRIGHTON W PS                              Yes        Detroit                               Sleep           APS               4,200          3,784         5/16/2011    10/31/2021             20      No       CROSS GRAND PLAZA, LLC                            None                              8709 WEST GRAND RIVER, BRIGHTON, MI, 48116, USA
         85   Ann Arbor, MI (85)             ANN ARBOR E PS                             Yes        Detroit                               Sleep           APS               4,274          3,062         5/16/2011     5/31/2021             15      No       AF Jonna Development & Management Company, L None                                   3550 WASHTENAW, ANN ARBOR, MI, 48104, USA
         86   Lake Orion, MI (86)            LAKE ORION PS                              Yes        Detroit                               Sleep           APS               4,160          3,775          4/1/2014     1/31/2022             23      No       SHOPS AT THE SHORES OF LONG LAKE L.L.C. None                                        610 N. LAPEER RD, LAKE ORION, MI, 48362, USA
         87   Ferndale, MI (87)              FERNDALE PS                                Yes        Detroit                               Sleep           APS               6,553          5,587          4/1/2016     6/30/2026             76      No       B.P. of White Lake Inc.                           None                              23100 WOODWARD AVE, FERNDALE, MI, 48220, USA
         88   Utica, MI (88)                 UTICA E PS                                 Yes        Detroit                               Sleep           APS               5,900          2,858          9/1/2011     1/31/2023             35      No       SHELBY CORNERS, LLC                               None                              45040 NORTHPOINTE BLVD, UTICA, MI, 48315, USA
         89   Howell, MI (89)                HOWELL PS                                  Yes        Detroit                               Sleep           APS               9,400          8,794         5/16/2011    10/31/2024             56      No       COUNTRY CORNERS SHOPPING CENTER, L.L.CNone                                          4050 E GRAND RIVER AVE, HOWELL, MI, 48843, USA
         90   Westland, MI (90)              WESTLAND PS                                Yes        Detroit                               Sleep           APS               4,400          3,976         10/1/2016    10/31/2026             80      No       CENTRAL-WAYNE PROPERITES, LLC                     None                              7671 NORTH WAYNE RD, WESTLAND, MI, 48185, USA
         91   Grosse Pointe, MI (91)         GROSSE POINTE SSI                          Yes        Detroit                               Design           SSI              7,600          5,933         6/26/2015    10/31/2020              8      No       ST. John Health                                   None                              17145 KERCHEVAL, GROSSE POINTE, MI, 48230, USA
         92   Plymouth, MI (92)              PLYMOUTH PS                                Yes        Detroit                               Sleep           APS               4,000          3,580         9/24/2016    11/30/2026             81      No       PLYMOUTH HAGGERTY UNIT 6                          None                              41512 ANN ARBOR RD, PLYMOUTH, MI, 48170, USA
         93   Shelby Twp, MI (93)            SHELBY TWP PS                              Yes        Detroit                               Sleep           APS               4,000          3,714         1/13/2018     1/31/2028             95      No       JERUSALEM PROPERTIES, LLC                         None                              46975 VAN DYKE AVE, SHELBY TWP, MI, 48317, USA
         94   Roseville, MI (94)             ROSEVILLE PS                               Yes        Detroit                               Sleep           APS               4,800          4,512        11/21/2013     5/31/2024             51      No       ROSEVILLE VILLAGE, L.L.C.                         None                              31851 GRATIOT AVE, ROSEVILLE, MI, 48066, USA
         95   Taylor, MI (95)                TAYLOR PS                                  Yes        Detroit                               Sleep           APS               4,000          3,433         10/3/2015    10/31/2025             68      No       VAN ELSLANDER VENTURES, LLC                       None                              23471 EUREKA RD, TAYLOR, MI, 48180, USA
         96   Dearborn, MI (96)              DEARBORN PS                                Yes        Detroit                               Sleep           APS               5,828          4,141          4/8/2017     5/31/2027             87      No       AMD, LLC.                                         None                              22731 MICHIGAN AVE, DEARBORN, MI, 48124, USA
         97   Livonia, MI (97)               LIVONIA PS                                 Yes        Detroit                               Sleep           APS               3,612          3,120         5/17/2014     5/31/2024             51      No       Middlebelt Plymouth Venture LLC                   None                              29611 PLYMOUTH, LIVONIA, MI, 48150, USA
         98   Southfield, MI (98)            SOUTHFIELD PS                              Yes        Detroit                               Sleep           APS               4,000          3,606         1/13/2018     1/31/2028             95      No       AF Jonna Development & Management Company, L None                                   29119 TELEGRAPH RD, SOUTHFIELD, MI, 48034, USA
         99   Bloomfield Hills, MI (99)      BLOOMFIELD AVF                             Yes        Detroit                               Standard        AVF              46,388        26,440          3/15/2016     2/28/2037            204      No       LCN PARTNERS                                      None                              2300 TELEGRAPH RD, BLOOMFIELD HILL, MI, 48302, USA
        100   Saginaw, MI (100)              SAGINAW AVF                                Yes        Flint-Saginaw-Bay City                Standard        AVF              77,827        56,540          6/30/1984    10/31/2037            212      Yes      STORE CAPITAL                                     STORE SPE AVF II 2017-2, LLC      2660 TITTABAWASSEE RD, SAGINAW, MI, 48604, USA
        101   Flint, MI (101)                FLINT AVF                                  Yes        Flint-Saginaw-Bay City                Standard        AVF              46,177        48,827          6/30/1977     2/28/2037            204      Yes      BROADSTONE                                        BROADSTONE AVF MICHIGAN, LLC      4577 MILLER RD, FLINT, MI, 48507, USA
        102   Burton, MI (102)               BURTON AVF                                 Yes        Flint-Saginaw-Bay City                Standard        AVF              46,196        48,841          7/31/1987     3/31/2037            205      Yes      STORE CAPITAL                                     Store Master Funding XII, LLC     4095 E COURT ST, BURTON, MI, 48509, USA
        103   Bay City, MI (103)             BAY CITY AVF                               Yes        Flint-Saginaw-Bay City                Standard        AVF              34,578        36,957           2/2/1996     3/31/2037            205      Yes      STORE CAPITAL                                     STORE SPE AVF I 2017-1, LLC       4150 WILDER RD, BAY CITY, MI, 48706, USA
        104   Grand Blanc, MI (104)          GRAND BLANC PS                             Yes        Flint-Saginaw-Bay City                Sleep           APS               4,000          3,477          8/2/2014     8/31/2024             54      No       GRAND SAGINAW PLAZA, L.L.C.                       None                              11501 SOUTH SAGINAW, GRAND BLANC, MI, 48439, USA
        105   Flint Township, MI (105)       FLINT PS                                   Yes        Flint-Saginaw-Bay City                Sleep           APS               4,000          3,600         4/27/2018     1/31/2028             95      No       Jonna Management Group, LLC                       None                              4002 MILLER ROAD, FLINT, MI, 48507, USA
        106   Saginaw, MI (106)              SAGINAW PS                                 Yes        Flint-Saginaw-Bay City                Sleep           APS               4,847          4,368         1/30/2016     1/31/2021             11      No       KMS Investments, LLC                              None                              4605 BAY RD #200, SAGINAW, MI, 48604, USA
        107   Fort Wayne, IN (107)           FORT WAYNE AVF                             Yes        Fort Wayne                            Standard        AVF              45,982        39,667          1/25/2014     9/30/2023             43      No       Sandor Development Company                        None                              311 E COLISEUM BLVD, FORT WAYNE, IN, 46805, USA
        108   Grand Rapids, MI (108)         GRAND RAPIDS AVF                           Yes        Grand Rapids-Kalamazoo-Battle Creek   Flagship        AVF              79,400        69,174          7/30/1987     2/28/2037            204      Yes      LCN PARTNERS                                      LCN AVF WARREN (MI) LLC           4375 28TH ST SE, GRAND RAPIDS, MI, 49512, USA
        109   Portage, MI (109)              KALAMAZOO AVF                              Yes        Grand Rapids-Kalamazoo-Battle Creek   Flagship        AVF              73,990        60,986           5/1/1989    10/31/2037            212      Yes      STORE CAPITAL                                     STORE SPE AVF II 2017-2, LLC      550 RING RD, PORTAGE, MI, 49024, USA
        110
        111
              Muskegon, MI (110)
              Grandville, MI (111)
                                             MUSKEGON AVF
                                             GRANDVILLE AVF
                                                                                        Yes
                                                                                        Yes
                                                                                                   Grand Rapids-Kalamazoo-Battle Creek
                                                                                                   Grand Rapids-Kalamazoo-Battle Creek
                                                                                                                                         Standard
                                                                                                                                         Standard
                                                                                                                                                         AVF
                                                                                                                                                         AVF
                                                                                                                                                                          39,590
                                                                                                                                                                          28,530
                                                                                                                                                                                        34,069
                                                                                                                                                                                        24,910
                                                                                                                                                                                                        1/23/1993
                                                                                                                                                                                                         1/1/2010
                                                                                                                                                                                                                      2/28/2037
                                                                                                                                                                                                                      2/28/2037
                                                                                                                                                                                                                                           204
                                                                                                                                                                                                                                           204
                                                                                                                                                                                                                                                    Yes
                                                                                                                                                                                                                                                    Yes
                                                                                                                                                                                                                                                             STONEBRIAR
                                                                                                                                                                                                                                                             Broadstone
                                                                                                                                                                                                                                                                                                               SCF RC Funding III, LLC
                                                                                                                                                                                                                                                                                                               BROADSTONE AVF MICHIGAN, LLC                       A000232
                                                                                                                                                                                                                                                                                                                                                 630 SEMINOLE RD, MUSKEGON, MI, 49441, USA
                                                                                                                                                                                                                                                                                                                                                 4625 WILSON AVE SW, GRANDVILLE, MI, 49418, USA
        112   Battle Creek, MI (112)         BATTLE CREEK AVF                           Yes        Grand Rapids-Kalamazoo-Battle Creek   Standard        AVF              50,220        43,411       Page  1 of 2
                                                                                                                                                                                                         2/1/1997     2/28/2037            204      Yes      STONEBRIAR                                        SCF RC Funding III, LLC                                 AB_0001233
                                                                                                                                                                                                                                                                                                                                                 6100 B DR N, BATTLE CREEK, MI, 49014, USA                  2/20/2020
  Store #                   Store Name
                                                              Original
                                                            Store Name
                                                                                    Case 20-10553-CSS
                                                                       Case 1:22-cv-00450-CFC
                                                                                   Include
                                                                               in Liquidation
                                                                                               DocumentDoc
                                                                                                        22-752-2
                                                                                                              FiledFiled
                                                                                                                Direct   03/09/20
                                                                                                                    07/25/22
                                                                                                             Marketing Area
                                                                                                                               PagePage 63149
                                                                                                                                    149 of of 67
                                                                                                                                               PageID #: 4630
                                                                                                                                            Store
                                                                                                                                            Type
                                                                                                                                                    Company
                                                                                                                                                    Affiliation
                                                                                                                                                                  Gross
                                                                                                                                                                  Sq. Ft.
                                                                                                                                                                                Selling
                                                                                                                                                                                Sq. Ft.
                                                                                                                                                                                                    Lease
                                                                                                                                                                                                Beginning Date
                                                                                                                                                                                                                  Lease
                                                                                                                                                                                                                  Expire.
                                                                                                                                                                                                                                 Months
                                                                                                                                                                                                                                Remaining
                                                                                                                                                                                                                                                  SLB
                                                                                                                                                                                                                                                Property                         Landlord
                                                                                                                                                                                                                                                                                                                   Master
                                                                                                                                                                                                                                                                                                                   Lease                                            Address
        113   Comstock Park, MI (113)         ALPINE AVF                             Yes        Grand Rapids-Kalamazoo-Battle Creek   Flagship        AVF            111,077         63,525          11/26/1999     2/28/2037            204      Yes      LCN PARTNERS                           LCN AVF WARREN (MI) LLC            4273 ALPINE AVE NW STE B, COMSTOCK PARK, MI, 49321, USA
        114   Holland, MI (114)               HOLLAND AVF                            Yes        Grand Rapids-Kalamazoo-Battle Creek   Standard        AVF              39,950        38,443           8/18/1993     2/28/2037            204      Yes      STONEBRIAR                             SCF RC Funding III, LLC            12610 FELCH ST STE 100, HOLLAND, MI, 49424, USA
        115   Muskegon, MI (115)              MUSKEGON PS                            Yes        Grand Rapids-Kalamazoo-Battle Creek   Sleep           APS               4,000          3,519          5/28/2016    10/31/2021             20      No       SVH PROPERTIES, LLC                    None                               1664 E STERNBERG RD, MUSKEGON, MI, 49444, USA
        116   Portage, MI (116)               PORTAGE PS                             Yes        Grand Rapids-Kalamazoo-Battle Creek   Sleep           APS               4,018          3,632          5/24/2014     5/31/2024             51      No       NATIONAL SHOPPING PLAZAS, INC.         None                               6947 SOUTH WESTNEDGE AVE, PORTAGE, MI, 49002, USA
        117   Grandville, MI (117)            GRANDVILLE PS                          Yes        Grand Rapids-Kalamazoo-Battle Creek   Sleep           APS               4,229          3,773           3/1/2015     5/31/2024             51      No       CWD Grandville 1, LLC                  None                               4540 IVANREST AVE SW, GRANDVILLE, MI, 49418, USA
        118   Kalamazoo, MI (118)             KALAMAZOO PS                           Yes        Grand Rapids-Kalamazoo-Battle Creek   Sleep           APS               3,481          3,186           3/8/2013     3/31/2023             37      No       Kalamazoo Mall LLC                     None                               338 N DRAKE RD, KALAMAZOO, MI, 49009, USA
        119   Grand Rapids, MI (119)          GRAND RAPIDS PS                        Yes        Grand Rapids-Kalamazoo-Battle Creek   Sleep           APS               5,562          4,903         10/15/2014     2/28/2037            204      Yes      Broadstone                             BROADSTONE AVF MICHIGAN, LLC       3500 28TH ST SE, GRAND RAPIDS, MI, 49512, USA
        120   Grand Rapids, MI (120)          GRAND RAPIDS N PS                      Yes        Grand Rapids-Kalamazoo-Battle Creek   Sleep           APS               4,000          3,687           9/1/2016     8/31/2026             78      No       EAST BELTLINE DEVELOPMENT, LLC         None                               2036 EAST BELTLINE AVE, GRAND RAPIDS, MI, 49525, USA
        121   Comstock Park, MI (121)         ALPINE N PS                            Yes        Grand Rapids-Kalamazoo-Battle Creek   Sleep           APS               4,300          3,797          5/16/2011    10/31/2022             32      No       ALPINE VALLEY, L.L.C.                  None                               4174 ALPINE AVE NW STE A, COMSTOCK PARK, MI, 49321, USA
        122   Lancaster, PA (122)             LANCASTER (#46)                        Yes        Harrisburg                            Standard        WLF              60,000        52,500            9/1/2002    11/30/2037            213      Yes      VEREIT REAL ESTATE LP                  Vereit                             2040 Bennett Avenue, Lancaster, PA, 17601, USA
        123   York, PA (123)                  YORK (#44)                             Yes        Harrisburg                            Standard        WLF              60,000        52,500            1/1/2002    11/30/2037            213      Yes      VEREIT REAL ESTATE LP                  COLE AV PORTFOLIO                  380 North Northern Way, York, PA, 17402, USA
        124   Harrisburg, PA (124)            HARRISBURG (#42)                       Yes        Harrisburg                            Standard        WLF              61,900        51,900            1/1/1999    11/30/2037            213      Yes      STORE CAPITAL                          Store Master Funding XII, LLC      4661 Lindle Road, Harrisburg, PA, 17111, USA
        125   Hanover, PA (125)               HANOVER (#50)                          Yes        Harrisburg                            Standard        WLF              34,600        30,600           5/19/2008    11/30/2037            213      Yes      VEREIT REAL ESTATE LP                  Vereit                             371 Eisenhower Drive, Hanover, PA, 17331, USA
        126   Mechanicsburg, PA (126)         MECHANICSBURG (#43)                    Yes        Harrisburg                            Standard        WLF              45,567        42,567           8/22/2010     7/31/2020              5      No       LESTER ASSOCIATES                      None                               75 Gateway Drive, Mechanicsburg, PA, 17055, USA
        127   Chambersburg, PA (127)          CHAMBERSBURG (#51)                     Yes        Harrisburg                            Standard        WLF              27,262        25,762            1/1/2009    12/27/2038            226      No       BRTM, LLC                              None                               480 Gateway Avenue, Chambersburg, PA, 17201, USA
        128   Altoona, PA (128)               ALTOONA (#28)                          Yes        Johnstown                             Standard        WLF              53,136        43,176            1/1/1978     4/30/2038            218      Yes      VEREIT REAL ESTATE LP                  Store Master Funding XII, LLC      4 Sellers DriveAltoona, Altoona, PA, 16601, USA
        129   Johnstown, PA (129)             JOHNSTOWN (#32)                        Yes        Johnstown                             Standard        WLF              40,258        37,258            9/1/1995    11/30/2037            213      Yes      VEREIT REAL ESTATE LP                  Vereit                             1130 Scalp Avenue, Johnstown, PA, 15904, USA
        130   State College, PA (130)         STATE COLLEGE (#40)                    Yes        Johnstown                             Standard        WLF              50,000        51,402            5/1/2007    11/21/2037            213      No       PATTON CENTER ASSOCIATES LP            None                               138 Valley Vista Drive, State College, PA, 16803, USA
        131   Lansing, MI (131)               LANSING AVF                            Yes        Lansing                               Flagship        AVF              71,581        77,379          10/25/2000     2/28/2037            204      Yes      BROADSTONE                             BROADSTONE AVF MICHIGAN, LLC       8748 W SAGINAW HWY, LANSING, MI, 48917, USA
        132   Jackson, MI (132)               JACKSON AVF                            Yes        Lansing                               Standard        AVF              33,214        30,012            6/5/1992     7/31/2024             53      No       ARGYLE ACRES MALL, LLC                 None                               950 N WEST AVE, JACKSON, MI, 49202, USA
        133   E Lansing, MI (133)             OKEMOS PS                              Yes        Lansing                               Sleep           APS               5,855          4,457          5/16/2011     8/31/2023             42      No       RICHARD AND MICHELLE BROWN             None                               2660 E. GRAND RIVER, EAST LANSING, MI, 48823, USA
        134   East Lansing, MI (134)          EAST LANSING PS                        Yes        Lansing                               Sleep           APS               3,974          3,495          7/16/2016     7/31/2021             17      No       River Caddis Development, LLC          None                               1595 LAKE LANSING ROAD, EAST LANSING, MI, 48823, USA
        135   Lansing, MI (135)               LANSING PS                             Yes        Lansing                               Sleep           APS               4,590          3,689          5/16/2011    12/31/2021             22      No       John Doezema Real Estate               None                               6007 W SAGINAW HWY, LANSING, MI, 48917, USA
        136   Wexford, PA (136)               WEXFORD (#4, 29, 30 CC)                Yes        Pittsburgh                            Standard         LVF             53,000        48,823           10/1/2009     2/28/2038            216      Yes      STORE CAPITAL                          Store Master Funding XII, LLC      10688 PERRY HIGHWAY, WEXFORD, PA, 15090, USA
        137   Monroeville, PA (137)           MONROEVILLE (#3 CC, 20, 21 CC)         Yes        Pittsburgh                            Standard         LVF             74,600        67,545            7/1/2004    11/30/2037            213      Yes      VEREIT REAL ESTATE LP                  COLE AV PORTFOLIO / LEVIN FAMILY PA124 LEVIN WAY, MONROEVILLE, PA, 15146, USA
        138   Mcmurray, PA (138)              SOUTH HILLS (#2, 32 CC)                Yes        Pittsburgh                            Standard         LVF             74,600        67,964            7/1/2001    11/30/2037            213      Yes      STORE CAPITAL                          Store Master Funding XII, LLC      3664 WASHINGTON ROAD, MCMURRAY, PA, 15317, USA
        139   Greensburg, PA (139)            GREENSBURG (#40, 41 CC)                Yes        Pittsburgh                            Standard         LVF             55,314        50,637            8/1/2011    10/31/2021             20      No       CBL/WESTMORELAND, LP                   None                               5280 ROUTE 30, GREENSBURG, PA, 15601, USA
        140   Pittsburgh, PA (140)            THE POINTE (#15, 35 CC)                Yes        Pittsburgh                            Standard         LVF             68,730        61,886            7/1/1999    11/30/2037            213      Yes      STORE CAPITAL                          Store Master Funding XII, LLC      400 CHAUVET DRIVE, PITTSBURGH, PA, 15275, USA
        141   Pleasant Hills, PA (141)        CURRY HOLLOW (#47, 48 CC)              Yes        Pittsburgh                            Standard         LVF             96,500        87,500            7/1/1991     9/30/2026             79      No       PAUL PROPERTY MANAGEMENT, LP           None                               292 CURRY HOLLOW RD, PLEASANT HILLS, PA, 15236, USA
        142   Mount Pleasant, PA (142)        MOUNT PLEASANT (#1, 22 CC)             Yes        Pittsburgh                            Standard         LVF             34,500        30,766            1/1/1924     4/30/2038            218      Yes      STORE CAPITAL                          Store Master Funding XII, LLC      600 MAIN STREET, MT. PLEASANT, PA, 15666, USA
        143   Cranberry Township, PA (143)    CRANBERRY (#60)                        Yes        Pittsburgh                            Sleep             LM              5,000          4,500           5/1/2012     4/30/2022             26      No       WALNUT CAPITAL PARTNERS - CRANBERRY SONone                                20012 ROUTE 19, CRANBERRY, PA, 16066, USA
        144   Mount Lebanon, PA (144)         MOUNT LEBANON (#36)                    Yes        Pittsburgh                            Sleep             LM              3,990          3,490          6/28/2013     7/31/2023             41      No       RELIANCE PITTSBURGH LLC                None                               1600 WASHINGTON RD, MT LEBANON, PA, 15228, USA
        145   Butler, PA (145)                BUTLER (#75)                           Yes        Pittsburgh                            Sleep             LM              5,010          5,010         11/18/2016     2/28/2027             84      No       BUTLER SITEWORK ASSOICATES LLC         None                               620 Butler Crossing Suite 5, BUTLER, PA, 16001, USA
        146   Pittsburgh, PA (146)            SHADYSIDE (#70)                        Yes        Pittsburgh                            Sleep             LM              7,145          6,645         10/10/2014     4/30/2024             50      No       MCKNIGHT SOUTH EAST LP                 None                               5438 BAUM BLVD, PITTSBURGH, PA, 15232, USA
        147   Washington, PA (147)            WASHINGTON (#63)                       Yes        Pittsburgh                            Sleep             LM              7,800          7,300          3/29/2013     4/30/2023             38      No       WASHINGTON MALL - JCP ASSOCIATES, LTD None                                56 TRINITY POINT DR, WASHINGTON, PA, 15301, USA
        148   Pittsburgh, PA (148)            FOX CHAPEL (#61)                       Yes        Pittsburgh                            Sleep             LM              4,000          3,500           5/1/2012     4/30/2022             26      No       WATERWORKS PHASE II                    None                               956 FREEPORT ROAD, PITTSBURGH, PA, 15238, USA
        149   Pittsburgh, PA (149)            ROBINSON (#64)                         Yes        Pittsburgh                            Sleep             LM              5,593          5,093          8/30/2013    12/31/2023             46      No       MCROBIN LTC AND MOSITES FAMILY GST TRUSNone                               6528 STEUBENVILLE PIKE, PITTSBURGH, PA, 15205, USA
        150   Indiana, PA (150)               INDIANA (#33)                          Yes        Pittsburgh                            Sleep             LM              4,800          4,300           6/7/2013     9/30/2023             43      No       LIBBY REGENCY ASSOCIATES LP            None                               1570 OAKLAND AVE, INDIANA, PA, 15701, USA
        151   Monroeville, PA (151)           MONROEVILLE (#62)                      Yes        Pittsburgh                            Sleep             LM              4,319          4,000           6/1/2012     6/30/2022             28      No       CE-MONROEVILLE 3820 WM PENN LP         None                               3820 WILLIAM PENN HIGHWAY, MONROEVILLE, PA, 15146, USA
        152   St. Louis, MO (152)             AFFTON                                 Yes        St. Louis                             Standard        AVF              41,352        32,759           1/17/2018    12/31/2023             46      No       South Lindbergh Property LLC           None                               5711 S LINDBERGH BLVD, SAINT LOUIS, MO, 63123, USA
        153   O'fallon, IL (153)              FAIRVIEW                               Yes        St. Louis                             Standard        AVF              39,676        32,627           1/17/2018    12/31/2023             46      No       Rothman-O'Fallon LLC                   None                               1776 WEST US 50, O FALLON, IL, 62269, USA
        154   O'fallon, MO (154)              O FALLON                               Yes        St. Louis                             Standard        AVF              40,884        31,674           1/16/2018    12/31/2023             46      No       O'Fallon Missouri Properties, LLC      None                               2101 E TERRA LN, O FALLON, MO, 63366, USA
        155   Bridgeton, MO (155)             BRIDGETON                              Yes        St. Louis                             Standard        AVF              45,314        35,975           1/17/2018    12/31/2023             46      No       JS Westflo, LLC                        None                               925 NORTHWEST PLAZA, SAINT ANN, MO, 63074, USA
        156   Richmond Heights, MO (156)      RICHMOND (DESIGN STUIDO)               Yes        St. Louis                             Design          AVF               3,670          3,343         11/15/2017     7/31/2024             53      No       Hanley LM Properties, LLC              None                               1516 S HANLEY RD, SAINT LOUIS, MO, 63144, USA
        157   Holland, OH (157)               TOLEDO AVF                             Yes        Toledo                                Flagship        AVF              91,000        80,731           8/27/2013     3/31/2037            205      Yes      STORE CAPITAL                          STORE SPE AVF I 2017-1, LLC        1301 E MALL DR, HOLLAND, OH, 43528, USA
        158   Toledo, OH (158)                TOLEDO PS                              Yes        Toledo                                Sleep           APS               4,500          4,045          5/24/2013    11/30/2023             45      No       REED HOLDING-TALMADGE, LLC             None                               4600 TALMADGE RD, TOLEDO, OH, 43623, USA
        159   Holland, OH (159)               HOLLAND PS (TOLEDO)                    Yes        Toledo                                Sleep           APS               3,485          3,135          7/13/2018     8/31/2028            102      No       Kiezi Properties BG, LLC               None                               6760 AIRPORT HWY SUITE B, HOLLAND, OH, 43528, USA
        160   Perrysburg Township, OH (160)   PERRYSBURGH (FREEMONT)                 Yes        Toledo                                Sleep           APS               3,500             n/a          2/8/2019     4/30/2029            110      No       10411 Fremont Pike, LLC                None                               10411 FREMONT PIKE, PERRYSBURG, OH, 43551, USA
        161   Traverse City, MI (161)         TRAVERSE CITY AVF                      Yes        Traverse City-Cadillac                Standard        AVF              63,120        49,903          11/21/1998     2/28/2037            204      Yes      BROADSTONE                             BROADSTONE AVF MICHIGAN, LLC       1775 OAK HOLLOW DR, TRAVERSE CITY, MI, 49686, USA
        162   Petoskey, MI (162)              PETOSKEY AVF                           Yes        Traverse City-Cadillac                Standard        AVF              48,115        49,765           10/5/2002    10/31/2037            212      Yes      STORE CAPITAL                          STORE SPE AVF II 2017-2, LLC       1619 ANDERSON ROAD, PETOSKEY, MI, 49770, USA
        163   Traverse City, MI (163)         TRAVERSE CITY PS                       Yes        Traverse City-Cadillac                Sleep           APS               4,509          4,104          6/30/2016     6/30/2026             76      No       ANCHOR MANISTEE                        None                               3675 N US 31 S SUITE B, TRAVERSE CITY, MI, 49684, USA
        164   Frederick, MD (164)             FREDERICK (#7)                         Yes        Washington DC                         Standard        WLF              60,000        52,500            7/1/2003     1/31/2024             47      No       Frederick-BILCO, LLP                   None                               1215 West Patrick Street, Frederick, MD, 21702, USA
        165   Hagerstown, MD (165)            HAGERSTOWN (#9)                        Yes        Washington DC                         Standard        WLF              66,829        60,000            2/1/2004     5/31/2029            111      No       OUTLET VILLAGE OF HAGERSTOWN LP        None                               900 Premium Outlets Boulevard, Hagerstown, MD, 21740, USA
        166   Leesburg, VA (166)              LEESBURG (#48)                         Yes        Washington DC                         Standard        WLF              46,030        41,430           8/24/2012    11/30/2037            213      Yes      STORE CAPITAL                          Store Master Funding XII, LLC      131 Fort Evans Road NE, Leesburg, VA, 20176, USA
        167   Frederick, MD (167)             FREDERICK OUTLET (#52)                 No         Washington DC                         Standard        WLF              40,484        30,484           9/17/2014     1/31/2020             n/a     No       RAVID FREDERICK, LLC                   None                               5830 Ballenger Creek Pike, Frederick, MD, 21703, USA
        168   Saint Clairsville, OH (168)     SAINT CLAIRSVILLE (#50)                Yes        Wheeling                              Standard         LVF             24,908        21,000           9/29/2017    10/31/2022             32      No       OHIO VALLEY MALL CO                    None                               67661 MALL RING RD, SAINT CLAIRSVILLE, OH, 43950, USA
        169   Boardman, OH (169)              BOARDMAN (#52)                         Yes        Youngstown                            Standard         LVF             52,000             n/a         8/31/2018     8/31/2028            102      No       A&R Properties                         None                               300 BOARDMAN POLAND ROAD, BOARDMAN, OH, 44512, USA
        170   Hermitage, PA (170)             HERMITAGE (#54)                        Yes        Youngstown                            Standard         LVF             42,000             n/a         9/21/2018     9/30/2023             43      No       A&R Properties                         None                               1340 N. Hermitage Road Suite 1 Route 18, Hermitage, PA, 16148, U
        171   Niles, OH (171)                 NILES (#56)                            Yes        Youngstown                            Standard         LVF             52,000             n/a        10/31/2018    10/31/2028            104      No       A&R Properties                         None                               836 YOUNGSTOWN-WARREN RD, NILES, OH, 44446, USA
Totals                                                                                                                                                             5,879,611     4,932,964




                                                                                                                                                                                                                                                                                                                                                          A000233
                                                                                                                                                                                                   Page 2 of 2                                                                                                                                                 AB_0001234                       2/20/2020
